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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednes day, July 5, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:03 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED AND
15       REQUESTED.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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23 Reporter's Certificate                                     178

24 Concordance                                                179

25



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 1           THE COURT:     We have a preliminary      matter ?

 2           MS. JOHNSTON:      Only this , Your Honor .      We have a

 3 witness    who is going to be out of town July 7th through

 4 14th .    We hope to finish       our case next week --

 5 hope fully , early next week , although        maybe I'm

 6 optimistic.    It may      be later next week .     He is a

 7 witness    to testify    about the 19 86 search     warrant s that

 8 were executed    involving     Paulette    Martin , and her

 9 subsequent    conviction     in relation    to one of those two

10 search    warrant s.    They both happened     in June of '86 .

11 At some point today , we 'd ask the court to address              it .

12 Not ad dress it now , but maybe come back early from the

13 lunch break or let the jury have a long er lunch break ,

14 or at the end of the day .

15           THE COURT:     What am I suppose d to address ?

16           MS. JOHNSTON:      The admissibility     of the evidence

17 under rule 404(b) .

18           THE COURT:     Okay .

19           MS. JOHNSTON:      Of her 19 86 .

20           THE COURT:     Okay .

21           MS. GREENBERG:      Judge , the remainder     of the

22 404(b)    witness es are    scheduled   for next week .    Some

23 have to be flown in .        So , to the ex tent that we can

24 address    all of them at one time , that would be help ful .

25           THE COURT:     Okay .




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 1          MR. MONTEMARANO :        I would just note for the

 2 court 's edification     that I was inform ed of this when I

 3 arrive d here today , and I don't have         the appropriate

 4 paperwork     that I would probably     want to re view before

 5 speak ing to this .

 6          THE COURT:     Right .     Well , you know I'm going to

 7 want to have enough      time to deal with it in a

 8 mean ing ful way , so I'm not going to be able to do it

 9 today , I don't think .     Let me just say what I'm

10 contemplati ng for schedule        for the rest of      this week is

11 concerned .     Today I'll be going until right before          1

12 o'clock , because     there 's a judge 's meet ing at 1:00 , and

13 I will go to 4:30 or so because         I have   a telephone

14 status   conference    at 5:00 .    Tomorrow   I have    a

15 sentenci ng at 9:00, so we'll start at 10:00 , but I

16 don't think     the sentenci ng is going to take a long time

17 so we can take up preliminary         matter s at 9:45 if you

18 want to trail this sentenci ng .

19          I don't know    if that 's going to     be enough     time

20 to deal with the 404(b)       issue or not .

21          MS. JOHNSTON:      Your Honor , there are plead ings

22 filed in reference      to the 404(b) .

23          THE COURT:     Okay .     I'll have to dig them out ,

24 then .

25          MS. JOHNSTON:      We do have the one witness         who




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 1 needs to get on tomorrow           because    of his vacation .

 2            THE COURT:     Let 's do this .      Counsel    and the

 3 parti es should    be here and ready to go at 9:30 , and as

 4 soon as my sentenci ng is over , I'll go off the bench,

 5 you come up to the table , and I'll come back on the

 6 bench and we will        resume    at 9:30 plus or minus when my

 7 sentenci ng is over and we will address             those issue s at

 8 that time.

 9            Make sure that counsel        for the defense      know s

10 exact ly who    the witness es are .

11            MS. JOHNSTON:     We will give them --

12            THE COURT:     Are the name s of these witness es

13 divulged    in the existing        paper s?

14            MS. JOHNSTON:     Not necessarily       in the plead ings

15 that were filed but certain ly in the paperwork               that

16 counsel 's received       concern ing the 404(b) .        They're    also

17 on the witness     list that was read at the beginning               of

18 the trial .

19            THE COURT:     Okay .    It 's all going to be 404(b)

20 issue s On all of these witness es ?

21            MS. JOHNSTON:     On all of them .

22            THE COURT:     How many witness es are         there as to

23 the 404(b)     issue ?

24            MS. JOHNSTON:     There are probably       eight or ten

25 witness es that have 404(b)          issue s.    We have one that




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 1 needs to testify        tomorrow    --

 2           THE COURT:      All right .

 3           MS. JOHNSTON:      -- because       he 's going to be out

 4 of town .

 5           THE COURT:      You let defense        counsel   know who

 6 that is .

 7           MS. JOHNSTON:      I will       let them know who that is .

 8           THE COURT:      Jus t for my information , who is the

 9 witness ?

10           MS. JOHNSTON:      Your Honor , the witness         is

11 Detective     Shelton    Robert s.

12           THE COURT:      Shelton    Robert s?

13           MS. JOHNSTON:      I believe       that's   his name .

14           THE COURT:      With what police        department ?

15           MS. JOHNSTON:      He was with the Metropolitan

16 Police Department        in Washington , D. C.         I'm check ing my

17 order of proof to make sure -- Shelton                Robert s.

18           THE COURT:      All right .

19           MS. JOHNSTON:      He 's testify ing concern ing June

20 10 and June 26 , 19 86 search            warrant s that were executed

21 at a residence     where Ms. Martin          was re sidi ng , and Ms.

22 Martin    pled guilty     in relation       to one of those search

23 warrant s.

24           THE COURT:      All right .       I'll get out paper s that

25 address     that question , and let 's see if we can take it




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 1 up at 9:30 tomorrow .

 2          Any problem     with the defense      doing that ?    Okay .

 3 Well , as I said , I can't guarantee        you it will be 9:30

 4 on the button , but it will       be close .

 5          Ready for the jury ?

 6          MR. SUSSMAN :     What about Friday , sir ?

 7          THE COURT:      I'm sorry .   Friday    I have   a dentist

 8 appointment , but I should      be out of it pretty       quick .

 9 I'd like to do the same Friday         drill of 9 o'clock       to

10 2:00.    The 9 o'clock    start may be a little       -- slight ly

11 shaky , but I think it should       be okay .     It depends    on

12 how much drill ing my dentist       does , but I should be

13 okay.

14          Ready ?    Bring them in .    .

15          (Witness    Sakala   resume s the stand at 10 :09 a.m. )

16          (Jury return s at 10 :09 a.m. )

17          THE COURT:      Good morn ing , ladies and gentlemen            .

18 I ho pe you had a nice Fourth of July weekend .            Remember

19 when you saw all those fire work s going up there , one of

20 those was the grievance s we had with the King was trial

21 by jury , and you're     see ing now how that work s.

22          Let me tell you what the schedule          I'm going to

23 try to follow      the rest of this week is going to be .                We

24 should   go today to 4:30 or quarter        of five, because         I

25 have a conference      at 5:00, so we won't go any later




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 1 than that today .        Tomorrow    I have a sentenci ng at 9

 2 o'clock     in another    case , so we'll start at 10:00

 3 tomorrow     and go to 4: 30 , quarter      of five at the latest .

 4 On Friday , unless       there is a problem , I'm going to go

 5 our Friday      drill again , which mean s we will        start at

 6 9:00, take two break s, and adjourn            at 2:00 so we can

 7 get you out at a decent          hour .

 8            With that , I think we're back to Mr. McKnett .

 9            MR. MCKNETT:      Thank you , Your Honor .

10            THE COURT:      You may proceed .

11                           FURTHER CROSS-EXAMINATION

12            BY MR. MCKNETT:

13 Q.         Good morning     again , sergeant .

14 A.         Good morn ing , Mr. McKnett .

15 Q.         Sergeant , when we left off last week , we had

16 establish ed, I believe,         that you're    testify ing as both

17 a fact witness       and as an ex pert witness .

18 A.         That 's correct .

19 Q.         As a fact witness , you testif y to thing s you

20 observe .

21 A.         That 's correct .

22 Q.         As an ex pert , you testify       as to the opinion s you

23 form from the thing s you observe .

24 A.         That 's correct .

25 Q.         I believe    we establish ed that you re view ed the




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 1 transcript s, each of them at least            once .    Excuse   me .

 2 You re view ed all the intercept s at least             once ?

 3 A.         Yes .

 4 Q.         Some of them , several       time s -- as many as      five

 5 or six -- I think you said maybe seven times in some

 6 cases?

 7 A.         Some of them.       Quite a few time s, yes.

 8 Q.         And that even     as we proceed ed through        the trial ,

 9 you would find a mis statement , punctuation,              a word out

10 of place , somet hing like that,or          the wrong word

11 sometimes .

12 A.         Yes .

13 Q.         And we've establish ed also that your opinion s as

14 an ex pert are to a moral certainty .

15 A.         I am confident      in them , yes .

16 Q.         I want to turn your attention          now to the

17 relationship       between   Ms. Martin    and to my client ,

18 LaNora Ali, who is sitting            back -- would you stand up

19 for a second , Ms. Ali ?

20            (Defendant Ali stands and then is seated.)

21            BY M R. MCKNETT :

22 Q.         Thank you .

23            In addition     to what you believe      was a drug -

24 related     relationship , they also had a friend ly

25 relationship , didn't        they ?




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 1 A.        Yes , they did .

 2 Q.        They would social ize together ?

 3 A.        Yes , they did .

 4 Q.        Ms. Ali and her husband        would go to Ms. Martin 's

 5 house for dinner , to hang out , to do what friends             do --

 6 A.        Yes .

 7 Q.        -- in each other 's house s.         Ms. Martin   like d to

 8 cook , didn't     she ?

 9 A.        She did cook , yes .

10 Q.        And she would cook thing s, if you remember , such

11 as turkey    wing s, potato salad,       and sweet potato     pie ?

12 A.        Yes .

13 Q.        In that context , "sweet potato         pie " meant sweet

14 potato    pie ; correct ?

15           MS. JOHNSTON:        Objection , unless   we know what

16 context    he's talk ing about .

17           THE COURT:      See if you can focus in on --

18           MR. MCKNETT :       In the context    in which Ms. Martin

19 cook ed sweet potato         pie --

20           MS. JOHNSTON:        Objection .

21           THE COURT:      Over ruled .

22           THE WITNESS:        There were time s when she use d the

23 term "sweet potato        pie " when she was actual ly refer ring

24 to sweet potato      pie .

25           BY MR. MCKNETT :




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1 Q.         Sometimes , a pie is just a pie .

2 A.         That 's correct .

3 Q.         In fact , there was one series         of conversation s,

4 if you remember           -- and if not , I'll move on -- on the

5 nineteenth     of March of 2004 in which there were a

6 series    of call s about Ms. Ali and her husband            being at

7 Ms. Martin 's house eat ing din ner the          night before .

8 Remember     that ?

9 A.         I don't remember       the date , but I'm sure that did

10 happen   dur ing the intercept .

11 Q.        And sometimes       Ms. Martin   and Ms. Ali would do

12 what friends      do :     They would gossip   on the telephone .

13 A.        Yes .

14 Q.        They would talk about other people ?

15 A.        Yes .

16 Q.        They would talk about shop ping ?

17 A.        Yes .

18 Q.        They would talk about current          event s?

19 A.        Yes .

20 Q.        They would talk from , time -to -time , about the

21 fact that Ms. Martin          was attempt ing to move to a

22 different    house .       Do you remember   that ?

23 A.        Yes , I'm sure they talk ed about that .

24 Q.        In fact , there was conversation s about Ms.

25 Martin   try ing to have a house built somewhere .




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 1           Do you remember    that ?

 2 A.        Yes , she was having       a house built .

 3 Q.        They would talk about thing s like Ms. Martin

 4 having    to register    her car and it being difficult

 5 because    she hadn't    submitted    a change   of address    notice

 6 to the Department       of Motor Vehicle s.

 7           Do you recall    that ?

 8 A.        I don't know    if I recall     that , but it 's

 9 certain ly possible      they talk ed about that .

10 Q.        And they talk ed about traveling ?

11 A.        Yes .

12 Q.        They talk ed about clothe s?

13 A.        Yes .

14 Q.        They talk ed about all the thing s that friends

15 would talk about ; correct ?

16 A.        Yes , I think that 's accurate .

17 Q.        Was there one conversation , if you recall , on

18 March 17 , 2004 in which Ms. Martin          and Ms. Ali talk ed

19 about a number     of thing s, and then Ms. Ali mention ed

20 that she would stop over later that night ?             Remember

21 that one ?

22 A.        No , not without   look ing at the log s.

23 Q.        Would the log refresh        your recollection ?

24 A.        It might .

25           MR. MCKNETT :    May I retrieve     the log , Your




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 1 Honor ?

 2           THE COURT:      You may .

 3           MR. MCKNETT :     may I approach , Your Honor ?

 4           THE COURT:      You may .

 5           MS. JOHNSTON:       Your Honor , just so the record          is

 6 clear , he 's referring      to a copy of what's     been mark ed

 7 for identification       as Government 's Exhibit

 8 Miscellaneous       9.

 9           MR. MCKNETT :     That 's correct .

10           THE COURT:      All right .

11           BY MR. MCKNETT :

12 Q.        Finish ed ?

13 A.        Yes .

14 Q.        Do you still need it ?

15 A.        No .

16 Q.        Does that refresh      your recollection     about that

17 conversation ?

18 A.        I don't remember      that particular    conversation ,

19 no , but that 's what the synopsis        reflect s is what you

20 said .

21 Q.        They're    talk ing about a number     of thing s, and

22 then Ms. Ali said she was going to stop over later .

23 A.        That 's correct .

24 Q.        In fact , I think she said can "they " stop over

25 later .




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 1 A.       That 's what the synopsis        reflect s.

 2 Q.       That would be accurate       to the best of your

 3 knowledge , would n't it ?

 4 A.       Without   listening    to the call , you know , I don't

 5 know , but it should      be accurate .

 6 Q.       Did you notice     that you hadn't      made any

 7 notation s about any in accuraci es or any addition s you

 8 want ed to make in that log entry ?

 9 A.       I did not notice      any notation , but that would n't

10 be something    -- whether     it 's "they " or "she ," that

11 would n't be something      I would correct .

12 Q.       That 's fine .    That 's fine .

13          Then we did actual ly see that -- hear about that

14 visit from , who was it?        Detective    Marcus    Jones back

15 two Thursday s ago .      Do you recall     his testimony ?

16 A.       If that was the date , yes .

17 Q.       He testifi ed -- were you here for his testimony ?

18 A.       Yes , I was .

19 Q.       He testifi ed , did he not , that he was do ing a

20 surveillance    at 810 Hayward     that evening       -- that

21 afternoon   and evening ; correct ?

22 A.       If that was the date .       I don't recall      the date .

23 He did testify     see ing Ms. Ali over there , yes .

24 Q.       And he testifi ed -- if you recall , he got there

25 about 5:30 , set up his position          -- I'm not try ing to




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1 lock you into the time s, but does this sound --

2 A.         It sounds right,     yes .    I don't know     the exact

3 date and time , but I remember           him testify ing to    Ms. Ali

4 comi ng over , yes .

5 Q.         He said after he had been there for a time , he

6 saw a driver        -- sa w a vehicle    drive up a; correct ?

7 That vehicle        was -- I'm sorry .     I was mak ing a compound

8 question     there .

9 A.         Yeah .    I don't recall     what his testimony     was

10 about that .

11 Q.        Do you recall     him testify ing that a vehicle

12 registered to       Luis Mangual   arrive d that afternoon ?

13 A.        I do believe     he testifi ed about that , yes .

14 Q.        That the driver     entered    the residence ; correct

15 --

16 A.        Yes .

17 Q.        -- stay ed for a time , and then left .

18 A.        Yes .

19 Q.        And then later he saw another        vehicle     arrive ,

20 and that vehicle       was registered     to Ms. Ali .    Do you

21 recall   that ?

22 A.        Yes .

23 Q.        And he saw a tall black male about 50 year s old

24 and a black female       about 50 year s old exit the vehicle

25 and enter the residence ; correct ?




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 1 A.         Yes .

 2 Q.         And he testifi ed that they enter ed the             residence

 3 by the front door .         Do you recall      that ?

 4 A.         I don't recall      that .     He might have said that .

 5 I just don't recall         him say ing which door they use d.

 6 Q.         And then at some time later , I believe , he

 7 testifi ed he saw those two same individuals                leave the

 8 residence , re- enter the vehicle , and drive away .

 9 A.         Yes , I recall     that .

10 Q.         Do you recall      -- do you have the transcript           book

11 there with you ?

12 A.         Yes , I do .

13 Q.         Can you turn to transcript          B836 ?

14 A.         Is that Book 1?

15 Q.         I believe      it 's Book 1.

16   A.       B306 ?

17 Q.         836 .    I apologize .       I didn't   mark the page

18 number .     Page 122 .

19 A.         B836 , on Page 122 ?         I have that,    yes .

20 Q.         In that conversation , Ms. Martin            -- this take s

21 place at 6: 20 ; correct ?

22 A.         Yes .

23 Q.         And it appear s in this conversation            that Mr.

24 Mangual    tell s Ms. Martin      that he 's on his way ; correct ?

25 A.         Yes .




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 1 Q.        And then Ms. Martin      tell s him -- says to him

 2 that if LaNora     and those are in , just go on in the

 3 back .    We'll go in the back .      You know , right in the

 4 back area ?

 5 A.        That is correct .

 6 Q.        It would appear      that whatever   was going on

 7 between     Ms. Martin     and Mr. Mangual   that Ms. Martin

 8 didn't    want LaNora      and them to know about it , would n't

 9 it ?

10 A.        Yes , it does .     I would agree with that .

11 Q.        Ms. Mart in and     Ms. Ali did errands     for each

12 other , didn't    they ?     As best as you know from --

13 A.        I'm sure they did , yes .

14 Q.        And it would appear      from the wiretap s and

15 observation s and such that Ms. Ali and her husband              --

16 Ulysses     Gardner.     Are you familiar    with his name ?

17 A.        Yes .

18 Q.        Mr. Gardner is      Ms. Ali 's husband ; is that

19 correct ?

20 A.        That is correct .

21 Q.        They bought      clothe s from Ms. Martin , didn't

22 they ?

23 A.        Yes .

24 Q.        Sergeant , I'm going to ask you some question s

25 now about specific         conversation s.   If you can keep that




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 1 book handy , it might be help ful .

 2            I'm going to ask you first about call B566

 3 which , is on Page 70 of Book 1.            Do you see that there ?

 4 A.         Yes , I do .

 5 Q.         In that conversation , the fact is that Ms. Ali

 6 says , oh , okay , 'cause you know , you know just what ;

 7 correct ?

 8 A.         That is correct .

 9 Q.         It 's your opinion , as you state d earlier , back

10 on June 21st , that Ms. Ali and Ms. Martin               were

11 discuss ing a previous        purchase    of cocaine ,

12 specifically , an eight-ball .           That was your testimony ,

13 was it not ?

14 A.         I don't remember        talk ing about previous

15 purchase .     Ms. Ali is tell ing Ms. Martin        she want s just

16 one .

17 Q.         And "one ," in your opinion , was -- maybe my

18 note s are wrong about the          previous   purchase , but your

19 testimony     was that she was talk ing about an eight-ball

20 quantity     of cocaine ; correct ?

21 A.         I don't know     if I said it in this conversation ,

22 but the other conversation s in the drug ledger                 indicate

23 that 's her normal        amount   was an eight-ball .      I don't

24 know that I said an eight-ball            in this one , but that 's

25 probably     what it was .




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 1 Q.       And that would be your opinion          as an ex pert ;

 2 correct ?

 3 A.       That is correct .

 4 Q.       But the fact is that she just said , you know ,

 5 just what ?

 6 A.       That 's what she said , yes .

 7 Q.       Then on the next page , B567 , you have testif ied

 8 that that 's a -- I'm sorry .        I mis read my note s.

 9          On B566 your testimony       was that they were

10 discuss ing a purchase      of drug s, and then on call 567 --

11 B567 , which is where you testifi ed they were discuss ing

12 a previous    purchase   of cocaine    in an eight-ball

13 quantity ; correct ?

14 A.       That is correct .

15 Q.       I apologize     for the confusion     on my part .

16 Again , the fact is , the fact s are on the page ; correct ?

17 That 's what they said .

18 A.       Yes .

19 Q.       And it 's your opinion      that they were talk ing

20 about an eight-ball      quantity    of cocaine    and whether     or

21 not Ms. Martin     or Ms. Ali was going to put it on the

22 book s, so to speak , which is , I guess , front ing it ?

23 A.       Just add it to her debt or whether           she 's going

24 to pay cash for it , yes .

25 Q.       Again , that 's your opinion .




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 1 A.         Yes , it is .

 2 Q.         Let 's turn to Page 138 , which is call A367 .           Do

 3 you have that there ?

 4 A.         Yes , I do .

 5 Q.         Do you need a second      to look at it ?

 6 A.         Yes .    I'm sorry .   I don't need it .

 7 Q.         Okay .    This is one of three calls I think you

 8 testifi ed to as a series , A 367 , B123 3, and A394 .

 9 A.         I'm sorry .     Do you have a page number      for the

10 last one ?

11 Q.         A394 .

12 A.         Do you have a page number ?

13 Q.         Page 158 .

14 A.         Yes .

15 Q.         Your testimony     concern ing A367 was that Ms.

16 Martin    and Ms. Ali were talk ing about a sale of cocaine

17 by Ms. Martin       to Ms. Ali ; correct ?

18 A.         Yes .

19 Q.         Five was your opinion ; correct ?

20 A.         That is correct .

21 Q.         The fact s are what 's on the page ; correct ?

22 A.         Yes , and what 's on the CD.

23 Q.         I want to be clear on one part of this .          I'm

24 sorry .    The fact s are on the CD, and this is as

25 accurate     a transcription      of the CD as could be




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 1 prepared ; correct ?

 2 A.         Yes .

 3 Q.         The second    entry for L.A. :     ' Cause you know what

 4 I want .     That 's in quotation s; right ?       That 's not what

 5 Ms. Ali is tell ing Ms. Martin , is it ?

 6 A.         You're    correct .   I would not have the quotation s

 7 on there .        That 's -- they should    not be on there .

 8 That 's just what she says .

 9 Q.         So it 's your testimony     that the person      Ms. Ali

10 is talk ing about in the first entry -- strike             that .

11            In the first entry , Ms. Ali is talk ing to Ms.

12 Martin     because    this is an excerpt     of the entire

13 conversation ; correct ?

14 A.         That 's correct .

15 Q.         And Ms. Ali tell s Ms. Martin , I told her I was

16 comi ng by to get some pig 's feet because            that 's all I

17 could think of , and she said , "oh.            Call me before      you

18 come by ;" right ?

19            And then Ms. Martin      says , Mm-hmm .    And Ms. Ali

20 continue s on , "' Cause you know what I want."            Y ou're

21 say ing that Ms. Ali is not referring            to the person      she

22 was talk ing to Ms. Martin        about ?

23 A.         No .    She 's not referring     to that at all .     The

24 first part is dealing        with a conversation       she 's

25 relating , that 's what she told Jackie Terrell            as the




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 1 reason     she came by .    Again , the quote s, both in the

 2 first section        and the second    section , should    not be

 3 there .     She does n't say , "Oh, call me before         you come

 4 by."      She does n't say that .      She just says what she 's

 5 tell ing Jacqueline Terrell.           The only thing she could

 6 think of     was to say that she was comi ng by to get some

 7 pig 's feet .       Then in the second    part she 's tell ing Ms.

 8 Martin , 'cause you know what I want .

 9 Q.         Could n't it just as easily      be -- you've

10 identif ied the       other person    as Jackie Terrell     which ,

11 again , is your opinion ; correct , because          she 's not

12 name d in this transcript .

13 A.         I'd have to listen      to the whole call , but I'm

14 pretty     sure that 's who she was talk ing about .         There

15 was a run ning , oh , I guess , a theme through           a lot of

16 the call s with Jackie       Terrell .    Whenever   somebody     would

17 come by , Jackie       Terrell   would always   ask them to bring

18 her cigarette s or liquor         or make them run errands.           So ,

19 that 's what they're       talk ing about there .

20 Q.         Would n't that make it very reasonable          to read

21 this as , "'C ause you know what I want ," as simply              a

22 continuation        of what Ms. Ali was tell ing Ms. Martin ,

23 that Ms. Terrell        said , oh , call me before    you come by

24 'cause you know what I want .

25 A.         Yeah .    I'd like to listen    to the call again , but




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 1 I don't think      that 's how the call sounds .

 2 Q.       It 's your opinion     that these quotation          mark s are

 3 mis place d?

 4 A.       If you continue     through    the rest of the call ,

 5 yes , and the other two call s that go with it .

 6 Q.       Well , there 's a sec tion missing,       again , from the

 7 call ; right ?

 8 A.       There 's a section     that was not tran scribe d.

 9 That is right .

10 Q.       There is about 23 seconds        taken out ; correct ?

11 A.       It 's a small part , but I would agree .             I don't

12 know the exact math .       Yes .

13 Q.       So other thing s were said in those 20 seconds ,

14 and then Ms. Al i said , So if you ain't there , is it all

15 right if I get some ; correct ?

16 A.       Yes , that 's correct .

17 Q.       And there was a reference        to pig 's feet in the

18 beginning      of that conversation ; correct ?

19 A.       Yes , there was a reference       to pig 's feet .

20 Q.       And Ms. Martin     was known to cook pig 's feet .

21 A.       I don't know    if I would know that .        No .

22 Q.       Well , in your experience , is it usual in the

23 drug trade to allow a drug customer           to go into the

24 deal er 's supply    of drug s and help herself ?

25 A.       Yes .    I've seen that happen .      If you are       very




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 1 close friends , yes .

 2 Q.       That 's not usual , is it ?

 3 A.       The normal     relationship    between   a drug seller

 4 and drug customer , if that was all there was , yes , I

 5 would say that     would be un usual .

 6 Q.       Let 's look at the next conversation          at B1233 ,

 7 Page 140 .    Do you have that there ?

 8 A.       Yes , I do .

 9 Q.       Let me interrupt      for just a second .      The

10 reference    to pig 's feet in the prior conversation .

11 That was not a drug reference , was it ?

12 A.       No , it was not .

13 Q.       In this conversation , B1233 , the reference           to --

14 is it in here , or I may be get ting ahead of myself .

15 Let 's not get to that .      Let 's stick with 1233 .        Ms.

16 Martin   says , and the fact is -- Ms. Martin          says , okay .

17 I fix ed your thing .      I have it with me , so you can just

18 call me ; correct ?

19 A.       Yes .

20 Q.       It was your opinion      that Ms. Martin      was tell ing

21 Ms. Ali that Ms. Martin       had cook ed crack for Ms. Ali .

22 A.       That 's correct .

23 Q.       Well , if on March 20 , which is the date of call

24 A367 , Ms. Ali said she was comi ng over to help herself

25 to get some , then it does n't seem to follow           that on the




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 1 next day Ms. Martin      would be tell ing Ms. Ali that she

 2 fixed her thing and had it with her and Ms. Ali should

 3 just call her .

 4 A.       I don't understand      your question .

 5 Q.       You said that on the previous         call , A367 , Ms.

 6 Ali was tell ing Ms. Martin       -- asking    permission    from

 7 Ms. Martin    to come over and get some that day .

 8 A.       If she 's not there , she 's asking       if she can get

 9 some .

10 Q.       Did you have surveillance        at Ms. Martin 's house

11 that day ?

12 A.       I would have to look at the surveillance

13 report s.    I don't know .

14 Q.       You never had surveillance        on Ms. Ali --

15 direct ly on Ms. Ali , did you ?

16 A.       That is in correct .

17 Q.       Did you    have a surveillance      specifically

18 direct ed at Ms. Ali ?

19 A.       Yes .

20 Q.       When was that ?

21 A.       I don't remember      the date , but I remember       the

22 circumstance s as to what it was about .

23 Q.       Okay .    I think we'll probably      get to that .     Let

24 me try to keep these in chronological           order .

25          So Ms. Ali is asking       Ms. Martin , on March 20 , if




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 1 she can come over and get some even if Ms. Mart in is

 2 not there ?

 3 A.       That 's correct .

 4 Q.       The next day , Ms. Martin        is tell ing Ms. Ali that

 5 she had her thing -- Ms. Ali 's thing with Ms. Martin .

 6 A.       That 's correct .

 7 Q.       So it would appear       that either    Ms. Ali didn't        go

 8 over and get something        the day before , de spite say ing

 9 she would , or we're talk ing about two different              thing s.

10 A.       Either    I would agree with that , that either          she

11 didn't   go over there , or she did go over there and

12 order another      amount .   But I would agree with that

13 assessment , yes .

14 Q.       We don't know if Ms. Martin         was there when Ms.

15 Ali went over or if Ms. Ali went over at all , do we ?

16 A.       That 's correct .      Without   look ing at either     the

17 pole cam log , which I think would have been active               on

18 this date or surveillance , I do not know .

19 Q.       I'm sorry .     Did you say it was active        or

20 in active ?

21 A.       It went active       on the 20th, so it should        have

22 been run ning on the next day or dur ing the first call .

23 What time it went active , I'd have to look at the log .

24 Q.       If you turn to Page 158 .         Is call A394 , again ,

25 on Ma rch 21st ?




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 1 A.         I have it , yes .

 2 Q.         And that call is , again , March 21st , as I said ,

 3 and Ms. Martin          start s out at the middle   of the page

 4 talk ing about , I can't wait , LaNora , till I get my

 5 house .     I'm so sick of that , I don't know         what to do ,

 6 which is a reference          to Ms. Martin   try ing to have a

 7 mouse built , I believe .         If you know .

 8 A.         Yes , it is .

 9 Q.         And then Ms. Martin       says , it 's in the trunk of

10 my car .     Just call me , I'll come outside        and hand you

11 the bag out of the trunk ; correct ?

12 A.         Yes .

13 Q.         We're talk ing about an eight-ball        in your

14 opinion ?

15 A.         That would be her normal       amount , look ing through

16 the drug ledger .

17 Q.         So would it be necessary       to package    up an

18 eight-ball     as we saw is the size of a piece of

19 prosecutor 's candy the other day -- package             that up in

20 a bag and then put it in the trunk of a car ?

21 A.         It would depend      on where Ms. Mart in is keep ing

22 her drug s.        If   she had them in the trunk , yes .      I don't

23 know what would be normal          for her on this particular

24 day .

25 Q.         If it had been clothe s, it would have been also




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1 -- could easily      have been de scribe d as it 's in the bag

2 in the trunk of my car ; correct ?

3 A.        She could have had clothe s in the trunk of her

4 car , yes .

5 Q.        In that conversation , "two juice s" is not a

6 reference     to drug s.

7 A.        No , it is not .

8 Q.        "Necklace " is not a reference         to drug s; correct ?

9 A.        That 's correct .

10 Q.       But , "hand you the bag out of the trunk of my

11 car " is a drug reference       in your opinion ?

12 A.       Yes , it is .

13 Q.       We turn now to call B24 36 on Page 265 .

14 A.       Is that in Volume II ?

15 Q.       I apologize .      I didn't     mark that one .

16 A.       Yes , it 's in Volume    II .     B24 36 , on Page 265 .

17 Q.       Then again , the fact of this transcript           is that

18 Ms. Martin    and Ms. Ali are talk ing -- Ms. Martin

19 mention s one magazine .      Ms. Ali says , that 's what I got

20 to make sure .     Ms. Martin    says , I need to know that

21 'cause I have -- I may have        some people     in here .    And

22 then later on Ms. Martin        says , I'll call you back ;

23 correct ?

24 A.       That 's correct .

25 Q.       And it is your opinion          that "one magazine " is a




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1 reference      to a quantity      of cocaine ?

2 A.          That 's correct .

3 Q.          And that when Ms. Ali says , "that 's what I got

4 to make sure ," she is say ing she has to check with

5 somebody      else ; correct ?

6 A.          That 's what she says , yes .

7 Q.          She didn't     say she had to check with somebody

8 else , did she ?      She said , "T hat 's what I got to make

9 sure ."

10 A.         Yes .

11 Q.         It's your opinion        she was say ing she had to

12 check with somebody        else .

13 A.         Okay , yes .

14 Q.         And then it was your opinion         that Ms. Martin      is

15 say ing to Ms. Ali that Ms. Martin           want s to know how

16 much Ms. Ali want s so she can get it ready and just

17 hand it to her without          other people    notic ing .

18 A.         That 's correct .     She 's come prepared     ahead of

19 time , so she'll     have it ready .

20 Q.         What she said was , I need to know that because                I

21 may have     some people    in here ; correct ?

22 A.         That is what she said , yes .

23 Q.         And the other part was your opinion .

24 A.         That is correct .

25 Q.         Is there anything        else in this conversation     that




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 1 leads you to the two conclusion s you just state d?                 One,

 2 that Ms. Ali was asking            for the quantity     of drug s; and

 3 two , that Ms. Martin       want ed to get it ready without

 4 anybody     else notici ng ?

 5 A.         Not in this conversation , but obvious ly in other

 6 evidence     that was seen during        the case leads me to my

 7 opinion .

 8 Q.         Have you seen another        conversation     like this ?

 9 A.         Where she order s drug s?

10 Q.         No , where this conversation        -- this similar

11 conversation     where , in your opinion , Ms. Martin          is

12 tell ing Ms. Ali to let her know how much she want s so

13 that Ms. Martin        can get it ready in advance         and have it

14 ready so that no one else will notice .

15 A.         There were several        conversation s.     I don't know

16 the exact amount        where Ms. Martin     would want to know

17 the exact amount        ahead of time so she could get it

18 ready .     Whether    it was with Ms. Ali or not , I don't

19 recall .     We've listened        to them in court .     I don't

20 recall     whether    it was that exact one with just her .

21 Q.         You don't recall        any other conversation     of this

22 nature     between    Ms. Mart in and    Ms. Ali ?

23 A.         There may very well have been .           We've listen ed

24 to them in court , but I don't recall           whether     there was

25 one of a similar        nature .     I just heard one where she




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 1 talk ed about get ting it ready ahead of time .             So if you

 2 want to say, was there ever any conversation between

 3 Ms. Martin and Ms. Ali           where she prepared    it ahead of

 4 time, the answer would be yes          .

 5 Q.       But there 's nothing        specifically     in this

 6 conversation      that leads you to believe         that Ms. Martin

 7 -- Ms. Ali is ordering           drug s and that Ms. Martin       want s

 8 to know how much so she can get it ready in advance                   so

 9 that no one else will see her give it              to Ms. Ali ?

10 A.       That 's my opinion        of what she says .      That 's what

11 I believe      she's say ing .     So , yes , there is something       in

12 that conversation       that leads me to believe         that .

13 Q.       Was there a surveillance          on this day ?

14 A.       Again , without     look ing at the surveillance           log ,

15 I don't know .      There certain ly was a pole cam

16 operati ng .

17 Q.       Sergeant , are you aware -- has it come to your

18 attention      that when people      -- two people    are talk ing

19 about something , a subject          or an object , a person , and

20 they both know what the subject            is , they tend to talk

21 in kind of a shorthand ?

22 A.       If I understand         what you're    say ing , I would

23 agree with that , yes .

24 Q.       They don't have to specify            exact ly what they're

25 talk ing about , because         they know what they're     talk ing




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 1 about ; correct ?

 2 A.       That 's correct .

 3 Q.       It 's your opinion       in these conversation s that

 4 Ms. Martin     and Ms. Ali are talk ing about drug s;

 5 correct ?

 6 A.       In many of the conversation s, yes .

 7 Q.       Even though     they don't specify      exact ly what it

 8 is they're     talk ing about .

 9 A.       I don't think     anybody    during   -- over 10,000

10 interception s activation s, I don't think          anybody      ever

11 use d the term " drug s" or said drug s straight         out .

12 Q.       Let 's turn to Page 348 , call A1224 .         Do you have

13 that there ?

14 A.       Yes , I do .

15 Q.       This is 20 day s late r from      the previous     call .

16 This is on April 21st , '04; correct ?

17 A.       Yes .

18 Q.       Ms. Martin     asks Ms. Ali , you just want ed one

19 ticket , and then Ms. Ali says , that 's -- I'm going to

20 make a phone call .      Ms. Martin     says , okay .   Let me

21 know ; correct ?

22 A.       Yes .

23 Q.       Is this one of the other call s you were

24 referring    to when I talk ed about it?

25 A.       I'm sorry .




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 1 Q.        The call on April 1st about conversation s about

 2 Ms. Martin     get ting thing s ready in    advance .

 3 A.        I don't know    if she 's going to get it ready in

 4 advance .     She just want s to know the quantity         of

 5 cocaine     Ms. Ali want s.

 6 Q.        Okay .    Do you know who Ms. Ali call ed ?

 7 A.        I do not .

 8 Q.        Do you know if Ms. Ali called        anybody ?

 9 A.        I do not .

10 Q.        Now , let 's turn to the Page 349 , the next page ,

11 call A12 26 , which is about -- a little           less than two

12 hour s after the previous       call ; correct ?

13 A.        Yes .

14 Q.        Bear with me for a moment .        I'm try ing to find a

15 page in Exhibit      Hayward   7.   The page I'm look ing for is

16 the page out of this book in which there were two short

17 list s -- here they are .       Do you see that there ?

18 A.        Yes , I do .

19 Q.        This is the book out of Hayward          -- 810 Hayward ,

20 Ms. Martin 's house ; correct ?

21 A.        Yes .

22 Q.        This was seize d as part of the investigation            in

23 this case .

24           Now , in the call in A1224 --

25 A.        12 26 .




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 1 Q.         12 26 .   I'm sorry .

 2            Is it your testimony      that on Page 350 -- prior

 3 to that , they       had been talking   about some thing,      then

 4 Ms. Ali change d the subject , and it was your testimony

 5 that Ms. Mart in was asking        -- Ms. Ali was asking       Ms.

 6 Martin     about what price she put in the book , because

 7 Ms. Ali told her, I want ed the         whole thing but I only

 8 want ed part of it .       And then there 's a conversation

 9 about the wrong price in the book and so forth , the

10 $1. 25 .     Your testimony    was that $1 .25 was actual ly

11 $125 ?

12 A.         Yes .

13 Q.         Did you see any such entry for April 21st 2004

14 in this book , Hayward        7?

15 A.         Yeah .    I think you 're on the      wrong page , but I

16 think if you go back to the previous             red tab there will

17 be an entry that fit s in that date frame that 's

18 un date d.

19 Q.         Previous    red tag ?   Okay .

20 A.         There should    be a red tab at the top .         Is this

21 the page ?      No , it is not .

22 Q.         Okay .    That was the previous       red tab .   And we

23 look ed at the next previous         red tab .    That 's not it ,

24 either ?

25 A.         No , it is not .




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 1 Q.        And the previous     red tab .    Is that the one ?

 2 A.        No , I don't belie ve that 's the one .         If you flip

 3 it over -- turn the page, it's the next page, I

 4 believe , on the left-hand       side of the book .

 5 Q.        Is this the one ?

 6 A.        Yes .

 7 Q.        And somewhere    on here is an entry , you belie ve,

 8 for April --

 9 A.        If you look on the right side of the page , you

10 will see an entry for 4/19 for $125 .

11 Q.        $125 .

12 A.        High er up .

13 Q.        That 's the one you're     referring    to ?

14 A.        No , I'm not .   High er up .    High er up .    Right

15 there .

16 Q.        Right there .    I don't know     if I can zoom this or

17 not ?

18 A.        Without   see ing the book , I don't know        if that is

19 9 or 19 .

20 Q.        Is that too blurry ?

21 A.        It 's too blurry    for me to --

22 Q.        Still too blurry ?

23           Would you like to look at the book ?

24 A.        I would like to look at the book , yeah .

25           MR. MCKNETT :    May I approach , Your Honor ?




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 1            THE COURT:     You may .

 2            THE WITNESS:     I can't -- I still can't make it

 3 out .     It could be an '09 , could be a 19 , but that set s

 4 the date -- the first date of the range I was talk ing

 5 about .     And then further      down you will see an entry for

 6 125 .     And then further      down you will see an entry on

 7 4/29 for 125 .      The 125 before       is the one I was

 8 refer ring to .

 9            BY MR.   MCKNETT :

10 Q.         Thank you .

11            That would be $125 , in your opinion?

12 A.         Yes .

13 Q.         Can we turn now to number           -- to Page 378 ?   And

14 that 's call B-4330 .

15            Do you have that there ?

16 A.         Yes , I do .

17 Q.         And this is a very short ex tract of the long er

18 call ; correct ?

19            It 's a three -minute      call , and this is about -- I

20 can't estimate      the time , but it 's only four comment s?

21 A.         That 's correct .

22 Q.         You've   decide d this     is pertinent ; correct ?

23 A.         I'm sorry ?

24 Q.         This is a pertinent        call ?

25 A.         It is a pertinent      call , yes .




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1 Q.        And a pertinent     call that relate s to drug

2 trafficking ?

3 A.        That 's correct .

4 Q.        Which part of this call relate s to drug

5 trafficking , in your opinion ?

6 A.        I'm wait ing on my brother to         take care of some

7 business .     If you recall , this was during        a time when

8 Mr. Goodwin     was obtain ing a quantity        from Mr. Cuba .

9 Q.        It was also during a time when Ms. Ali and Ms.

10 Martin and Mr.     Gardner and Mr. Goodwin were involved            or

11 were attempt ing to     become   involve d in the entertain ment

12 business ; correct ?

13 A.       I don't think     either   LaNora   Ali or Mr. Gardner

14 had anything     to do with that deal .

15 Q.       With what , the entertain ment business ?

16 A.       That 's correct .

17 Q.       They had nothing      to do wit h it?

18 A.       I don't think     they had any sort of investment             at

19 all , other than they would talk about it -- Ms. Martin

20 would talk about it with Ms. Ali and Mr. Gardner,                but I

21 don't think    they had any investment         in i t at all .

22 Q.       It 's your opinion      they didn't    have any financial

23 investment ; is that correct ?

24 A.       I don't think     they had any type of interest          in

25 it at all other than just to talk about it .             If they




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 1 did , it certain ly did not come through            in the

 2 conversation .

 3 Q.        You don't recall        a conversation    in which Ms.

 4 Martin    state s that she want ed Mr. Gardner         to be her

 5 spokesman     for the business ?

 6 A.        No , I do not .

 7 Q.        If that conversation        existed , would that change

 8 your opinion       in any way ?

 9           MS. JOHNSTON:         Objection .

10           THE COURT:     Over ruled .

11           THE WITNESS:       I don't think so .      No .    Because       if

12 they had that conversation , that would be the ex tent of

13 it .   Again , the entertain ment business          was -- from the

14 intercept s, appear ed to be sole ly from Ms. Mart in and

15 Mr. Goodwin     and other individuals .       I don't think          Ms.

16 Ali or Mr. Gardner       had anything     to do with it .

17           BY MR.    MCKNETT :

18 Q.        You don't re call conversation s between            Mr .

19 Gardner    and Mr. Goodwin        about Ron H ood and Ron Hayes ?

20 A.        I don't recall        one , but I'm sure they talk ed

21 about it .     She talk ed about Ron Hood and Ron Hayes               with

22 everybody .

23 Q.        Ron Hood and Ron Hayes are the two people                  who

24 were supposedly       promoter s.

25 A.        I don't know      -- I have   no idea .    Other than




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 1 get ting money from them , I'm not sure what their job

 2 would be .

 3 Q.         It turn ed out maybe nobody     was quite sure what

 4 they were do ing ?

 5 A.         That 's correct .

 6 Q.         That is , they were painting        themselves    as being

 7 involve d in the enter tain ment business          to Ms. Martin ;

 8 is that correct ?

 9 A.         That 's correct .

10 Q.         You don't recall     Mr. Gardner     talk ing to Mr.

11 Goodwin     about the entertainment     business ?

12 A.         They had -- I don't know      if we intercept ed a

13 conversation     like that , but I know on at least           one

14 occasion     they were at -- "they " being Mr. Gardner , Ms.

15 Ali , Ms.     Martin   and Mr. Goodwin .      They were at the

16 house on Hayward       having   a discussion    about what they

17 should     do about the problem , and Mr. Gardner           offered

18 advice .     Whether   we intercept ed the conversation         with

19 Mr. Goodwin , I don't recall        that , but I know a meet ing

20 took place where they discuss ed it .

21 Q.         But even if that -- even if Mr. Gardner            and Ms.

22 Ali were involve d with Ms. Martin         in attempt ing to        get

23 into the entertain ment business , that would n't change

24 your opinion     about the nature     of this call .

25 A.         No , that would not .    This is referring        to the




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1 deal with Cuba that she 's wait ing on .           Specifically , I

2 think she 's wait ing for him to deliver           the kilo .

3 Q.        She does n't use the word kilo , does she ?

4 A.        No .    As I said .    During    the entire   wire , we

5 never intercept ed a direct         reference    to drug s, no .

6 Q.        All we know is that Ms. Martin          told Ms. Ali that

7 she was wait ing for her brother , Mr. Goodwin , to take

8 care of some business ?

9 A.        That 's not all we know ; that 's what's         in this

10 conversation , though .

11 Q.       In this excerpt       that you thought    was pertinent ,

12 that 's all we have ; correct ?

13 A.       No , it is not .      There are other call s deal ing

14 with the business       with her brother , but in this

15 transcript      that 's the   only excerpt ed part .    But that 's

16 not all we have about that reference .

17 Q.       The question     was in this conversation , in this

18 excerpt , which you testifi ed is the pertinent            part of

19 this conversation ?

20 A.       Yes , that is correct .         That is the pertinent

21 part of this conversation .

22 Q.       In this four -line entry of this long er excerpt ,

23 in this long er conversation , all we know is that Ms.

24 Ali think s that she might go out for crab s, and she

25 invite s Ms. Martin      to share in the crab s; right ?




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 1 A.       I don't know     what Ms. Ali know s.      I know that 's

 2 what's   said .

 3 Q.       I'm sorry .    I think I may have       confused     -- I'm

 4 not sure I understand       your answer .

 5 A.       Okay .    I thought    you asked me what Ms. Ali

 6 know s, and I said that I don't know          what she know s

 7 about this reference .         I just know what's    said .

 8 Q.       So you don't know that Ms. Ali knew what Ms .

 9 Martin   was talk ing about --

10 A.       No .

11 Q.       -- when    she said it ?

12 A.       No, I do not .

13 Q.       I want to talk now about Page 387 , B4430 .             This

14 is on April 25 , at about 4:48 in the afternoon .

15          Do you have that there ?

16 A.       Yes , I do .

17 Q.       It start s out with Ms. Ali asking         about , you

18 hear from Gwen ?     And I believe     you testifi ed it 's a

19 reference   to Gwen Levi ; correct ?

20 A.       Yes , it is

21 Q.       When was Ms. Levi arrested ?

22 A.       April 24th, around       midnight   or thereabout s.

23 Q.       Okay .    So Ms. Ali is asking      Ms. Martin     if she

24 heard from Gwen ; correct ?

25 A.       Yes .




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 1 Q.       And Ms. Martin     says , she lock ed up ; correct ?

 2 A.       That is correct .

 3 Q.       Then Ms. Ali re act s with surprise .

 4 A.       She says , really ?

 5 Q.       And in the transcript , if you listen , it sounds

 6 like , "really ?"

 7 A.       Yes .    I would agree this is news to her .

 8 Q.       And then Ms. Martin      proceeds    to explain    to Ms.

 9 Ali about Gwen get ting arrested ; correct ?

10 A.       Yes .

11 Q.       Is it your testimony       that Ms. Ali knew that Ms.

12 Levi was involve d in drug distribution ?

13 A.       I don't think     I've testifi ed to that , no .

14 Q.       I'm sorry .     Is it your opinion      that Ms. Ali knew

15 about Ms. Levi being involve d in drug distribution ?

16 A.       My opinion    is yes , but not based on these

17 conversation s.

18 Q.       What's    your -- what is your opinion        based on ?

19 A.       Other information .

20 Q.       Other information      that 's been present ed to the

21 jury ?

22 A.       I do not believe      the jury has heard that

23 information .

24 Q.       In this conversation , Ms. Martin         tell s Ms. Ali

25 that she think s that Ms. Levi got arrested            because   she




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 1 was involve d with the Julio          thing ; correct ?

 2 A.         That is correct .

 3 Q.         And that Julio thing was again ?

 4 A.         The arrest    of Emelio    Echarte   in Florida .

 5 Q.         So that would indicate , at least        with regard     to

 6 Ms. Levi 's arrest , Ms. Ali was not aware that she was

 7 do ing anything    illegal , correct , because       Ms. Ali didn't

 8 know why Ms. Levi was arrested .

 9 A.         That does n't indicate      she didn't   know she was

10 do ing anything    illegal .    It indicate s she didn't         know

11 why she was arrested .

12 Q.         But Ms. Martin    tell s Ms. Ali about the Julio

13 thing and how Ms. Martin        think s that Ms. Levi got

14 arrested    because     of the Julio thing .

15 A.         That 's what Ms. Martin      is say ing , yes .

16 Q.         And about the only factual        statement     after that

17 that Ms. Ali make s about Ms. Levi is on Page 38 8, when

18 Ms . Ali says , I like d her , too .       Seem s like she's an up

19 front person .     But she -- and then, damn .

20            Everything    else in this conversation         is

21 information     that Ms. Martin       is giving   to Ms. Ali ;

22 correct ?

23 A.         Yes , I would say that 's the primary          focus of the

24 conversation     is Ms. Martin       tell ing Ms. - -- giving -- I

25 guess one defense        attorney    call ed it "the front page




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1 news " to Ms. Ali .

2 Q.         And Ms. Ali , at least     in this conversation ,

3 didn't     know Ms. Levi had been arrested ?

4 A.         That 's correct .

5 Q.         Didn't    know why she had been arrested .

6 A.         That 's what she says , yes .

7 Q.         And didn't    challenge   in any way Ms. Martin 's

8 explanation        of why Ms. Levi was being arrested , did

9 she ?

10 A.        No , I don't think    she challenge s it at all .

11 Q.        Again , this is like gos sip .

12 A.        I guess it would depend       on what gos sip is .           But ,

13 yes , it certain ly could be per ceived         that way .

14 Q.        Can you turn now to Page 402 , call 1363 .               I

15 think these are -- this is one of the start of a series

16 of call s in which you say you testifi ed , I believe                  --

17 and if I'm wrong , correct       me, please .    You testifi ed

18 that Ms. Ali , Ms. Martin       and Larry Nunn were involve d

19 in creati ng a phony time sheet for Mr. Nunn ; is that

20 correct ?

21 A.        Yes .

22 Q.        That 's your testimony .

23 A.        Yes .

24 Q.        And we saw that time sheet -- I forget             the

25 exhibit     number , but it was place d up on the screen ;




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 1 correct ?

 2 A.        That is correct .

 3 Q.        At Page 402 , the discussion          there is between   Ms.

 4 Ali and Ms. Martin           about Ms. Martin   buy ing an answering

 5 service     for the place ; correct ?

 6 A.        Yes .

 7 Q.        And then Ms. Ali says , just by a fax .          Buy a fax

 8 machine     so everything       will just look official    when you

 9 do ing this business , because         everything   comi ng from the

10 same address ; correct ?

11 A.        That is what she says , yes .

12 Q.        Then later on , Ms. Ali says , just buy a fax .

13 Just buy you a fax .           It could be on the same number ,

14 just like at home .           And then they go on with Ms. Martin

15 later say ing she 's not up to anything , get ting ready to

16 go to the school .           And then Ms. Ali talk s about the

17 phone number       which would appear     to be the phone number

18 to be use d on the fax machine ; correct ?

19 A.        I'm sorry .        Where are you referring ?    I've lost

20 you .

21 Q.        Okay .    Bottom     of Page 402 .

22 A.        Okay .

23 Q.        Ms. Martin     says she 's just get ting ready to go

24 in the school       here .     Then Ms. Ali talk s about a phone

25 number ; correct ?




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 1 A.        Yes .

 2 Q.        That appear s to be the phone number          that is to

 3 be use d on a fax machine ; correct ?

 4 A.        On the letterhead , yes .

 5 Q.        There 's no mention    of letterhead      in here , is

 6 there ?

 7 A.        I think that 's what they're         talk ing about ,

 8 preparing    that -- Ms. Ali is talk ing about preparing             --

 9 I'd have to a look -- if you have the exhibit              again ,

10 it 's probably     on that letterhead .

11 Q.        Okay .   Now , the next call , B47 58 , is a call

12 between   Larry Nunn and Ms. Martin ; correct ?

13 A.        Yes , it is .

14 Q.        That 's on the same day , April 28 , and it 's about

15 -- well , the first call between           Ms. Ali and Ms. Martin

16 was at 9:53 in the morn ing , and the call between            Mr.

17 Nunn and Ms. Martin       is about 5:15 in the afternoon .           So

18 that 's seven and a half hour s?

19 A.        Yes , about that .

20 Q.        In this call there is no reference           to Ms. Ali ,

21 is there ?    I'm talk ing about 47 58 now .

22 A.        I do not believe     so , no .

23 Q.        So the reference     toward      the bottom , where Larry

24 Nunn says , do I still need -- do I still need her to

25 fill it in , that is not a reference            to Ms. Ali , is it ?




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1 A.         I don't believe     so .

2 Q.         In this conversation , Ms. Martin           and Mr. Nunn

3 are talk ing about get ting time sheet s from Office Depot

4 or Staple s; correct ?

5 A.         Correct .

6 Q.         They're     not talk ing about letterhead       and they're

7 not talk ing about fax machine s.

8 A.         No , they are not .

9 Q.         And Mr. Nunn says he is going to bounce            -- I' ll

10 be right out there and get them , which mean s in your

11 opinion     that he will run over to Home Depot -- Office

12 depot or Staple s and get some time sheet s; correct ?

13 A.        Yes .

14 Q.        And then he says , do I still need her to fill it

15 in?   He 's refer ring to     someone     other than Ms. Ali ;

16 correct ?

17 A.        Again , I believe     so .     I do not know who he 's

18 referring     to .

19 Q.        Then turn , please , to A1407 , which is Page 406 .

20 Same day .     We are now at 9:22 -- 7:22 in the evening ;

21 correct ?

22 A.        Correct .

23 Q.        Again , it 's between        Ms. Martin   and Mr. Nunn .

24 A.        Yes .

25 Q.        Correct ?




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 1 A.       Yes , it is .

 2 Q.       Ms. Martin      agree s that he got the time sheet s;

 3 correct ?

 4 A.       Where are you reading       from ?

 5 Q.       That 's in the middle      of the page .

 6 A.       On 406 ?

 7 Q.       406 , the third line down .

 8 A.       Yes .

 9 Q.       Says, yeah, I've go them.        Matter of fact, they

10 doin' them now.     That's not a reference to Ms. Ali, is

11 it?

12 A.       No , I do not believe      that .

13 Q.       Then Ms. Martin      mentions,      okay , they have them .

14 And then Mr. Nunn says, yeah , they , they -- again,

15 we're not talking about Ms. Ali, are we            ?

16 A.       I do not   believe    he 's talk ing about     Ms . Ali in

17 that reference , no .

18 Q.       Again , Ms. Martin     says , Okay .

19          Now , look now whenever      they first name      and you

20 do stutter s, she does fax me over to my number             and then

21 she explain s how the fax machine          is on because    she left

22 it on when -- she left it        on when she left her house ;

23 correct ?

24 A.       Yes .

25 Q.       Again , they're     not refer ring to     Ms. Ali fax ing




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1 anything      over , are they ?

2 A.         I don't know    who the she is she 's referring          to

3 but she 's not referring          to Ms. Ali fax ing this .      It 's

4 referring      to Ms. Mr. Nunn faxing      the time sheet s over

5 the Ms. Martin .

6 Q.         There 's another   call , same day at call B4786 at

7 408 , Page 408 and that 's at 9:33 .

8 A.         Yes .

9 Q.         This call really       is -- does n't fit into the flow

10 about the fax machine s and so forth.          This    is a call

11 about Ms . Martin     complaining     about someone    name d

12 Estelle   giving   her number      to somebody .

13 A.        I don't think    that 's an accurate     statement , no .

14 Q.        Yo u do think it does fit into the flow about the

15 fax machine ?

16 A.        I think it fits into       the flow of the series        of

17 conversation s, yes .

18 Q.        Well , there 's no mention      of fax machine s, letter

19 heads or such in this conversation , are there ?

20 A.        There is the whole series        of call s is not just

21 about the fax machine .

22 Q.        But my question    was in this call there is no

23 mention   of letterhead , fax machine s or similar           thing s,

24 is there ?

25 A.        That question    is in accurate .    I would agree with




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 1 that .   In your previous     statement , whether      it fit s with

 2 the flow of call s is with the one I had a problem              with .

 3 Q.       This is a call in which Ms. Martin           is , for lack

 4 of a better      term , vent ing about Estelle ; correct ?

 5 A.       I would agree with that assessment , yes .

 6 Q.       She is not happy with Estelle         and call ed up her

 7 friend   Ms. Ali to vent about Estelle ; correct ?

 8 A.       And I would agree with that and provide

 9 information      to Ms. Ali , too , yes .

10 Q.       That 's your opinion .

11 A.       Well she does provide       a lot of information .

12 Q.       She does ?

13 A.       That 's a fact , I think .

14 Q.       Now if we turn to Page 413 , call B48 04, it 's now

15 11 :11 p.m. the same day ; correct ?

16 A.       That 's correct .

17 Q.       And Ms. Martin      is back on the phone with Mr.

18 Nunn ; correct ?

19 A.       Yes .

20 Q.       And it appear s that what they're         talk ing about

21 is whether    or not the fax that Ms. - -- that Mr. Nunn

22 sent got through      to Ms. Martin ; correct ?

23 A.       Yes .

24 Q.       She asks , she 's ready to --

25 A.       I'm sorry?




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 1 Q.         She state s, "I'm get ting ready to go check on it

 2 right now ;" right ?

 3 A.         Yes .

 4 Q.         Are you aware of any phone calls between              Ms.

 5 Mart in and -- excuse        me a second .     May I consult       with

 6 Mr. Montemarano ?

 7            Do you remember     any conversation s -- I apologize

 8 I may have        the name wrong between      Ms. Martin    and Gill

 9 Williams     in which Mr. Williams        is asking   Ms. Martin       to

10 send him something        on her letterhead ?

11            MS. JOHNSTON:      Objection .

12            MR. MCKNETT :     I asked him if he all recall ed a

13 conversation , Your Honor .

14            THE COURT:      Over ruled .

15            THE WITNESS:      Okay .   Could you give me the

16 Question     one more time ?     I want to make sure I'm

17 accurate .

18            BY MR. MCKNETT :

19 Q.         I may have    the name wrong .

20 A.         No .    I know Gill Williams , yes .

21 Q.         I may be talk ing about Spencer        Boyer.     I

22 apologize .        I'm not sure , but do you remember        any

23 conversation s between        Ms. Martin     and either    one of

24 those two gentlemen        in which that gentleman         asks Ms.

25 Martin   to send him something        on her letterhead .




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 1           MS. JOHNSTON:      Objection .

 2           May we approach     the bench , please ?

 3           THE COURT:      You may .

 4                   (At the bar of the Court.)

 5           MS. JOHNSTON:      Again , we have this problem          with

 6 him asking     him a question       to recall .    Do you recall        a

 7 conversation     that is not in evidence          that contain s

 8 hearsay    statement s?     It 's being introduced      only for the

 9 truth of whatever       is in that statement        at this point ,

10 so I'm going to object .           I would ask the court to give

11 -- if the court is going           to allow this question    to give

12 some kind of instruction           to the jury that the -- that

13 what he 's asking      him to recall     is not in evidence

14 before    this jury and that they should n't consider              it

15 for the truth of what's        contain ed in that statement .

16           MR. MCKNETT :     First of all , I just asked him if

17 he remembered     the conversation .       The instruction     is

18 fine .

19           THE COURT:      Is the    conversation    that you're

20 asking    him about , one that 's been play ed ?

21           MR. MCKNETT :     No , it has n't .

22           THE COURT:      It has n't ?

23           MR. MONTEMARANO :        It will be .

24           MS. JOHNSTON:      I don't know       that it will be

25 play ed because    it 's hearsay      and it would n't be




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 1 admissible     hearsay , but we'll cross that bridge             when we

 2 get to it .

 3            THE COURT:      What is the basis for asking          him a

 4 question     about a call that has not been play ed ?

 5            MR. MCKNETT :     This provides     an alternative

 6 explanation     for the conversations         between   Ms. Martin

 7 and Ms. Ali .     There is a conversation         between    Mr.

 8 Martin     and Ms. Martin    and -- I apologize .        It 's either

 9 Mr. Williams     or Mr. Boye r, S pencer       in which he

10 specifically     -- they talk about date s, and he asks her

11 to send him something        on her letterhead .

12            THE COURT:      Do you have this specific

13 conversation     you're    talk ing about ?

14            MR. MCKNETT :     I do .

15            THE COURT:      Is it transcribe d?

16            MR. MCKNETT :     It 's being transcribe d.

17            It 's in the log , Your Honor .

18            THE COURT:      It 's hard for me to rule in a

19 vacuum .

20            MR. MCKNETT :     If I could   finish .      Well , let me

21 just paint the picture         here .   In t he next conversation ,

22 Ms. Martin     call s Ms. Ali and asks her to prepare              a

23 letterhead .

24            THE COURT:      Let me ask Ms. Johnston        this

25 question .     I recognize     what your objection       is , but if I




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 1 understand    t correct ly , Sergeant     Sakala    has testifi ed

 2 and given opinion s based upon his re view of all of the

 3 record ings , certain     of which have been select ed and

 4 play ed by the government .       I understand      Mr. McKnett   is

 5 -- he want s to question      about some other conversation s

 6 which he has listened       to and which he has considered           in

 7 form ing the opinion s he's given and want s to ask him

 8 about whether     he had considered     them in form ing these

 9 opinion s.

10           MS. JOHNSTON:     The problem    is , that 's not what

11 counsel   has proffered     to the court .     They 've proffered

12 they want to intro duce an alternative          interpretation

13 for the recordings , which is something            they can do in

14 their case in case chief .

15           In term s of Agent Sakala .      He testifi ed about

16 the mean ings of the conversation s in this courtroom .

17 He testifi ed he listened       to all the conversation s.        He

18 did not testify     that all the other conversations          serve d

19 as a bas is for his opinion .        He testifi ed that the

20 conversation s he play ed here in court , as well as

21 surveillance , as well as document s that he 's re view ed

22 serve as the basis for his opinion .

23           Many time s I asked him , "W hat was the bas is of

24 your opinion ?"     And that was the basis he gave , because

25 otherwise    it would have been object ed to if it was




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 1 based on something       that was n't introduced     in evidence .

 2 But here what counsel        is try ing to do is introduce

 3 sub stantive   evidence     of their theory    to refute    Agent

 4 Sakala 's testimony , and they need to do that in their

 5 case .

 6           THE COURT:     The transcript    will be the guide , I

 7 suppose .    It is opinion     testimony , an opinion      based

 8 upon his re view of all of the record ings and that by

 9 taking    into account     all of the record ings he 's able to

10 form an opinion     based on select ive record ings; is         that

11 right ?

12           MR. MONTEMARANO :     Which is   exact ly the way he

13 respond ed to Mr. McKnett , Your Honor .

14           THE COURT:     If he has reach ed an opinion       on

15 something    in select ive record ings that haven't         been

16 place d in evidence      which is X and Mr. McKnett        wish es to

17 cross -examine    him with regard     to some other

18 conversation s that have not been play ed , that would

19 under mine his opinion       that it was X, which is       that not

20 --

21           MS. JOHNSTON:      He can certain ly cross -examine

22 this witness     about whether    or not   another   conversation

23 affect ed or changed       his opinion   or if he took it into

24 account , but they can't get into the substance             of that

25 conversation     through    this witness   which is what they're




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 1 do ing -- W ell , do you remember      this conversation          about

 2 X, Y and Z being offered ? -- so that the jury hear s

 3 what that conversation        was about , which is not

 4 admissible     for --

 5           THE COURT:      Why would it not be admissible            for

 6 the purpose     of challengi ng the strength        of his

 7 opinion s?

 8           MS. JOHNSTON:      They can question       him about

 9 whether   or not he considered       it and whether        or not it

10 affect ed his opinion .

11           THE COURT:      Why can't he ask him , isn't it a

12 fact that in conversation        101 that the witness           state d X

13 in that conversation , which is        in consistent       with your

14 opinion   that you 've just given?

15           MS. JOHNSTON:      I don't have      a problem    with that .

16 My problem     is that they can't introduce         the

17 conversation     as evidence , because        it 's hearsay .

18           THE COURT:      They can use the content         of the

19 conversation     to cross -examine    him .

20           MS. JOHNSTON:      To cross -exam ine the       witness

21 about with whether      or not that form ed his opinion .            Of

22 course , what he 's do ing is he 's summarizi ng something

23 that 's not in evidence       here , and the witness        is say ing

24 --

25           THE COURT:      First of all , I'm as sum ing as an




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 1 officer     of the court you are not going to provide             an

 2 in accurate     summary   of the conversation .

 3           MR. MCKNETT :      I'm quoting     direct ly from the

 4 wiretap .

 5           THE COURT:      In other words , I don't want you to

 6 read the whole conversation           into the record       or play it

 7 at this time , but I certain ly think you can ask him

 8 about the      fact during    conversation    101 , witness     X said

 9 Y about Z, and isn't that in consistent            with the opinion

10 you 've given here today ?

11           MR. MCKNETT :      That 's what I'm    do ing .

12           THE COURT:      To that ex tent , the objection        is

13 over ruled .

14           MS. JOHNSTON:       The problem     with it is is he --

15 if he 's vote quoting        verbatim from    the wiretap , Agent

16 Sakala    has already     said there may have      been

17 in accuraci es .    These were draft s.       They went back over

18 these conversation s and determine d which ones were

19 pertinent      and not pertinent .

20           THE COURT:      My ruling    does not permit       him to go

21 reading     the whole thing into the record , which he can .

22 What you can do is        if the witness     in a conversation

23 said something      that you believe , as counsel           for your

24 client , is in consistent , the opinion          that he 's offered

25 under mine s the opinion       you may inquire     to that ex tent .




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 1           MR. MCKNETT :     I can proffer     Your Honor where I'm

 2 going with this right now .        The q uestion       I asked was ,

 3 do you remember     a conversation       between   Ms. Martin      and

 4 I've now recollected,        with the help of      counsel , it was

 5 Gill Williams , in which Mr. Williams          and Ms. Martin

 6 discuss ed certain     date s and Mr. Williams         asked Ms.

 7 Martin    to send him something      on her letterhead .

 8           She then call ed in the next call , and the next

 9 one or two call s she then call ed Ms. Ali and asked her

10 to prepare    a letterhead .     It had nothing        to do with

11 drug s.    I'm going to ask him if he remembered            those

12 conversation s and if they --

13           THE COURT:      You may do that .

14           MR. MCKNETT :     If those conversation s occurred ,

15 would that change      his opinion      in any way ?

16           THE COURT:      He may say no , but you ma y inquire .

17                        (B ack in open court .)

18           MS. JOHNSTON:      Your H onor , the government 's

19 objection    is withdrawn .

20           THE COURT:      Thank you .

21           BY MR. MCKNETT :

22 Q.        Detective , I think my last question           was to the

23 effect    do you remember     a telephone    conversation     between

24 Ms. Martin    and my recollection        has now been refreshed

25 it was Gill Williams       -- G ilbert    Williams     in which Ms.




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 1 Martin   and Mr. Williams       discussed     certain   date s

 2 pertain ing to show s and Mr. Williams           asked Ms. Martin

 3 to send him something       on her letterhead ?

 4 A.       I do not recall       that specific      conversation , no .

 5 Q.       Is there something       that would refresh          your

 6 recollection , perhaps      the wiretap       log s?

 7 A.       I could look at the log s if you had a specific

 8 call in mind and see if it does .

 9          MR. MCKNETT :     Again , Your Honor , I apologize .

10 May I retrieve     the log ?

11          THE COURT:      You may .

12          MR. MCKNETT :     May I approach , Your Honor ?

13          THE COURT:      You may .

14          BY M R. MCKNETT :

15 Q.       Are you finish ed with the book ?

16 A.       Yes , I am .

17 Q.       Thank you .

18 A.       The log s do not refresh         my recollection        but they

19 do reflect    what you're      asking .

20 Q.       That Mr. Williams       asked Ms. Martin          to send him

21 something    on her letterhead ; correct ?

22 A.       That is what the summary           says , yes .

23 Q.       And the very next call is one in which Ms.

24 Martin   call ed Ms. Ali and asked Ms. Ali to prepare                a

25 letterhead ; correct ?




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 1 A.        Actually,    I'd have to look at the log s again .            I

 2 didn't    look at the next call .

 3           MR. MCKNETT :     May I approach    again , Your Honor ?

 4           THE COURT:      You may .

 5           BY MR. MCKNETT :

 6 Q.        Just hang onto that for a second .

 7 A.        Yes .   That is the next call .

 8 Q.        The next call is one in which Ms. Martin            call s

 9 Ms. Ali and asks to have Ms. Ali prepare              letterhead   for

10 her ; correct ?

11 A.        That 's what the summary      says , yes .

12 Q.        And then later on there were a couple            of other

13 call s in which Ms. Ali and Ms. Martin           discuss   what

14 address    to put on the letterhead ; correct ?

15 A.        The log s reflect     one additional    call .

16 Q.        The address     the log s reflect   that the address         on

17 the letterhead      would be the address      for ?

18 A.        South Dakota A venue .

19 Q.        Paula's   School of    Performing   Arts ; correct ?

20 A.        Yes .

21 Q.        There are no call s, are there , between          Mr. Nunn

22 and Ms. Ali in the log s and to the best of your

23 recollection .

24 A.        To the best of my recollection , I believe           there

25 were no call s intercept ed between        Ms. Ali and Mr. Nunn .




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 1 I believe     that 's accurate .

 2           MR. MCKNETT :     May I retrieve     the book , Your

 3 Honor ?

 4           THE COURT:      You may .

 5           BY MR. MCKNETT :

 6 Q.        Are you finish ed with that ?

 7 A.        Oh , you tell me .

 8 Q.        So far .

 9           Sergeant , let 's turn to call B5116 , which is on

10 Page 438 , and that 's on May 1st .

11 A.        I'm sorry , what page number ?

12 Q.        438 .

13 A.        438 ?

14 Q.        Yes .

15 A.        All right .

16 Q.        Do you have that there ?

17 A.        Yes .

18 Q.        This is a call between         Ms. Do bie and Ms. Martin ;

19 correct ?

20 A.        Yes , it is .

21 Q.        There 's a reference        to "LaNora " in the middle       of

22 that page .       Do you see that ?

23           "LaNora    was carry ing on so , Honey ."

24           Do you see that ?

25 A.        Yes .




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 1 Q.        Are you -- did you see any or do you remember

 2 any call s between      Ms. Martin     and Ms. Ali in which Ms.

 3 Ali was carry ing on by I take to mean and I'll ask your

 4 opinion     complain ing , criticizi ng ,

 5 A.        I'm in the      sure what she mean s there without

 6 hear ing the call again I don't know            if what she mean s

 7 when she says LaNora        is carry ing on .

 8 Q.        Well , this I believe        is in your opinion    and this

 9 was a call between        Ms. Dobie and     Ms. Martin    about

10 drug s; correct ?

11 A.        Yes , it is .

12 Q.        And this is , I believe , during        the time when it

13 was your opinion       that there was a shortage         of drug s;

14 correct ?

15 A.        Ms. Martin      was having    a hard time get ting drug s,

16 yes .

17 Q.        It would appear      that in this conversation

18 as suming    your opinion    is correct     that Ms. Martin       was

19 tell ing Ms. Dobie      that Ms. Ali was upset about

20 something ; correct ?

21 A.        I didn't   say that .    She could have been .

22 Q.        Would that with be your opinion ?

23 A.        No I didn't      offer that opinion .

24 Q.        So you don't have any id ea what Ms. Martin              was

25 referring     to , do you about Ms. Ali carry ing on so ?




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 1 A.        No , I don't think    I offered    any opinion    about

 2 LaNora    in that conversation .

 3 Q.        Do you have an opinion ?

 4 A.        No , I do not .   That 's what I    said .   Without

 5 hearing    the call and listening      to the whether or not he

 6 will call , I don't know .

 7 Q.        You're    not aware of any call s in which Ms. Ali

 8 was carry ing on with Ms. Martin ?

 9 A.        Again , that would depend      on what she mean s by

10 "carry ing on ."      I'm sure there could have been call s.

11 If you mean       "carry ing on," she went on and on about

12 something .       I'm sure there could have been .

13 Q.        Okay .    But you don't know what she 's talk ing

14 about ?

15 A.        I do not .

16 Q.        Would you turn to Page 497 , please , Call B6306 .

17           Do you see that there ?

18 A.        Yes , I do .

19 Q.        That 's on May 11 ; correct ?

20 A.        Yes .

21 Q.        Again , it 's between    Ms. Ali and Ms. Martin        and

22 you said toward       the bottom   of the page about two-thirds

23 of the way down , Ms. Ali where Ms. Ali says I'm going

24 to come by , see you this evening , you in your opinion

25 Ms. Ali was tell ing Ms. Martin        that she was -- she




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1 want ed to come by to get drug s.

2 A.          Yes .

3 Q.          Now , the fact is all Ms. Ali said was , I'm going

4 to come by to see you this evening ?

5 A.          She says other thing s but .

6 Q.          That 's all she said there , correct ?

7 A.          In that one sentence       that is what she said .

8 Q.          And then later on she says , toward        about

9 two-thirds      of the way down the next page , Ms. Ali says ,

10 all right .        Well one this time .    What have you got good

11 over there ?        You still bring ing clothe s; correct ?

12 A.         That 's correct .

13 Q.         And it 's your opinion      that if you take that

14 first sentence        I'm going to come by see you this

15 evening    and combine     it with , all right   well one this

16 time , that mean s that Ms. Ali was tell ing Ms. Martin

17 that she want ed to come over that evening            to pick up a

18 quantity     of drug s.

19 A.         That is correct .

20 Q.         There 's nothing     else in this conversation      in

21 your opinion        relating   to drug s; correct ?

22 A.         That 's correct .

23 Q.         And when in that very same sentence         Ms. Ali

24 continue s to talk about what you got good over there ?

25 You still bring ing clothe s?         That was not drug -related .




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 1 A.       That has nothing      to do with the first part of

 2 her statement , no .

 3 Q.       And that she was talk ing about Kevin,           who is

 4 what , Kevin Scott ?     It 's on the bottom     of Page 498 ?

 5 A.       Yeah I'm just look ing at the previous           page .   The

 6 Kevin that Ms. Martin       refer s to on page 49 8 would be

 7 Kevin Scott , yes .

 8 Q.       He 's the person    who was sell ing clothe s;

 9 correct ?

10 A.       He bring s clothe s -- brought       clothe s to Ms.

11 Martin , yes .

12 Q.       For Ms. Martin     to sell ?

13 A.       Yes .

14 Q.       If would turn to page --

15          THE COURT:      Mr. McKnett , how much     more do you

16 have with this witness ?

17          MR. MCKNETT :     I would say ten to 15 minute s.

18          THE COURT:      All right .    Let 's take a morn ing

19 recess   then .   We will re cess until a quart er of 12 .

20                        (Jury excused at 11:     26 a.m.)

21                        (Off the record     at 11 :26 a.m. )

22                        (On the record at 11:47 a.m.)

23          THE COURT:      You may be seat ed .     Bring them in ,

24 Bea .

25                   (Jury returns at 11:48 a.m.)




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 1            THE COURT:     You may proceed .

 2            BY MR. MCKNETT :

 3 Q.         Sergeant , let 's turn to Page 525 .       It 's call

 4 A167 0.    It took place on May 16 , '04, at about 5:50 .

 5            Do you have that there ?

 6 A.         Yes , I do .

 7 Q.         This is a call in which Ms. Martin         call s Ms. Ali

 8 and tell s Ms. Ali that she want s Ms. Ali to leave her

 9 husband    home and come take me to the school .          I got to

10 take something        there and Ms. Ali says , uh-huh .      Then

11 the conversation        continue s, and I'll come to that a

12 moment .

13            That 's what it says ; correct ?

14 A.         That is what it said , yes .

15 Q.         And then Ms. Martin     says , I got to work on

16 something .        Then -- I've got to work on something .          And

17 then Ms. Ali says , okay .       Ms. Martin    then says then I'm

18 going past your house and take something ; correct ?

19 A.         That 's what she says , yes .

20 Q.         It appear s that what Ms. Martin       is say ing is , I

21 got to work at something        at her house which is where

22 she 's call ing from ; correct ?

23            It 's a two -part question .    Ms. Martin     is at her

24 house at the time this call take s place ; correct ?

25 A.         Yes .




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 1 Q.        And it appear s that she says -- when she says , I

 2 got to work on something , she 's say ing she 's got to

 3 work on something       at her house ; correct ?

 4 A.        I don't know     where she 's say ing she 's got to

 5 work on something       at her house .    That 's what she says ,

 6 yes .

 7 Q.        Well she says I got to work on something           then

 8 I'm going past your house ; correct ?

 9 A.        No .    I think what she 's say ing when you look at

10 the whole thing is I've got to take something             to the

11 studio    and then I'm going to take something          to your

12 house .    I don't think     she has to work on something         at

13 her house .       I don't think   that 's what she 's say ing .

14 Q.        Do you think she 's say ing she has to work on

15 something     at the studio ?

16 A.        I think she 's say ing she has to take something

17 to the studio , yes .

18 Q.        And work on it ?

19 A.        No .    What 's she 's say ing is she is taking

20 something     to the studio , yes .

21 Q.        What she says -- this 's your opinion         but what

22 she says is , I've got to take something           there which is

23 take something       to the studio;   right ?

24 A.        Yes .

25 Q.        And then she says , I've to work on something ;




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 1 right ?

 2 A.        Yes .

 3 Q.        And then she says , then I'm going past your

 4 house and take something ; correct ?

 5 A.        Yes .

 6 Q.        And then she tell s at the bottom        of that page

 7 tell s Ms. Ali when you comi ng in the front door just

 8 say Paula , you got those that we're gonna go show our

 9 girlfriends ; correct ?       That 's what she says ?

10 A.        Yes and again the problem       with the quotation s I

11 would not have -- she does n't say , "Paula , you got to

12 take those thing s.       I would take the quotation s out .

13 Q.        She 's tell ing Ms. Ali in effect       to lie to Ms.

14 Terrell ; correct ?

15 A.        That 's correct .

16 Q.        Ms. Martin    does n't tell Ms. Ali , I got to take

17 drug s to the studio,      does she ?

18 A.        She does not use the word drug s, no .

19 Q.        She does n't say anything      in this conversation

20 that would lead Ms. Ali to know what it was

21 specifically       that Ms. Martin   had to take to the studio,

22 does it ?    It just says "something ."

23 A.        Something .    And the only other thing she says

24 is, it 's very important .

25 Q.        Okay .    Take something   to the studio     and it 's




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 1 very important       that she take something       to the studio?

 2 A.         Yes .

 3 Q.         But she do esn't indicate        in any way in this

 4 conversation       what it is she 's talk ing about .

 5 A.         Not in this conversation , no .

 6 Q.         If I remember     correct ly , this is a period        of

 7 time when John Martin         was using Ms. Paula Martin 's

 8 vehicle     to get back and forth to work ; correct ?

 9 A.         On occasion     he would and on this particular

10 occasion     I believe     he did , yes .

11 Q.         That 's why Ms. Martin      couldn't    take something         to

12 the studio     without     Ms. Ali 's or somebody        else 's help ?

13 A.         Correct .   She did not have a vehicle .

14 Q.         Then in the next conversation          -- not the next

15 one .   Let 's see .     Let 's go to 16      -- yes .     It is the

16 next conversation        1674 , P age 528 .    This is a

17 conversation       between   Ms. Martin     and John Martin ;

18 correct ?

19 A.         Yes , it is .

20 Q.         And in this conversation         Ms. Martin     says to John

21 Martin , I'm going to move those ticket s and everything

22 to the school ; correct ?

23 A.         Yes .

24 Q.         That would indicate      that she 's moving        more than

25 just drug s to the school ; right ?




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 1 A.        Yeah , she is moving         more than just drug s.

 2 Q.        Now if I remember      correct ly , when the studio      was

 3 search ed -- that was, what , June 1st ?

 4 A.        Yes , it was .

 5 Q.        Drug s were found in the studio ; correct ?

 6 A.        A lot of drug s, yes .

 7 Q.        May I consult      for a second ?

 8 A.        Yes .

 9 Q.        And it was I guess depend ing on your opinion            you

10 could de scribe    it as less than a kilogram         total ?

11 A.        I don't know      the exact weight     but it could have

12 been .    It could have been over a kilo .          I'd have to

13 look at the drug report .

14 Q.        Didn't   you testify     the grand jury that it was

15 less than a kilo ?

16 A.        I may have     if you have my testimony      that might

17 refresh    my recollection .

18 Q.        Thank you .

19           May I do that , Your Honor ?

20           THE COURT:       Yes , you may .

21           MR. MCKNETT :      May approach     the witness , Your

22 Honor ?

23           THE COURT:       You may .

24           BY MR. MCKNETT :

25 Q.        Detective , I'm show ing you what appear s to be a




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 1 transcript       of testimony    on February   1st of this year

 2 and I'll direct       your attention     to Page 54 .

 3           MS. JOHNSTON:         Counsel , what page was that ?

 4           BY MR. MCKNETT :

 5 Q.        54 .

 6           Does that refresh        your recollection ?

 7 A.        Yes , I did say -- as to what I said , yes .

 8 Q.        So earlier    this year you testifi ed to the grand

 9 jury that it was how much ?

10 A.        I think I say in there either          a half a kilo or

11 quarter    kilo of cocaine , or maybe in between            --

12 somewhere    in between .

13 Q.        So in between     a quarter     and a half .

14 A.        I think that 's what I testifi ed to there , yes .

15 Q.        Do you want to look at it again ?           I don't want

16 to mis state your testimony .

17 A.        No , I do not .

18 Q.        So it would be a quarter         and a wit was between       a

19 quarter    and a half kilogram        of cocaine ?

20 A.        Yes .

21 Q.        And a kilogram        is brick -shape d?   You said the

22 other day it was --

23 A.        A kilogram    is 1,000 grams .       A kilogram    can be

24 brick -shape d.      It could also be any shape you want .

25 Q.        Just for descriptive        purpose s, if it had been in




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1 the brick shape it would be literal ly in the shape of a

2 brick ?

3 A.        That is correct .

4 Q.        And a half of a brick would be literal ly half

5 that size , which would -- a brick is about six inches ?

6 Eight inches ?

7 A.        I testifi ed before        it could be any size or

8 shape , but it 's going to equal 1, 000 grams .

9 Q.        I understand      that .    But just for de scri ptive

10 purpose s, I don't want to say it was in that shape at

11 the studio   because     it may or may not have been .       But if

12 it had been in the shape of brick then a brick is about

13 six inches   long ?

14 A.       Again brick s come in all shape s and size s, and

15 just because      one brick is six inches , another      one could

16 be ten inches .       It could be an inch thick or it could

17 be three inches       thick .   "Brick " is a generic   term .       It

18 does not refer to a specific          size or shape .

19 Q.       Let 's talk in term s of a build ing brick .          The

20 brick s that people      use to build house s.

21 A.       Okay .

22 Q.       That 's the brick about six inches         long ; correct ?

23 A.       I would guess .        Six or eight inches , yeah .

24 Q.       Okay .    Maybe two inches      thick ?

25 A.       Two or three , yes .




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 1 Q.       And about three inches       wide .

 2 A.       Sounds   about a good approximation , yes .

 3 Q.       If cocaine    -- if a kilogram        of cocaine   was

 4 shape d -- was package d in that shape , that 's about the

 5 size a kilogram     of cocaine    would be ; correct ?

 6 A.       It can be , yes .

 7 Q.       So a half of a brick would about three and a

 8 half , four inches     by 12 , and two and      a half by three ?

 9 A.       It can be , yes .

10 Q.       And quarter    of a key would be half of that

11 again ; correct ?

12 A.       Yes .

13 Q.       So it 's a relative ly small package ; correct ?

14 A.       It can be , yes .

15 Q.       It can be .

16          We saw a video of Ms. Ali and Ms. Martin

17 carry ing package s out of her house this day , correct ,

18 the afternoon     of May 16 ?

19 A.       Yes .

20 Q.       And they were carry ing several          bag s; correct ?

21 A.       That is correct .

22 Q.       Shop ping bag s.    Department    store bag s.

23 A.       Yes , they appear ed to be .

24 Q.       How many -- could you see mow each of them had ?

25 A.       It look ed at least     like at least      two.    It could




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 1 have been three .       I think we 've tr ied to      put it on

 2 freeze   frame and try ing to , you know , identify          specific

 3 bag s and all we can say is they appear             to be similar     to

 4 shop ping wag bag s with         handle s.

 5 Q.         And each person       -- Ms. Martin     and Ms. Ali -- had

 6 at least     two bag s in each hand ?

 7 A.         It appear ed to be .

 8 Q.         And there    could have been more .

 9 A.         It could have been more .          They could have only

10 had one bag, too.       They were carrying bags.

11 Q.         Somewhere    from in those bag s, whether       it was two

12 bag s or four bag s or six bag s, that each of them

13 carri ed , somewhere      in those bag s was a quarter       key of

14 cocaine .

15 A.         The exact amount       I don't know , but the cocaine

16 was among other thing s were in those bag s, yes .

17 Q.         Okay .    So either    a quarter    -- maybe up a to

18 half .

19 A.         Again , it was n't one brick found at the studio

20 it was many , many different          package s.    So , the amount

21 is correct     but it 's not a brick .

22 Q.         Well the search       was several    day s later ; right ?

23 A.         The search    was on June first .

24 Q.         So that 's -- this incident         took place on May 16 .

25 A.         Yes .    But if you're    saying    the same drug s that




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 1 were re cover ed in the school , the quart er to half kilo

 2 that they were not in brick form they were in numerous

 3 maybe a hundred          different    package s I can't remember        how

 4 many different       package s but they were not in a brick

 5 form if you're       saying    the same drug s were move d.

 6 Q.       When they were recovered,            they had been broken

 7 down and re package d into different            package s?

 8 A.       They were broken            down and package d in different

 9 size s, yes .

10 Q.       You have no idea what shape they were in on May

11 16 , do you ?

12 A.       No .     No .

13 Q.       So it could have been just a quarter ?

14 A.       It could have been ten kilo s I don't know               how

15 much was in the bag that they move today the school                     on

16 that day .

17 Q.       But you testifi ed that it was between              a quarter

18 and a half a kilogram ; correct ?

19 A.       I did not .        I testifi ed that the drug s re covered

20 at the school       were between       a quarter   and a half kilo .

21 I did not testify          as to how much     was move d by Ms.

22 Martin   and Ms. Ali on that day .

23 Q.       Okay .     Then on to call -- there 's an

24 intermediate       call in which number        B6863 -- let me just

25 interrupt    that.       S trike that for a second .




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 1            The call I referred        to , A167 0, was one of a

 2 series     of call s that afternoon ; correct ?

 3 A.         167 0     Yes .    It began a series .

 4 Q.         And it went from A167 0, 1674 , 167 5 and so forth ;

 5 correct ?

 6 A.         Yes .

 7 Q.         B6863 .     I'll take them in sequence.         The next

 8 call in sequence         was 68 63, and that was just a short

 9 call in which basically            Ms. Martin   get s a call from

10 John Martin        that says , I'll call you back .

11 A.         Yes .

12 Q.         Then the next substantive         call is the same day

13 and it 's a minute           later after the call from John

14 Martin .     Again , it 's John Martin      call ing, and that 's

15 the one where Ms. Martin            tell s Mr. Martin    that she 's

16 moving     those ticket s and everything         to the school    and

17 as you just testifi ed there was more than just drug s

18 being move d to the school ?

19 A.         There was a lot of assorted          paraphernalia , yes .

20 Q.         Well , paraphernalia       is a kind of dangerous       term .

21 A.         Packaging, scales, drug containers.          Things

22 associated with the drug trade were              re covered   at the

23 school .     Again , the exact make up of the package s that

24 were move d on that day I can't say .             I can only say

25 what 's re cover ed in the school .




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 1 Q.         So we're talk ing about two different         incident s

 2 on May 16 .     Ms. Martin     told John Martin    she was taking

 3 the ticket s and everything ?

 4 A.         She was moving      the -- my opinion   is she was

 5 tell ing him she was moving         the drug operation     to the

 6 school .

 7 Q.         On June 1st, what you would de scribe , I believe ,

 8 as the     drug operation     was re covered ; correct ?

 9 A.         That 's correct .

10 Q.         You don't know what was in those bag s on May 16 ,

11 do you ?

12 A.         I don't know     the exact make up of the bag s, no .

13 Q.         Were there clothe s found tat school ?

14 A.         I don't know .

15 Q.         So you don't know exact ly what was in those bag ,

16 do you ?

17 A.         I do not know the exact composition         of the bag s.

18 My opinion     is that the bag s contain ed drug s and

19 assorted     para phernalia    and that similar    things we re

20 covered     at the school     that seem to match what was on

21 the video contain ed such item s.

22 Q.         The bag s themselves     were department    store bag ,

23 shop ping bag s, and goodi es .

24 A.         Similar   size and shape .

25 Q.         Lord and tailor      that kind of stuff , right ?




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 1 A.       That 's correct .

 2 Q.       They had the store 's name s on the size of them ,

 3 some of the bag s?

 4 A.       They may have .     I'd have to look at the bag s.

 5 Q.       You don't know that Ms. Ali knew what was in

 6 those bags , do you ?

 7 A.       I h ave an opinion , but there is no conversation s

 8 intercept ed where Ms. Ali identifies          the content s of

 9 the bag s.

10 Q.       So you don't know that she knew what was in the

11 bag s, do you ?

12 A.       Again , I have    an opinion .    But based on the

13 conversation s I cannot      say that , no .

14 Q.       So you don't know that she knew what was in the

15 bag s.

16 A.       Again , in my opinion      is I'm firm ly confident

17 that she knew what was in the bag s based on entire

18 case .   In these series     of conversation s Ms. Martin

19 never tell s her the content s of the bag s if that 's as

20 clear as I can be .

21 Q.       Well she does n't tell her the content s of the

22 bag in any conversation .

23 A.       No , I would dis agree with that .        In the

24 conversation s with     John Martin    I think she clear ly

25 identifi es the content s as being drug s.          She does not




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 1 say specifically        other than moving    everything    she

 2 does n't say specifically       I'm moving    this scale I'm

 3 moving   this package      I'm moving   this amount    of drug s.

 4 There is no conversation        in which Ms. Martin       tell s Ms.

 5 Ali what's        in the bag bag s.

 6 A.         I would agree with that .      That 's what I've said .

 7 Q.         In that same conversation      -- is it 1674 ?        In

 8 A167 4 they talk        about a Mr. Scott -- Kevin bring ing

 9 clothe s to her house ; correct ?

10 A.         Yes .

11 Q.         And that raisi ng concerns     amongst   the neighbor s

12 apparent ly ; correct ?

13 A.         That is what Ms. Martin      says , how she

14 character ize s it .

15 Q.         And she says that they see lot of box es comi ng

16 here and clothe s but those thing s of Kev in 's is legit ;

17 correct ?

18 A.         Yes .

19 Q.         And the package s that we saw on the tape that

20 Ms. Ali and Ms. Martin        were carry ing out were clothi ng

21 store package s, weren't       they ?

22 A.         No .    Oh , well I'm sorry yes they were package s

23 shop ping bag package s.       Again I'd have to look at the

24 specific     bag to see if they were clothi ng store bag s.

25 Q.         I want to talk to you about the next call which




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 1 would be A167 5, Page 531 .       This a conversation        between

 2 Mr.   John Martin     and Ms. Martin ; correct ?

 3 A.        Yes , it is .

 4 Q.        And it 's at 18 :47 , that same evening , May 16 ;

 5 correct ?

 6 A.        Yes .

 7 Q.        Just to put this in context         the first call

 8 between     Ms. Martin    and Ms. Ali was at 5:50 on the

 9 sixteenth ; correct ?

10 A.        First call was at 5:50 , yes .

11 Q.        Then the short very short call between           Mr.

12 Martin    and Ms. Martin     was at 5:59 .     The next call

13 between     Mr. Martin    and Ms. Martin     was at 6 o'clock , and

14 then the next call A16 75 was at 6:47 that same evening ;

15 correct ?

16 A.        Yes .

17 Q.        You testifi ed , I believe,      that this is a call

18 between     Mr. Martin    and Ms. Mart Martin     and it took

19 place when Ms. Martin        was in Ms. Ali 's vehicle ;

20 correct ?

21 A.        I don't know     I said the vehicle .     I may have .

22 She 's with LaNora       Ali just based on what she's say ing

23 there .

24 Q.        I thought   you said Ms. Martin       was riding    with

25 Ms. Ali from the school .




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 1 A.         I could have .     I think I also said I don't know

 2 exact ly where they were at when this conversation                  took

 3 place .

 4 Q.         Okay .     Just want ed to clarify     one thing .       Later

 5 in this conversation , page 0532 Ms. Martin               says , I'm

 6 get ting ready to get on the elevator             and then Mr.

 7 Martin    says okay I heard the buzz they that would

 8 indicate     they were just get ting into the studio , isn't

 9 it ?

10 A.         No .     This is after -- there is no elevator

11 associate d with the studio .             this would have been

12 sometime     after .    Whether   they were still in the car or

13 I don't even know if Ms. Ali has an elevator                in her

14 apartment     build ing .

15 Q.         Okay .     There was surveillance      at Hayward    on the

16 16th of May , was n't there ?

17 A.         I do not believe       so , no .   I'd have to look at

18 the surveillance        log but not regard ing this {e}

19 {c5e7b9} , no .

20 Q.         Was n't there a surveillance         that show ed Ms. Ali

21 arrivi ng at Ms. Martin 's house in her explorer               at

22 6:note {witz}        6:12 p.m , government      exhibit   -- it was a

23 video .

24 A.         Pole cam remarks       yes .

25 Q.         V 28 .




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 1 A.       Yes .

 2 Q.       That would show that she arrive d at 6:12 ;

 3 correct ?

 4 A.       That is whatever      time the video show s, yes .

 5 Q.       I believe    the video show s that she was seen

 6 carry ing bag s to the vehicle         at 6:15 .

 7 A.       That sounds     about right .      It was very -- she was

 8 in and out very quick ly .

 9 Q.       So that would indicate , would n't it , that Ms.

10 Ali didn't    package    anything     up , didn't    put anything        in

11 the bag s she just went in the house , Ms. Martin                 said

12 something    to the effect , this is the stuff I want to

13 move , Ms . Ali , and they helped        her carry it to the car ?

14 A.       I don't know     if it would indicate         that , but she

15 certain ly was not in the house very long where she

16 would be packaging       stuff up .

17 Q.       Now , let 's go to Page 563 .

18 A.       Page 563 ?

19 Q.       Yes .   That 's call B7224 .       I just want ed to refer

20 to this brief ly .      That 's on May 19 .        At the bottom     of

21 that , Ms. Martin     says to Ms. Ali , I don't even want to

22 stress   that issue with girlfriend         upstairs .      And "that

23 issue ," I believe , is the neighborhood             meet ing .    And

24 Ms. Martin    is again tell ing Ms. Ali , as she told other

25 people , about not really       want ing to get Ms. Terrell




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 1 involve d in any of her activities .

 2 A.        No , that 's not what she cease say ing .        My

 3 opinion   is what she's saying       is Ms. Ali is asking

 4 whether   there 's been any news with regard         to the

 5 neighbor , and what she 's tell ing -- Ms. Mart in is

 6 tell ing Ms. Ali is that she does n't want to bring it up

 7 with Jacqueline       Terrell   to draw attention    that she 's

 8 concerned    about that issue again .       So , I think that 's

 9 what she's say ing there .

10 Q.        Okay .    Again , she 's not talk ing to Ms. Terrell

11 about thing s she does n't want to.

12 A.        She does n't want to draw attention         that she 's

13 concerned    about the neighborhood       watch ing her

14 activities.        She does n't want to bring that to Ms .

15 Terrell 's attention .

16 Q.        Call B7259 , 0567 .     That 's at May 20 .     It 's about

17 1:10 in the afternoon , and Ms. Martin          is talk ing to Mr.

18 Goodwin ; correct ?

19 A.        That is correct .

20 Q.        In the middle    of that big block paragraph          there

21 she says , basically , that the only people          who are

22 comi ng to her -- she says , "ain't no traffic            really

23 been comi ng here no more for Kevin 's clothe s.            And then

24 she says , and my kids and LaNora         and Ulysses .

25           What she 's say ing there -- isn't it true she 's




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 1 tell ing Mr. Goodwin         that the only people      comi ng by her

 2 house are her family          and Ms. Ali and her husband ,

 3 Ulysses ?

 4 A.          She 's say ing there 's been no traffic       for Kevin 's

 5 clothe s, and the people         comi ng by were her kids ,

 6 LaNora , and Ulysses .         Yes , that 's what she 's say ing .

 7 Q.          So , her kids and her friends      are comi ng by the

 8 house .

 9 A.          She doesn't     say anything   about friends.        She

10 just says friends,          LaNora , and Ulysses.

11 Q.          Whom we 've establish ed are her friends ?

12 A.          They are     some of her friends , yes .

13 Q.          If you would turn now to P age 57 , call B7324 ,

14 which took place on May 21 , about 7:40 in the morn ing .

15             That was the first of a series          of call s;

16 correct ?

17 A.          Yes .    Do you have the number s?

18 Q.          B7346 , B7365 , B738 5, B7396 .

19 A.          Oh , yes .    Yes , it was .

20 Q.          Okay .    And there were two more .       B7406 , and

21 A18 20 .

22 Q.          The one I want ed to refer to -- a couple            of them

23 I want ed to refer to specifically           are B7365 , which is

24 on Page 57 7.        I want ed to clarify    something    on this

25 one .      This is a call in which Ms. Martin          is talk ing to




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 1 Mr. - -- Ms. Ali , and she says -- she 's talk ing about

 2 Ms. Martin    had to meet Goody over there at Brent wood .

 3 And then she says one of his friends            had to take a

 4 test .    That had nothing      to do with drug s, did it ?

 5 A.        Nothing   to do with drug s at all .       She was

 6 refer ring to     the test at MVA.

 7 Q.        Brent wood is where the MVA driver         testing

 8 station    is ; correct ?

 9 A.        Yes .

10 Q.        And then later , in call B7385 , Page 578 , later

11 the same day -- it 's now 4:06 , and Ms. Martin              is

12 talk ing to   Ms. Dobie a gain , and she says that LaNora             is

13 pick ing me up and we are going out to Ruth 's and eat

14 crab s.

15           Do You see that ?

16 A.        Yes , I do .

17 Q.        Was there a surveillance          that would confirm       that

18 Ms. Martin    and Ms. Ali went anywhere         that day ?

19 A.        I don't know      if there is .     I'd have to look at

20 the surveillance      log .   I don't know .

21 Q.        This conversation , at least         in so far as it refer s

22 to Ms. Ali pick ing her up and they're            going to Ruth 's

23 to eat crab s.      That was not drug -related , was it ?

24 A.        No , it was not .

25 Q.        Do you know who Ruth is ?




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 1 A.         Ruth 's could be a location .         A restaurant .    I

 2 don't know .

 3 Q.         On Page 579 , call B739 6.        Same day , May 21.

 4 It 's now 5:30 , and again Ms. Martin           is talk ing to

 5 Ms. Dobie again , and she repeat s that -- well , she

 6 does n't repeat       this .   She says she 's just been out of

 7 here with LaNora        just brought     me back because    get ting

 8 crab s to eat this evening .

 9            That was not drug -related        conversation , was it ?

10 A.         No , it was not .        That part of the conversation

11 was not drug -related .

12 Q.         Right .     It 's your opinion    that the rest of it

13 may have     been .

14 A.         My opinion     is that there is drug -related

15 conversation        there , yes .

16 Q.         Again , we don't really        know if Ms. Ali ever

17 actual ly went and got Ms. Martin            to go out and get

18 crab s, do we ?

19 A.         Only Ms. Martin      says she did .     That 's -- we

20 certain ly -- I certain ly -- someone           could look at the

21 pole cam and see if it reflect s Ms. Ali bring ing her

22 back or pick ing her up .

23 Q.         Okay .     Can we go to Page 599 , call B7815.         It 's

24 now May 26 , and it 's 12 :19 in the          afternoon .   This is a

25 conversation        which you say is part ly drug -related .        I




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 1 think you said the part where Ms. Ali says , around                   the

 2 middle    of Page 599 , were you able to get -- and             then

 3 Ms. Martin    talk s over her and says , yeah , I have it .

 4 Un intelligible .          Yeah , I have it .

 5           Right ?

 6 A.        Yes .

 7 Q.        It was your testimony , I believe , that that part

 8 constituted       a conversation      between    Ms. Ali and Ms.

 9 Martin    in which Ms. Ali was asking            Ms. Martin   if she

10 was able to get some drug s and that Ms. Martin                said

11 yes .

12 A.        That is correct .

13 Q.        That 's your opinion ; right ?

14 A.        That is my opinion , yes .

15 Q.        Then they talk about -- the next comment              there

16 by Ms. Ali is they're           talk ing about Nantuckets      at the

17 wholesalers       $.99 .     Do you know what that was in

18 reference    to ?

19 A.        I probably        do if I listen      to the whole call , but

20 nothing    to do with drug s.

21 Q.        Nantuckets        are maybe a kind of clothi ng ?        Shoe s?

22 Something    like that ?

23 A.        I have no idea what it is .

24 Q.        Then there was a portion           of the   transcript    that

25 was not transcribe d and it was --




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 1 A.        That 's correct .

 2 Q.        -- 16 minute s long .         It was not transcribe d.

 3 A.        The call 16 minute s long ?

 4 Q.        Well , it says the transcribe d portion              of -- I'm

 5 sorry .   Maybe I mis read this .

 6 A.        The call is about five minute s long .

 7 Q.        You're     right .   You're    right .    And it was just --

 8 did I say 20 ?       I'm sorry .    I should       have said

 9 "seconds ," not "minute s."         The transcribe d portion         --

10 the next transcribe d portion .

11 A.        Yes .     The next transcribe d is about 16 seconds .

12 Q.        Right .     Ms. Ali says , we'll be by there later on

13 this evening ; correct ?

14 A.        Yes .

15 Q.        She didn't     say , I'll be by , but she says, we'll

16 be by .

17 A.        That 's correct .

18 Q.        And then Ms. Martin       says , I may not be here , but

19 I'm going to ... going to leave -- if I leave -- if I

20 leave out for -- before , you all get here , I'll leave

21 it with Jackie .

22           Right ?

23 A.        Yes , she does .

24 Q.        And then Ms. Ali asks what Ms. Martin                is going

25 to do , and she talk s about having           to go see the




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 1 entertain ment lawyer      and so forth ; correct ?

 2 A.        That is correct .

 3 Q.        Is it your opinion     that Ms. Martin      was going to

 4 leave a package       of drug s with Ms. Terrell     to deliver       to

 5 Ms. Ali when Ms. Ali got there ?

 6 A.        Something    containing   the drug s, yes .

 7 Q.        Are you aware of any other circumstance s in

 8 which Ms. Martin       use d Ms. Terrell     to deliver   drug s to

 9 somebody ?

10 A.        I don't know    that I am , no .     I don't know    that

11 she did on this occasion        either .

12 Q.        So you don't know if this         was a drug

13 tran saction ?

14 A.        I don't know if it happened         that 's correct .

15 Q.        You do not know that Ms. Martin         ever use d Ms.

16 Terrell   to deliver     drug s except     for this possible

17 instance .

18 A.        I do not know .     The only thing I was going to

19 say is the logbook       has an entry around      this date that

20 would tend to confirm       that this happened , but that

21 could be for another       transaction .

22 Q.        So this may not even be a drug transaction .

23 A.        I think they're     talk ing about that.        What I'm

24 say ing is , I don't know     if it actual ly was consummate d.

25 Q.        And Ms. Terrell     is the woman that Ms. Martin           and




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 1 Ms. Ali would talk about as basically           somebody    they

 2 didn't    want to be around , because       she kept -- have you

 3 ever heard of the word "nooge ?"           Do you what a nooge

 4 is ?

 5 A.         Yeah .    I would agree with that.      Also during     the

 6 wiretap    there were frequent ly time s where Ms. Martin

 7 prepared a package        to be transferred to someone       while

 8 other people        were there .   So , it certain ly was not

 9 un usual for her to conceal         drug s in another   item to

10 hand people        so people   would n't know what 's going on .

11 Q.         But Ms. Terrell      was a person   that -- a nooge is

12 somebody     who just kind of      get s in your business    and

13 want s to do favor s and just takes advantage.

14 A.         I would agree with that definition         of a "nooge ,"

15 and that was part of the complaint s that they had with

16 Ms. Terrell , yes .

17 Q.         Call B8040 .    This , I believe,    was one of the

18 insert ed call s.

19            Do you have that there ?

20 A.         Yes , I do .

21 Q.         This was a call -- it start s out talk ing about

22 jerk .    In this instance , "jerk " is food .       It's jerk

23 chicken ; correct ?

24 A.         Yes .

25 Q.         And they're    talk ing about somebody     cook ing jerk




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 1 and sell ing out before         12 o'clock ; right ?

 2 A.         y.

 3 Q.         That 's not a reference        to cook ing crack or

 4 anything     like that .

 5 A.         No , it is not .

 6 Q.         On the next page -- my page s aren't         numbered , I

 7 apologize,      but the second        page of this conversation , at

 8 the top , where Ms . Ali says , yes , it is .          And then

 9 asks , you going to be home this evening ?             Ms. Martin

10 says , yeah , I'm gonna be here .           And Ms. Ali says , okay .

11 You know , you know my thing , and I'm bring you your

12 money for my clothe s.

13            Now , it was your testimony        that what Ms. Ali was

14 say ing was that she was comi ng over to get drug s and to

15 give Ms. Mart in money for clothe s.

16 A.         That is correct .

17 Q.         Can you read that to say in your opinion ,

18 assuming     thing -- this is a reference         to drug s and it 's

19 your opinion     it is ; correct ?

20 A.         Yeah , it is .     Yes .

21 Q.         Can't you read this to say , okay , you know , I'm

22 bring ing money for my drug s and I'll bring you money

23 for my clothe s?

24 A.         Not if you look at the ledger         which I think

25 show s a payment     for clothe s and a payment        for drug s and




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 1 also show s a receipt      for drug s.

 2 Q.       Well , I'm look ing at the ledger , and it 's right

 3 here .   What it show s is -- if I can get this larger            --

 4 under -- I believe       your testimony     was that in   the

 5 left-hand   column    LaNora   was the clothe s column .

 6 A.       I believe     so , yes .

 7 Q.       And the     right-hand     column , ticket s, is the drug

 8 column --

 9 A.       That is correct .

10 Q.       -- with relation      to Ms. Ali , in your opinion .

11 A.       That 's correct .

12 Q.       Well , it show s a payment       in both column s for May

13 28 .

14 A.       It show s a distribution        of $125 worth of cocaine

15 and a payment      of $300 for cocaine      on May 28 .   It show s

16 a payment   of $80 on clothe s on May 28 .

17 Q.       Isn't there a minus sign ?         If you look at that ,

18 it says 275 ; right ?

19 A.       Correct .

20 Q.       Plus 125 .

21 A.       That 's the $125 worth of drug s, yes .

22 Q.       Total 400 .

23 A.       That 's correct .

24 Q.       And then minus 300 .

25 A.       That 's correct .




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 1 Q.         Leave s a balance    of 100 .

 2 A.         That 's correct .

 3 Q.         So it was n't a distribution        of drug s on May 28 ,

 4 was it ?     It was , in your opinion , a payment        for drug s.

 5 A.         No , that 's in correct .     It 's both .   The $125 is

 6 the distribution ; the 300 is the payment .

 7 Q.         So you're    say ing that at some prior date there

 8 was a run ning balance       of $275 ?

 9 A.         That is correct .

10 Q.         And then you're     say ing that from here down ,

11 +125 , total 400 , -300 , balance        100 , that all relate s to

12 May 28 ?

13 A.         Yes, sir .

14 Q.         So Ms. Martin    saw a need to do a cash

15 transaction        and then go back and write it down ?

16 A.         She distributed     $125 , which she would put down ,

17 and then she would subtract         a $300 payment , and that

18 give s her the new balance .        There would be no need for

19 her to write 528 and then write 528 again .

20 Q.         If she distributed     a quantity     of drug s from 125 ?

21 A.         Yes .    She 's just keep ing track of the drug s that

22 are going in the amount        of the bill .      Ms. Ali pick ed up

23 another    eighth     of an ounce and paid another       $300 on her

24 bill .

25 Q.         It 's your testimony    that this represent s a new




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 1 transaction     on May 28 ?

 2 A.        It represent s a distribution       of an eighth     of an

 3 ounce , yes .

 4 Q.        And then Ms. Ali paid $300 on May 28 .

 5 A.        Yes , that 's what it show s.

 6 Q.        So your testimony , if I follow , is that Ms. Ali

 7 paid cash for a new distribution ?

 8 A.        No , I'm not say ing that at all .       Her bill was

 9 $275 .    Ms. Ali got an eighth      of an ounce , and that

10 brought     the bill up to $400 .     Ms. Ali then pay s her

11 $300 to bring her run ning tab down to $100 .

12           Maybe I'm not say ing it clear , but I think it 's

13 pretty    straightforward .

14 Q.        So would n't it have    been simpler     to just write

15 down 27 5 and then do a separate        transaction , whatever

16 it was , for 125 and then subtract         the balance    17 5 from

17 the 27 5 without    going through     these intermediate      steps ?

18 A.        That would -- you could do it that way .           That 's

19 not the way she chose to do it .          She 's keep ing track --

20 she's putting     the $125 to figure      out what the total

21 bill is , and then I'm ass uming she 's say ing , Ms. Ali ,

22 you owe me $400 now , and Ms. Ali is now pay ing her

23 $300 .

24 Q.        You choose   to interpret     this in a way that would

25 in crease    the amount   of drug s that Ms. Ali bought ; is




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 1 that correct ?

 2 A.        I'm not choos ing to       interpret    it any way .    The

 3 in crease    show s what it     show s.    It show s the

 4 distribution      of an eight of an ounce .

 5 Q.        That 's your opinion       of what it    show s; right ?

 6 A.        That 's correct .

 7 Q.        You weren't    there ?

 8 A.        I was not present        dur ing the transaction , no .

 9 Q.        And at least    the arithmetic        would have been

10 simpler     without   writing     down these intermediate      step s.

11 A.        I dis agree with that,          and that 's clear ly not

12 what she 's done on other page s.

13 Q.        Let 's turn now to Page 610 , call B8064 on May

14 28 , the same day .      The only reason        I mention   this is

15 that Ms. Ali answer s the phone .

16 A.        Yes .   I guess we talk ed about it with Mr. Hall .

17 That 's correct .

18 Q.        And then the rest of the -- this substantive

19 part of the conversation           was Ms. Ali was -- at least

20 not on the transcript         and the CD was not a part of

21 that ; correct ?

22 A.        I think the entire        call is on the CD.       I'm not

23 sure what you're       asking .

24 Q.        Well , in the first part it look s like Mr.

25 Whiti ng call s the Martin         residence    and Ms . Ali answe rs




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 1 the phone .      He asks to talk to Paul a, Mr. Whiti ng des,

 2 and Ms. Ali and Mr. Whiti ng just say hi , how you do ing ?

 3 A.       Yes , I agree with that .       I'm saying    the entire

 4 call is on the CD.       It 's not excerpt ed .

 5 Q.       The only part that Ms. Ali play ed in that call

 6 was to answer      the phone and say "hello " and give the

 7 phone to Ms. Martin .

 8 A.       Yes , I would agree with that .

 9 Q.       And then on page 612 , call B8110 , May 29 at

10 11 :05 in the morn ing .     A little    while ago this morn ing

11 I asked you , and you agreed , that people           who are

12 involve d in a conversation       who are aware of the subject

13 matter   of the conversation      tend to talk in a kind of a

14 shorthand .

15 A.       Yes , I agree with that .

16 Q.       Well , let me ask you a question          about this

17 conversation .      At the top of Page 613 , Ms. Ali says ,

18 but , um, I need to get another         dress .    Ms. Martin   says ,

19 okay .   Ms. Martin    says , okay .    Yeah .    So , with the tie s

20 for -- and then interrupt ed by Ms. Martin .

21          Do you see that part ?

22 A.       Yes .

23 Q.       I believe    it was your testimony        that when Ms.

24 Ali said , I need another       dress , she was tell ing Ms.

25 Martin   that she want ed more cocaine .




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 1 A.        That 's correct .

 2 Q.        And then -- what was your opinion              on the portion

 3 where Ms. Ali says , yeah .       O kay .     Yeah .     So , with the

 4 tie s for .

 5 A.        She then goes on to say she 's been to the school

 6 already    that morn ing .

 7 Q.        No .   I'm sorry .    One line above that, when Ms.

 8 Ali is talk ing .     Ms. Ali says , okay .           Yeah .     So , with

 9 the tie s for .

10 A.        I don't know    what she 's referring          to there .

11 Q.        When you listen      to that tape , it sounds            like Ms.

12 Ali may not have been finish ed on that first line but

13 that Ms. Martin      interrupt ed her .

14 A.        That 's what --

15 Q.        Ms. Ali said,      but I need to another             dress .   And

16 then Ms. Martin      interject ed , okay , before         Ms. Ali might

17 have been finish ed with what she was going to say .

18 A.        I don't know    if Ms. Ali was finish ed or not .

19 She just says she needs another             dress .     Ms. Martin       says

20 okay .

21 Q.        On the transcript , it 's written            up as if Ms. Ali

22 had finish ed her statement .

23 A.        There is a period      at the end of the sentence ,

24 yes .

25 Q.        Well , let 's assume    that Ms. Ali was n't finish ed




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 1 with her statement        and that Ms. Martin     interrupt ed her

 2 because    Ms. Martin     knew -- as soon as Ms. Ali said

 3 "dress " Ms. Martin       knew what Ms. Ali was talking       about .

 4 A.        I think she knew exact ly what she was talk ing

 5 about .

 6 Q.        Let 's assume    that she was going to say , I need

 7 to another     dress shirt .

 8           MS. JOHNSTON:        Objection .

 9           Assume s fact s not in evidence .

10           MR. MCKNETT :     It 's a hypothetical    to an ex pert ,

11 Your Honor .

12           THE COURT:      Over ruled .

13           BY MR.   MCKNETT :

14 Q.        Let 's assume    that Ms. Ali was going to say , but ,

15 um, I need to another        dress shirt , okay ?

16 A.        Okay .

17 Q.        And then Ms. Martin       interrupt ed her , because    Ms.

18 Martin    knew that Ms. Ali was referring         to dress shirt s.

19 And then Ms. Ali continued , yea h. O kay .         Yeah , so with

20 the tie s for Ulysses      -- it was her husband       -- and Ms .

21 Martin    interrupt ed again , because       Ms. Martin   knew that

22 Ms. Ali was referring        to dress shirt s with tie s for Ms.

23 Ali 's husband , Ulysses .

24 Q.        Let 's assume    that 's what she intend     today say ?

25 A.        Are you tell ing me to assume        that 's what she




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1 intend ed to say and as sum e this call is not about

2 drug s?

3 Q.         I'm asking    you to assume      exact ly what I've        asked

4 you to assume        and nothing   more .

5 A.         I think you said to assume         what she said and

6 as sume it 's not about drug s.

7 Q.         Assume    that Ms. Ali was going to say , I need

8 another      dress shirt ; and assume       that she was going to

9 say , with the tie s for Ulysses .           Okay ?

10 A.        Okay .

11 Q.        If that were the case , would that change             your

12 opinion     about the mean ing of this call ?

13 A.        If Ms. Ali had said those thing s and Ms. Martin

14 still follow ed it up with she 's already              been to the

15 school    already    that morn ing , no , it would not , because

16 that 's what she move d the drug business , not the

17 clothi ng business , to the school .          The drug business

18 was at the school .       The clothi ng business , I think as

19 we saw in the picture s, was still at Hayward .

20 Q.        So it 's your opinion     that even if Ms. Ali had

21 intend ed to say , I need to another          dress shirt with the

22 tie s for Ulysses , that would not have changed              your

23 opinion .

24 A.        No , not at all .    That 's not what she said .            But

25 even if she had said that , as long as               Ms. Martin 's




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 1 reaction    was one of mean ing she had to go to the school

 2 to get what Ms. Ali want s, going to the school              -- and I

 3 think as we saw in numerous         conversation s, she went

 4 down there to pick drug s up , not clothe s.

 5 Q.         Are you tell ing the ladies and gentlemen of the

 6 jury that the only accurate         interpretation       of all of

 7 these conversation s that we've heard is your

 8 interpretation ?

 9 A.         I'm tell ing you what my opinion       is .

10 Q.         And that if they should      come to different

11 opinion s that they would be wrong ?

12 A.         I'm tell ing you what my opinion       is .

13            MS. JOHNSTON:      Objection .

14            THE COURT:     Sustained .

15            Don't argue with the witness .

16            MR. MCKNETT:     I have nothing     further , Your

17 Honor .

18            THE COURT:     Is there re direct ?

19            MS. JOHNSTON:      Yes , Your Honor , I'm afraid     so .

20                         REDIRECT EXAMINATION

21            BY MS. JOHNSTON:

22 Q.         Detective    Sakala,   I'm going to jump around      a

23 little    bit here .    Hope fully you can stay with me .

24            Let 's talk first about Mr. McKnett 's

25 question ing , because      that 's fresh in our minds , and




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 1 then we'll go back to last week 's cross-examination             .

 2           In term s of those last few question s about

 3 Hayward    7 and that ledger .      Counsel   seem ed to have

 4 problem s follow ing your math .

 5           MR. MCKNETT :      Objection .

 6           MR. MARTIN:       Objection .

 7           BY MS. JOHNSTON:

 8 Q.        Strike   that .

 9           Let me find the page here .         This was the last

10 page he had shown you ; is that correct ?

11 A.        Yes .

12 Q.        Okay .   And you indicated       that that reflect s

13 another    April transaction      and a payment    on the drug

14 tab ; is that correct ?

15 A.        That 's correct .

16 Q.        If we were to go back to the other page that has

17 LaNora    at the top ?

18 A.        Yes .

19 Q.        Okay .   At the bottom    of that page , are there

20 notation s that reflect        drug transactions     --

21 calculation s in a similar        manner ?

22 A.        Yes .

23 Q.        Okay .   And if you could explain        that to the

24 jury .

25 A.        Where she adds to the total , most common ly $125




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 1 -- when I say "she ," Ms. Martin         adds to the total , and

 2 that reflect s a distribution         of an eighth   of an ounce

 3 which I think even in the conversation s show that 's the

 4 price she was chargi ng for an eighth           of an ounce .    And

 5 where she subtract s from        total reflects    a payment    on

 6 that bill .

 7 Q.         Call ing your attention     to where we have a

 8 balance    of 225 .    What come s after that ?

 9 A.         The 125 look s like a distribution        to bring the

10 new drug bill to $350 .

11 Q.         What do we have at that ?

12 A.         It is a $200 payment      on five -- whatever      the

13 date is ther e -- and reflect ing another          new total of

14 $150 .

15 Q.         Then what do we have after that ?

16 A.         You have another      distribution   of an eighth    of an

17 ounce for $125 , to bring the new total of up to $275 ,

18 which is      carri ed forward   to the next page where it says

19 "ticket s."

20 Q.         And that is separate      from the transactions

21 involving      clothe s; is that correct ?

22 A.         Yes .   In fact , the -- I think clothi ng

23 transactions       have different    notation s indicati ng

24 clothi ng .

25 Q.         Counsel    asked you question s about the drug s that




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 1 were re covered       from the school .      Other than a half -- a

 2 quart er to a half a kilo of cocaine            powder , was there

 3 other cocaine        base re cover ed from    the school ?

 4 A.        Yes .     Crack .   Cocaine .   A lot of crack was

 5 re covered .       Like I said , packaging     -- a lot of

 6 packaging        materials , scale s, thing s associate d with the

 7 drug trade .

 8 Q.        And heroin      as well ; is that correct ?

 9 A.        Yes , that 's correct .

10 Q.        And you mention ed that the -- were the drug s

11 package d along one lump chunk ?

12 A.        No .     They were package d ready for sale in

13 package s down to -- a tenth of a gram , I belie ve is the

14 smallest , and all the way up to an eighth            of a kilo

15 which I think was the largest .

16 Q.        I want to show you two exhibit s, Government 's

17 Exhibit s South Dakota        1 and Government 's Exhibit       South

18 Dakota    15 .

19           Do you recognize       those two shop ping bag s?

20 A.        I do .

21 Q.        Okay .     What are they ?

22 A.        They're     the two bag s that were re covered        from

23 the business        that con tained a lot     of the drugs.

24 Q.        Does that refresh       your recollection     as to

25 whether    they were store shop ping bag s?




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1 A.        One is a Ha llmark    card bag and the other is a

2 green plaid bag .

3 Q.        Now , in that same light , with regard         to the call

4 that was call A167 0, on Page 525 on May 16 .             Do you

5 have that one in front of you ?

6 A.        Yes .

7 Q.        At the bottom     of that call , does Ms. Martin         give

8 instruction s to Ms. Ali in term s of how to deal with

9 Jackie    Terrell ?

10 A.       Yes .   She instruct s her to just tell her that ,

11 Paula , you got to get those thing s We're going to go

12 show our girlfriends , which I think we establish ed was

13 not the truth .

14 Q.       Did Ms. Ali , in response      to that , ask Ms. Mart in

15 why she should       lie to Ms. Terrell ?

16 A.       She does not .

17 Q.       Now , if we go to call B8110 on Page 612 and 613 .

18 I think you just re view ed that with counsel ; is that

19 correct ?

20 A.       Yes .

21 Q.       And in reference     to that particular      call .   You

22 didn't   hear anything     that sound ed like a dress shirt ,

23 did you ?

24 A.       I didn't     hear -- no , I did not .     She does not

25 say that .




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1 Q.         What is the significance      of the    fact that it was

2 -- that she had already         been to the school ?

3 A.         That she been to the school       where she kept the

4 drug s.     That mean s she did not have any drug s at the

5 house .     In other words , she would have to go back to

6 the school      again .

7 Q.         Also , if I could call your attention         to call

8 B7365 , on Page 577 .

9            Do you have that call in front of you ?

10 A.        I do .

11 Q.        Okay .    And what did Ms. Martin      tell Ms. Ali that

12 she had to do ?

13 A.        Ms. Martin     tell s her that she 's wait ing on

14 Becky,    because    she had to go to the school      for

15 something .

16 Q.        And Ms. Ali didn't     ask her what for , did she ?

17 A.        No , she did not .

18 Q.        And in term s of call ing your attention          to B7224

19 on Page 563 and 564 .        In this call , who inquire s about

20 the meet ing and the lady next door ?

21 A.        Ms. Ali is bring ing it up and asking , you

22 haven't    heard anything     else about the     lady ne xt door or

23 anything ; asking , again , if there was any news on the

24 neighborhood       meet ing and , I guess , the talk about the

25 traffic    to and from Ms. Martin 's house .




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 1 Q.         When Ms. Martin     says that she didn't       want to

 2 stress   the issue with the girl friend        upstairs    on Page

 3 564 , what advice     does Ms. Ali give to Ms. Martin ?

 4 A.         She agree s with that :     Right , right .     Don't .

 5 She's a gree ing with Ms. Martin 's decision           not to bring

 6 it up with     Ms. Terrell .

 7 Q.         Then what does Ms. Ali say ?

 8 A.         Ms. Ali is tell ing her to leave it alone .            In

 9 other words , don't bring it up again .             Don't stress     it ,

10 jus t like Ms. Martin      said .

11 Q.         Now , if we could go back to your cross-

12 examination     from last week .

13            There were question s that Mr. Montemarano            asked

14 you about controlled       buy s or under cover officer s maki ng

15 buy s.   Could you explain      to the ladies and gentlemen of

16 the jury    why there were no controlled           buy s made in this

17 case ?

18 A.         In order   to make a controlled      buy , you need a

19 cooperating     person   or someone    who can make it for you .

20 In the case of Ms. Martin , we had no such person .

21 There was none to make a controlled           buy .

22 Q.         Can you just advise      or de scribe    why it is you

23 did not have any person        who could make a controlled           buy

24 from Ms. Martin ?

25 A.         There were no person      cooperating      with the




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 1 government       at that time who was in a position         to make

 2 such a buy .       We just didn't      have that resource

 3 available    to us .     Hence , we could n't make a controlled

 4 buy .

 5 Q.        Now , in term s of Juan Encarnacion .          Where was he

 6 once he started        cooperating ?

 7 A.        He was incarcerate d.         Obvious ly , if he was

 8 incarcerate d, he could n't make a controlled             buy .

 9 Q.        Likewise .     Later on , once Mr. Thurman       began

10 cooperating , that was well after everyone              was arrested ?

11 A.        That was well after everyone            was arrested     an d he

12 was incarcerate d, also .

13 Q.        Mr. Montemarano     asked you question s also about

14 lookout s --

15 A.        Yes .

16 Q.        -- and whether or not there were lookouts.

17 A.        Yes.

18 Q.        What kind of drug distribution            organization

19 usually    involve s look out s?

20 A.        It will be a small operation            work ing -- I think

21 he's talk ing about a street           corner .   It would be

22 typical    of someone     stand ing on the street       sell ing , you

23 know , $10 , $20 rock s and someone         look ing out for the

24 police    comi ng down the street .

25 Q.        Are you familiar      with the term "open air drug




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 1 market s?"

 2 A.        Yes.

 3 Q.        Would that be something       you would see in an open

 4 air drug market ?

 5 A.        Yes .    That would be a frequent      occurrence , and I

 6 think Mr. Montemarano         use d the term "5-0."     W hen they

 7 see the police , the lookout        would yell "5-0" an d

 8 everybody    would scatter .

 9 Q.        Based upon your opinion , was the drug conspiracy

10 involving    Ms. Martin      and Mr. Goodwin    a street   level

11 open air drug market         distribution ?

12 A.        No , it was not .

13 Q.        Why not ?

14 A.        They were deal ing much larger        quantiti es .

15 They're    certain ly not going to be do ing large

16 transaction , sometimes        deal ing hundreds   of thousands      of

17 dollar s stand ing on a street       corner .

18 Q.        Well , you 've also testifi ed , however , they were

19 sell ing small er quantiti es to -- Ms. Martin          was sell ing

20 small er quantiti es , and I think we've heard testimony

21 that Mr. Goodwin      was also sell ing small er quantiti es .

22           Does that fact change      your opinion     in term s of

23 why it didn't      involve    an open air drug market ?

24 A.        No .    The fact that they sold small er quantiti es

25 to some customers       is really   of no consequence .      They




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 1 sold small quantiti es to all their customers               and never

 2 sold more than a $10 or $20 rock,            then that might come

 3 into it, but        clear ly they were sell ing amount s larger

 4 than that .

 5 Q.         The individuals     who were involve d in this

 6 conspiracy , in particular        the people    Ms. Martin     was

 7 distributing        to I think you've    testifi ed about , who are

 8 some of those people ?

 9 A.         Who are they ?

10 Q.         Yeah .    By name , who are some of the       people   Ms.

11 Martin    distributed     the small er quantiti es to ?

12 A.         Mil burn Walk er , George     Harris , LaNora    Ali , Lavon

13 Dobie, Roland C arey, Darr yl Geiger,          Jean --     Joan --

14 I've for got Joan 's last name -- Orlando , Johnnie Mae

15 Short .    There 's a lot of customer s.

16 Q.         Based upon your re view of the call s and the

17 evidence     in this case , were those individuals           with whom

18 she had had a long stand ing relationship ?

19 A.         Yes .    It was clear that she had a long - stand ing

20 relationship        with all those people .

21 Q.         Would it be fair to say that there weren't

22 stranger s comi ng up knock ing on the door asking             to buy

23 $20 rock s?

24 A.         They were not .     She knew all of them by name and

25 was friends        with many of them .




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 1 Q.          Now , we've also -- you play ed -- we play ed

 2 excerpt s of some call s here ; is that correct ?

 3 A.          Yes .

 4 Q.          Are the full call s available       should    anyone    want

 5 to question         you about those full call s?

 6 A.          Yes .

 7 Q.          Now , Mr. Montemarano    asked you about Mr. Turn er .

 8             Do you recall    those call s last week about Mr.

 9 Turn er ?

10 A.          Yes .

11 Q.          Did you have occasion     to participate       in

12 preparing      for a trial involving        Mr. Turn er and his role

13 in this conspiracy ?

14 A.          Yes , we did .

15 Q.          Let me show you a group of transcript s, as well

16 as a CD, and ask you first if you recognize               these

17 transcript s.

18             If we could pass a copy to counsel, please.

19             Show ing you first what 's been mark ed as

20 Government 's B37 80 , referring       to the transcript .

21             Do you recognize    that transcript ?        You can take

22 it out and look at it .

23 A.          Yes .

24 Q.          Do you recognize    that transcript ?

25 A.          Yes .    It 's a call between    Paulette    Martin    and




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 1 William    Turn er .

 2 Q.         Show ing you ne xt what 's mark ed as B49 97 .

 3            MR. MCKNETT :     Excuse     me .     Ms. Johnston , we in

 4 the back row haven't         gotten    our transcript s.

 5            MS. JOHNSTON:       I'm just hav ing him identify

 6 th em .

 7            THE WITNESS:      This is a call they intercepted                on

 8 April 30 with Claude         Arnold , William           Turn er and

 9 Paulette     Martin .

10            BY MS. JOHNSTON:

11 Q.         Show ing you -- what 's the date of that call ?

12 A.         April 30 .

13 Q.         If I could show you the next one , B6442 .

14 A.         This is a call on May 12 between                William    Turn er ,

15 Claude    Arnold    and Paulette      Martin .

16 Q.         Show ing you A18 49 .

17 A.         A call between      Paulette        Martin , John Martin      and

18 Jackie    Terrell      on May 23 .

19 Q.         And B7538 ?

20 A.         A call between      Paulette        Martin    and Kevin Scott

21 on May 23 .

22 Q.         And A19 34 ?

23 A.         A call on May 27 between             Paulette    Martin , John

24 Martin , Kevin Scott , and William              "D og " T urn er .

25 Q.         Does CD-4 reflect         that those call s are record ed




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 1 on that CD?

 2 A.         Yes , it does .

 3            MS. JOHNSTON:        Okay .     If we could , Your Honor ,

 4 distribute     those transcript s to the jury while we play

 5 these call s, please .

 6            I think all counsel           have copies    now .

 7            THE COURT:      You may .

 8            BY MS. JOHNSTON:

 9 Q.         All right .     If we could go first to              call B37 80 .

10            What is the date and time of this call ?

11 A.         This was on April 17 , 2004 at 3:19 in the

12 afternoon .

13 Q.         Just so that everyone 's clear , is this before                 or

14 after Ms. Levi get s stopped             with the 2.3 kilogram s of

15 heroin ?

16 A.         This is before .

17 Q.         Okay .   If we could play the call , please .

18            (Audio   record ing begin s play ing at 12 :51 p.m. )

19            (Audio recording       stop s playing       at 12 :53 p.m. )

20            BY MS. JOHNSTON:

21 Q.         The voices in     that call were whom ?

22 A.         Paulette    Martin    and William     Turn er .

23 Q.         The dog .     What is "dog ?"

24 A.         "Dog " is his nickname .          People    call him Dog .

25 Q.         The girl that Ms. Paula -- Ms . Martin                 was try ing




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 1 to catch up with was whom ?

 2 A.         Gwen Levi .

 3 Q.         Okay .    And Gwen Levi 's relationship        with Mr.

 4 Turner and     Ms. Martin        was what ?

 5 A.         With Mr. Turn er , she was a partner          in the heroin

 6 business .     With Mr. Turn er , she also had a person al

 7 relationship        with him .     Ms. Levi was Ms. Martin 's

 8 heroin     suppli er .

 9 Q.         And Ms. Levi was a partner         of Mr. Turn er ; is

10 that correct ?

11 A.         That 's correct .

12 Q.         So that call occurred         before    Ms. Levi 's arrest ;

13 is that correct ?

14 A.         I'm sorry ?

15 Q.         That call took place before            Ms. Levi 's arrest ?

16 A.         That 's correct .

17 Q.         If we could go to the next call , B49 97 .           What is

18 the date and time of this call ?

19 A.         This was on April 30 , 2004 , at 3:04 p.m.

20 Q.         Is this before        or after Ms. Levi 's arrest ?

21 A.         This is after .

22            MS. JOHNSTON:         If we could play this call ,

23 please .

24            (Audio record ing begin s play ing at 12 :54 p.m. )

25            (Audio recording        stop s playing    at 12 :56 p.m.)




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 1            BY MS. JOHNSTON:

 2 Q.         Who are the part ies to       that call ?

 3 A.         Claude    Arnold   and William    Turn er .

 4 Q.         Where is that call place d from ?

 5 A.         Mr. Turner    is at the house on Hayward             call ing

 6 out to Mr. Arnold .

 7 Q.         Were you able to hear -- did you recognize                Ms.

 8 Martin 's voice at all ?

 9 A.         You could hear Paulette         Martin in     the

10 background .

11 Q.         The "dog " again is the nickname         for Mr. Turner ;

12 is that correct ?

13 A.         That 's correct .

14 Q.         This occur s before     or after Ms. Levi 's arrest ?

15 A.         This is after her arrest .

16 Q.         Is that consistent      with your opinion           last week

17 concern ing Mr. Turner        delivering    drug s to Ms. Martin ?

18 A.         Yes .    I think after this you saw her try ing to

19 sell the heroin       he had dropped     off to her .

20 Q.         If we could go to the next call , B6442 .

21            What's    the date and time of this call ?

22 A.         This was on May 12 , 2004 , at 5:48 p.m.

23 Q.         If we could -- who are the parti es to this call ?

24 A.         William    Turn er , Claude   Arnold   and Paulette

25 Martin .




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 1            MS. JOHNSTON:      Okay .   If we could play this

 2 call , please .

 3            (Audio    record ing begin s play ing at 12 :57 p.m. )

 4            (Audio recording       stop s playing   at 12 :59 p.m.)

 5            BY MS. JOHNSTON:

 6 Q.         What are -- where is Mr. Turner          when this call

 7 is place d?

 8 A.         Again , he 's back at the residence         on Hayward

 9 Avenue .

10 Q.         Are you able to tell from that call whether              or

11 not Ms. Mart in is present ?

12 A.         Yes .    She actual ly place s the call .      And then

13 when Mr. Arnold        answer s, she transfer s the phone to Mr.

14 Turner .

15 Q.         This call would have taken place after Ms.

16 Levi 's arrest      an d before   Ms. Martin   move d the stuff

17 down to the school ; is that correct ?

18 A.         That is correct .

19 Q.         Is there anything       in here that is consistent

20 with your opinion        that Mr. Turner     brought   heroin    over

21 to Ms. Martin ?

22 A.         Yeah .    In fact , he tell s Mr. Arnold      that he 's

23 got drug s for him .       And eventually , after going back

24 and forth , Mr. Arnold        agree s to come to the house on

25 Hayward    to see Mr. Turner .




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 1          MS. JOHNSTON:       Your Honor , I know the court

 2 want ed to recess     a few minute s before         one .

 3          THE COURT:      All right .    Ladies and gentlemen        ,

 4 we'll take a recess       now until    ten minute s after two .

 5                  (Jury excused at 1:00 p.m.)

 6                  (Off the record at 1:00 p.m.)

 7                  (On the record       at 3:19 p.m. )

 8          THE COURT:      I'm told that an arrival           is eminent ,

 9 but we will see .      Assuming    that we get start ed short ly ,

10 I'm going to probably       go until a quarter         of five to try

11 and make up a few minute s of time .

12          MR. MONTEMARANO :      We're start ing at 9:30

13 tomorrow ?

14          THE COURT:      Yeah , trail ing my       sentenci ng .   I'll

15 be on the bench at 9 o'clock          -- well , assuming       we have

16 a defendant    here at 9 o'clock .

17          MR. MCKNETT :     Your Honor , on the court calendar ,

18 it show s you have a sentenci ng Friday             morn ing as well .

19          THE COURT:      That 's been move d.        W e haven't

20 caught   up with the court calendar         yet .     As a matter of

21 fact , it may be     gone by now .

22          The defendant s are on their way .             For some

23 reason , they're     not using the elevator .

24                  (Defendants arrive       at 3:23 p.m. )

25          THE COURT:      Bring the jury     in .




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 1                    (Witness     resume s the stand at 3:24 p.m .)

 2                    (Jury return s at 3:24 p.m. )

 3          THE COURT:          Good afternoon , ladies and

 4 gentlemen .       Sorry we had such a long lunch hour .             I was

 5 not having     a three martini       or something .      You may

 6 recall , when the trial began , I suggest ed to you that

 7 you take the escalator           to this floor and that that way

 8 you would n't have any inadvertent             contact   with people .

 9 Well , there 's probably         a secondary    reason   I should    have

10 been thinking       about .    Not all the time do the elevator s

11 in this build ing work , and this was one of those day s

12 when one of them decide d not to work well , and that

13 made some of the people           involve d in this trial

14 un avoidably      absent .    They're   present   now , and they're

15 happ y to be off the elevator .           So , we are all ready to

16 proceed .     Sorry about the       delay .

17          You may proceed .

18          BY MS. JOHNSTON:

19 Q.       Detective      Sakala , if we could go to the next

20 call , A18 49 .

21          Do you have that transcript            in front of you ?

22 A.       I do .

23 Q.       What 's the     date and time of that call ?

24 A.       That took place on May 23 , 2004 , at 1:29 in the

25 afternoon .




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1 Q.          Who are the parti es to this call ?

2 A.          Paulette    Martin , John Martin , and Jacqueline

3 Terrell .

4 Q.          If we could play this call , please .

5             (Audio    record ing begin s playing    at 3:26 p.m. )

6             (Audio recording stops playing         at 3:28 p.m.)

7             BY MS. JOHNSTON:

8 Q.          Detective    Sakala , the "dog " reference    there by

9 Mr. Martin      is whom ?

10 A.         William    Turn er .

11 Q.         Where was Mr. Martin     when he received     this call ?

12 A.         That is the telephone     line of Jacqueline      Terrell

13 at Hayward .

14 Q.         So he would have been in the residence ?

15 A.         He was in the residence     at Hayward .

16 Q.         Is that an example     of -- was that the full

17 record ing that we heard of that call ?

18 A.         Yes , it was .

19 Q.         Based upon that call and the many call s that

20 we've just play ed a portion        of , is this indicative       of

21 some of the type s of conversation         that you would have

22 excluded     where we just play ed portion s of the call ?

23 A.         Yes .

24 Q.         What portion     of this would you have excluded ?

25 A.         Everything , really , about the pedicure       and




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 1 play ing just the part where -- the top of Page 2 where

 2 Mr. Martin    is tell ing Ms. Martin      that William     Turn er

 3 had come by .

 4 Q.       Now , if we could go to next call , B7538 .

 5          Do you have that call , as well , in front of you ?

 6 A.       Yes , I do .

 7 Q.       What 's the date and time of that call ?

 8 A.       This is May 23 , 2004 , at 3:01 p.m.

 9 Q.       Is this a call on the same date , short ly after

10 Ms. Martin    finish ed talk ing to Mr . Martin ?

11 A.       Yes .

12 Q.       If we could please       play this call .

13          (Audio   record ing begin s at 3:29 p.m. )

14          (Audio recording      stop s playing    at 3:30 p.m. )

15          BY MS. JOHNSTON:

16 Q.       In this portion      of that conversation , who is Ms.

17 Martin   speak ing to ?

18 A.       Paulette    Martin   and Kevin Scott .      She 's speak ing

19 to Kevin Scott .

20 Q.       Who is Kevin Scott ?

21 A.       The son of Gwendolyn       Levi .

22 Q.       Is he involve d in that clothi ng business ?

23 A.       He 's involve d in a clothi ng business , yes .

24 Q.       In this call , the reference        to your momma 's

25 friend   refer s to whom ?




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 1 A.        William    Turn er .

 2 Q.        If we could go to the next call , A19 34 , on Page

 3 -- not on any page -- separate          call .

 4           Do you have that transcript        in front of you ?

 5 A.        Yes , I do .

 6 Q.        What 's the date an d time of this call ?

 7 A.        May 27 , 2004 , at 2:56 in the afternoon .

 8 Q.        Who are the parti es in this conversation ?

 9 A.        Paulette    Martin , John Martin , Kevin Scott and

10 William   Turner .

11 Q.        If we could play it , please .

12           (Audio    record ing begin s playing 3 :31 p.m. )

13           (Audio recording stops playing at 3:35 p.m.)

14           BY MS. JOHNSTON:

15 Q.        Detective      Sakala , is this another    call

16 demonstrati ng Ms. Martin 's knowledge           and association

17 with Mr. Turner?

18 A.        Yes , it is .

19 Q.        In this call , just so the record         is clear , there

20 is a discussion       about $450 in an envelope       with Kevin 's

21 name on it .

22           Are you familiar       with that portion    of the   call ?

23 A.        Yes .

24 Q.        What does that refer to ?

25 A.        That refer s to money that she left with John




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1 Martin to    give Ke vin Scott for clothe s.

2 Q.       In this call where Ms. Martin            discuss es that

3 money and that call , is there any hesitation             on her

4 part in term s of de scribi ng what it 's for ?

5 A.       No .    It 's for clothe s, not drug s.

6 Q.       Excuse      me ?

7 A.       It 's not drug s.

8 Q.       And Mr . Washington , to your knowledge , was never

9 involve d in her drug business ; is that correct ?

10 A.      Mr. Scott .

11 Q.      Mr. Washington .

12 A.      Oh , Harvey S tar Washington ?          No , he was not

13 involve d in the drug business .

14 Q.      She reference s, Harvey        bought    a shirt ?

15 A.      Yes .      That 's Harvey   Star Washington    she 's

16 referring   to .

17 Q.      And Kevin was the individual            who was the son of

18 Ms. Levi --

19 A.      Yes .

20 Q.      -- and also who sold clothe s?

21 A.      That 's correct .

22 Q.      Do those call s represent        some of the call s that

23 discuss , or in which Mr. William         Turner    -- D og --

24 participate s with Ms. Martin ?

25 A.      Yes .      Primarily , after Ms. Levi was arrested .




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1 Q.         And do those call s support      your -- have any

2 effect     on your opinion       that Ms. Levi received

3 additional     heroin    from Mr. Turner    after Ms. Levi was

4 arrested ?

5 A.         They don't have an effect , other than they

6 corroborate        my opinion    that Mr. Turner   was the source

7 of the heroin        that she was try ing to sell to Ms. Dobie

8 and Mr. Nunn .

9 Q.         Now , there was also some discussion , both with

10 Mr. Montemarano       and Mr. McKnett , about Guilty

11 Productions       and an individual    associate d with that

12 business ?

13 A.        Yes .

14 Q.        Who was the individual       associate d with   that

15 business ?

16 A.        Guilty    Productions is    own ed or part own ed by

17 Gilbert    Williams .

18 Q.        Based upon the call s and the information          that

19 you've    received    during    this investigation , what do you

20 -- what is your understand ing of the relationship

21 between    Ms. Martin    and that business ?

22 A.        She had wire transferred , I think -- again , I

23 think it was $100,000          to an account   that he had control

24 over that was suppose d to go as an investment            towards

25 some type of show .




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1 Q.         Who was involve d in that investment ?

2 A.         Mr. Goodwin     -- Learley   Goodwin .

3 Q.         Is that based on some of the call s we 've heard

4 over the last two week s?

5 A.         Yeah .   Some of those call s.     But there were a

6 lot of call s that she talk ed about put ting on show s.

7 Q.         Based upon your train ing and experience          and

8 those call s, as well as some of the call s that were

9 reference d in the log s during         cross-examination    that we

10 did not play , did you form an opinion          as to whether     or

11 not those funds were drug proceeds ?

12 A.        Yes , I did .

13 Q.        What is that ?

14 A.        That they were in part proceeds          from drug sell s.

15 Q.        Based upon your train ing and experience , someone

16 active    in a drug conspiracy .       What do they have to do

17 with their proceeds ?

18 A.        You have to spend them .       I mean , there 's --

19 there is no reason        to be involve d in the drug trade --

20 I should n't say there is no reason .         The primary     reason

21 for being involve d in the drug trade is to make money .

22 And when you make the money , you spend it .

23 Q.        Now , there were also some question s from Mr.

24 McKnett    about fax ing letterhead      for Ms. Martin    between

25 Ms. Martin    and Ms. Ali.




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1             Do you recall    those call s?

2 A.          Yes .

3 Q.          Did you form an opinion      as to what Ms. Ali was

4 assisting      Ms. Martin    with during   any letterhead

5 production      or fax ing materials     in relation   to that

6 $100,000      investment    in some production ?

7 A.          Yes .

8 Q.          What is that opinion ?

9 A.          Ms. Ali was maki ng a letterhead       for a fax cover

10 to make it appear       as though    the fax was comi ng from a

11 legitimate     business , that being Paula's      School of

12 Performing     Arts .   Ms. Ali was assisting     Ms. Martin    in

13 that -- do ing it for her , essentially .

14 Q.         Based upon your train ing and experience , what

15 does -- how does that assistance          fit into the

16 laundering     of those drug proceeds ?

17 A.         I think the call that Mr. McKnett        was

18 referenci ng is that Mr. Williams         want ed a fax --

19 something     faxed with her business       lo go on it or company

20 name , and to assist       him in the , I guess the investment

21 of the money that she had sent to him , and Ms. Ali

22 prepared     the cover sheet -- made the cover sheet for

23 Ms. Martin     to fax to Mr. Williams .

24 Q.         Were you ever able to determine        whether   or not

25 that company       was an actual    company ?




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 1 A.        Yeah .   I don't know      if it 's PTK Associate s that

 2 was on the fax cover sheet , Paul a's School of

 3 Perform ing Art s.      Neither     one was not a function ing ,

 4 legitimate    business     during    our intercept   or any time

 5 recent ly .

 6 Q.        Did you find any evidence        that Ms. Ali or her

 7 husband    had in vested    in that transaction      with the

 8 individual    run ning Guilty Productions ?

 9 A.        No , not at all .

10 Q.        In reference     to Mr. Goodwin .      Mr. Martin    asked

11 you question s about whether          or not   Mr. Goodwin    re side d

12 at Bexhill    Court , Ms. Martin 's residence , at one point

13 during    this conspiracy .

14           Do you recall     that question ?

15 A.        I'm sorry .     What was it ?

16 Q.        Mr. Martin     had asked you last week whether          or

17 not you had found any evidence           that Mr. Goodwin      re side d

18 at Bexhill    Court , Ms. Martin 's earlier        residence .

19           Do you recall     that ?

20 A.        Yeah .   I don't know      if he actual ly re side d or if

21 he had been there .        I thought    the question   was , had he

22 been to the residence .

23 Q.        In add ition to     that , he asked you if he had ever

24 re side d or lived at Ray Road .

25 A.        Right , right , right .




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 1 Q.        And your response        was , no , he hadn't .

 2 A.        That 's correct .       He listed     a whole series    of

 3 residence s belong ing to        other people , and Mr. Goodwin

 4 did not re side at those place s.

 5 Q.        Is the fact that Mr. Goodwin            didn't   re side at

 6 Mr. Bynum 's house at Ray Road , or Ms. Martin's house on

 7 Bexhill Court,       or Ms. Dobie 's residence , or Ms. Ali 's

 8 residence    in any way affect        your opinion     concerning       the

 9 content s of the call s?

10 A.        No .    He re side d at his house on Farragut.          The

11 other place s I would n't expect         him to re side at .

12 Q.        Why would n't you expect           him to re side at other

13 co conspirator s' residence ?

14 A.        Because    those were other people 's house s and not

15 his residence .

16 Q.        He also asked you a question            about the driver 's

17 license    address .

18 A.        Yes .

19 Q.        Do you recall      that ?

20 A.        Yes , I do .

21 Q.        I believe      you said that that would n't be

22 significant       to establish    residence .

23           Can you explain        why not ?

24 A.        It 's not un usual in the drug trade for people                to

25 have different       address es listed       on their driver 's




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 1 license .     I'm sure Ms. Martin 's probably       did not list

 2 Hayward     Avenue as her residence .      It 's not un usual at

 3 all .   In fact , most of the time , I would say it 's

 4 probably     more normal    for the residence     where they

 5 actual ly live to not be on the driver 's license .            Most

 6 drug deal er s don't make it a practice          of keep ing the

 7 MVA information      as of their current       address   up to date .

 8 Q.         Counsel   asked you -- Mr. Martin , Mr. Goodwin 's

 9 attorney , asked you a question         about call B451 5, which

10 is a call where you ID'd t he speak er as Michael

11 Jackson .     Do you remember    that call ?

12 A.         Yes , I do .

13 Q.         Does it matter    to you whether     it was Michael

14 Jackson     or some un known person     who had that

15 conversation      with Ms. Martin ?

16 A.         If Mr. Jackson    was on trial , it would .      Mr.

17 Jac kson is not on trial .       You could as easily       re place

18 the name Michael      Jackson   as FNU LNU , first name

19 un known , last name un known .       His name is not material

20 to the trial .

21 Q.         It does n't change   the mean ing of that call ?

22 A.         I'm sorry ?

23 Q.         It does not change    the mean ing of that call ?

24 A.         No .

25 Q.         Like wise , I think that call was referenced           and




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 1 related to B5072 on Page 432.

 2 A.        Yes .

 3 Q.        Do you have that call in front of you ?             That

 4 would be in Book 3.

 5 A.        The page number     again ?

 6 Q.        Page 432 .

 7 A.        Yes , I have it in front of me .

 8 Q.        Is the precedi ng call with Michael          Jackson

 9 discuss ed in that call ?

10 A.        Yes .   In fact , Ms. Martin     refer s to the call er

11 as "Mike -Mike " which I'm sure led to the identification

12 as -- was one of the contributing           factor s to identify

13 the previous      call er as Michael    Jackson .

14 Q.        In this call , what is Ms. Martin          tell ing Mr.

15 Goodwin   in reference     to the previous        Michael   Jackson

16 call ?

17 A.        He's tell ing her Mike -Mike 's got kilogram s for

18 sale for $25,000       each , referring   to it at the top of

19 the paragraph       there as say ing , he said they some $25

20 ticket s, so he may still have some .             I don't know .

21 Q.        So, it would n't matter       whether    it was Michael

22 Jackson   or somebody     else who goes by the name of Mike -

23 Mike ?

24 A.        It would not matter     one bit .

25 Q.        Counsel    also asked you some question s about your




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 1 time of the investigation           and the time of the

 2 conspiracy .        Do you recall    that ?

 3 A.         Yes .

 4 Q.         Okay .    And your investigation       start ed

 5 approximately        when ?

 6 A.         In this case , we start ed near the end of 2002 .

 7 Q.         And the conspiracy       charge    goes back to when ?

 8 A.         In '97 , I believe .

 9 Q.         Could you explain      to the ladies and gentlemen of

10 the jury     what the difference       is between    the time your

11 investigation        start s and the time the conspiracy

12 start s?

13 A.         As you're , you know , conduct ing an

14 investigation , a lot of time s historical            incident s will

15 come to your attention          that at the time that they

16 occurred     may not have -- the context          may not have been

17 known to law enforcement .           So , you develop      cooperator s,

18 you un cover evidence         that put s incident s that may have

19 occurred     before    you start the investigation.           It put s

20 it in context        as part of the current       conspiracy .

21            You know , you find a witness         or cooperat or who

22 was involve d with the people , say , prior to the

23 beginning     of 2002 when we became          involve d.    Then they

24 will provide        incident s or information      on thing s that

25 might have happen ed in '97 , '98 , '99 .           So , when you




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 1 begin the investigation        is not -- it 's not going to

 2 correlate     to when the conspiracy       begin s.

 3 Q.         Did you obtain    such information       in this case

 4 going back to 19 97 ?

 5 A.         Yes .   And probably   earlier , too .

 6 Q.         In that regard , were there some incident s that

 7 you did not -- or event s that you didn't             know about

 8 before    they happened     but learn ed of subsequent ly ?

 9 A.         Yes .

10 Q.         Can you give us exam ples of those ?

11 A.         I can give you two glari ng example s.            We were up

12 on the wire intercept ing call s when Mr. Phil pot was

13 arrested     in Wyoming .    We had no idea , at the time he

14 was arrested , what had occurred .          In fact , we did not

15 find out until several        day s later , maybe even a week

16 later .

17            The second   is , we were up intercept ing call s in

18 March 2004 and were not aware that Mr. Goodwin                had been

19 arrested     by the Prince    George's    County    Police

20 Department     in November    of 2003 .    We did not become

21 aware of that incident        until sometime       dur ing the wire ,

22 and then we were able to go back and put historical

23 significance       to that event .

24 Q.         So even though    one of the case agent s in this

25 case , Detective      Eveler , is a member    of the    Prince




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 1 George's     County     Police Department , you had -- neither

 2 he , nor any other member           of this investigation     had

 3 knowledge     of the     November    2003 arrest   of Mr. Goodwin ;

 4 is that correct ?

 5 A.         We had no idea .      That may seem like we should

 6 have , and perhaps        we should    have , but a lot of time s in

 7 law enforcement         or the government , the right hand does

 8 not know what the left hand is doing,              even though      we

 9 should .     A lot of time s it 's just not the case .

10 Q.         So that you and other member s of this

11 investigation     did not orchestrate        either    Mr. Phil pot 's

12 stop in Wyoming         or Mr. Goodwin 's arrest      and seizure        of

13 crack from him in November            of 2003 .

14 A.         That 's correct .     We had nothing      to do with

15 either     event , and we didn't       find out about the event s

16 until after they occurred .

17 Q.         Like wise , we heard testimony         here about search

18 warrant s executed        at an apartment    in Anacostia    k nown as

19 "the Pond erosa"        and Lo bo 's car dealership     back in

20 October     of 2002 .

21            Were you aware of those search           warrant s when

22 they were executed ?

23 A.         I do not believe      -- certain ly , we were not aware

24 of the search     warrant s when they were executed .             At

25 some point , probably        a year , year and half later , we




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 1 became   aware of them , but we had nothing          to do with

 2 that investigation .

 3 Q.       Those were done in dependent        of this

 4 investigation ?

 5 A.       That 's correct .

 6 Q.       And was that information y ou then learn ed after

 7 the fact ?

 8 A.       Yes .

 9 Q.       Similar ly , the seizure      from Mr. King in Indiana .

10          Was that something       that was orchestrated        by this

11 investigation , or was that done in dependent            by the

12 high way patrol     officer s?

13 A.       That was done in dependent        by the high way patrol .

14 We had no hand in that whatsoever .

15 Q.       Like wise , we heard testimony       about Mr. Thurman

16 and his difficulti es , his stop s in Texas and

17 Louisiana .

18 A.       We had nothing      to do with that or his travail s

19 in Texas either .      It was all in dependent       of us .

20 Q.       When did you actual ly learn about those event s,

21 and who told you about those ?          Do you recall ?

22 A.       I want to say the first time we learn ed about

23 Mr. Thurman      and those event s was sometime        after the

24 arrest , during     the grand jury investigation         portion   of

25 this case .




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 1 Q.       In term s of Mr. Goodwin .        There was some

 2 question s asked you of surveillance            and identification

 3 of Mr. Goodwin .      I want to call your attention         to May

 4 15 of 2004 .

 5          There was a series       of call s -- I believe        that

 6 began at B6783 , on Page 580 .        If you could look at that

 7 page and tell me if I'm right or wrong in term s of --

 8 well , I'm wrong on the page , that 's for sure .           B6783 .

 9 Let me find the page number         for you .

10          MR. MARTIN:    Page 520.

11          BY MS. JOHNSTON:

12 Q.       Co unsel tell s me it 's on 520 .        Thank you ,

13 counsel .

14          Was that one of a series        of four call s between

15 Mr. Goodwin      and Ms. Martin    on May 15 ?

16 A.       Yes .

17 Q.       The last call being B6807 , on Page 523 ; is that

18 correct ?

19 A.       That 's correct .

20 Q.       In that call , what does Mr. Good win and Ms.

21 Martin   agree is going to happen        on May 15 ?

22 A.       This is a transaction       for cocaine     from Cuba , and

23 the last call is Mr. Goodwin         tell ing Ms. Martin     he 's

24 comi ng by to pick the money up .

25          MS. JOHNSTON:       If we could play V ideo 27 .




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 1          (Video begin s play ing at 3:51 p.m. )

 2          BY MS. JOHNSTON:

 3 Q.       This would reflect       the same date and time ?

 4 A.       Yes , a short time after the call .

 5 Q.       Can you tell us what we're look ing at here ?

 6 A.       This is a close -up -- a close -up of the

 7 residence    on Hayward , and you just saw -- now we're

 8 zoom ing back out .

 9 Q.       Can you back that up , please ?

10 A.       This is him actual ly leavi ng the house , I

11 believe .    There 's him going to the house .         There he

12 goes .   That 's Mr. Goodwin     going to the house .

13 Q.       Was he carry ing anything       on his way in ?

14 A.       Yes .    He was carry ing a bag .

15          That was him leavi ng again with a bag .

16 Q.       Okay .    Thank you .

17                   (Video stop s play ing at 3:52 p.m. )

18          THE WITNESS:      Again , just based on the video,

19 you could not say .       But based on the video and the

20 telephone    conversation s, I feel confident         that was Mr.

21 Goodwin .

22          BY MS. JOHNSTON:

23 Q.       There was a subsequent        telephone    conversation ,

24 was there not , a couple       of day s later , B70 22, on Page

25 548 ?




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 1 A.         Yes .

 2 Q.         And then B7258 , on Page 568.         Do   those call s

 3 relate     also to what Mr. Goodwin          was do ing at the

 4 residence     on May 15 ?

 5 A.         Yeah .     This is confirmation      of the delivery      from

 6 -- the kilogram        they got from Cuba .       If you recall ,

 7 they talk about the miss ing money for that deal .

 8            I think -- if you give me one minute           -- I

 9 thought     there was another       call .    Oh , yes , with Mr.

10 Arnold .     The very next call , B68 24 .        That 's pretty    much

11 more confirmation           or more direct    where she 's talk ing

12 about fixing        the cake s and they would be ready the next

13 morning .

14 Q.         That would be on Page 524 ?

15 A.         That 's on 524 , yes .     That show s she had receive d

16 the delivery .

17 Q.         You were also question ed concern ing Ms. Hard en

18 an d the transaction          that occurred    on March 29 .

19            Do you recall       those question s?

20 A.         Yes .

21 Q.         Call ing your attention       to that incident .      Were

22 you aware of Detective           Musselman 's report    and

23 observation        before    you provided    your testimony ?

24 A.         No .     I still have not seen his report .

25 Q.         You were familiar       with his testimony ; is that




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 1 correct ?

 2 A.       Yes , that 's correct .

 3 Q.       Did his testimony        in any way affect      your opinion

 4 concern ing what occurred         on that date ?

 5 A.       No .    I think it corroborate s the opinion .

 6 Q.       Why do you think it corroborate s the opinion ?

 7 A.       He went to the location        where they agreed to

 8 meet ; he observ ed an ex change , and they de part ed .           I

 9 would expect     that 's all he would see .

10 Q.       You would expect        what was all he would see ?

11 A.       I would be stun ned if he had actual ly seen the

12 drug s go from one person         to another .     I don't want to

13 say it 's never happened , but it would be so rare .               I

14 certain ly can't think of         a time I've ever seen that .

15 Q.       Just one moment , please .         If we could go back to

16 those call s on March 29 , in particular , call B2131 on

17 Page 23 5.

18          Do you have that in front of you ?

19 A.       Yes .

20 Q.       That would be in Book 2, I believe .

21 A.       Book 1, yes .

22 Q.       Book 1?    O kay .     I believe   you mention ed when you

23 testifi ed original ly that in the first call on Page 232

24 that Ms. Hard en left a message         asking     for what ?

25          MR. SUSSMAN :        Objection , Your Honor .




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 1           This is re direct .     Any reference     to call s are

 2 outside   of cross- examination .

 3           THE COURT:      Approach   the bench .

 4                    (At the bar of the Court.)

 5           THE COURT :    A ll right .    State your objection .

 6           MR. SUSSMAN :     I made no reference      to the

 7 specific s of the conversation s in cross-examination                  .   I

 8 just mention ed what was observe d by Officer            Musselman

 9 and the officer 's comment s -- sergeant 's comment s about

10 him and testimony       with regard     to the grand jury .        I

11 don't think     re direct   is a chance     to play these call s

12 again and go through        them again .     Find something

13 specifically     that relate s to my cross-examination         .

14           THE COURT:      Turn your wire off .

15           MS. JOHNSTON:      What I'm attempt ing to show is

16 what is the basis for his opinion            and why he maintain s

17 -- why he continue s to maintain           the opinion   in spite

18 of what counsel      asked him on cross-examination         about

19 this observation .       I think I'm entitle d to show what it

20 is and why he still has that same opinion             and why it 's

21 not changed .

22           MR. SUSSMAN :     He indicated     on direct   and my

23 cross- examination      he was n't changi ng his opinion , that

24 his opinion     was n't affect ed by the      evidence   that -- or

25 the testimony     of Musselman .      We're just going through




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 1 it again repeatedly .

 2            THE COURT:     I will over rule the objection .

 3            If you go much further , I may sustain           it .

 4            MS. JOHNSTON:     I'm try ing to just hit on a few

 5 point s and move on .

 6            THE COURT:     Keep it limited .

 7                          (Back in open court .)

 8            BY MS. JOHNSTON:

 9 Q.         Detective , using call s B2132 , on Page 232 , as

10 well as B2139 , on Page 235 .

11            Could you tell us what in those call s cause s you

12 to maintain     your opinion        and voice your opinion     that

13 what the detective        saw was consistent         with your opinion

14 of the call s?

15 A.         In the first call , Ms. Hard en leave s a message

16 and she refer s to what she want s as being ticket s for

17 some other people :        I got a couple     more people

18 interest ed so , you know , just bring me the same ticket ,

19 okay ?   So , she 's referring        to ticket s.

20            In the subsequent        call on Page 235 , ticket s are

21 not mention ed .      Ms. Martin      then take s the message      left

22 for ticket s and asks Ms. Hard en, what size suit do you

23 want for your little        boy ?     And then Ms. Hard en says ,

24 about the same one .        Again , she's referring        back to her

25 original    message     as ticket s.




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 1             So you have , essentially , the same conversation

 2 being taking         place where the noun or pro noun is changed

 3 for drug s.         One is ticket s, and then the second     one is

 4 a suit .

 5 Q.          Do you have    a piece of paper up there ?       A plain

 6 piece of paper ?

 7 A.          Yes .

 8 Q.          Counsel    had you demonstrate    what an eight-ball

 9 was with one of our piece s of candy up here , and I

10 think it was a Jolly Rancher ?

11 A.          Yes .

12 Q.          It was    a water melon flavor , but this is a cherry

13 one .   Could you demonstrate         why it is that what the

14 detective      saw -- if you just use one piece of paper ?

15 A.          Yes .

16 Q.          If you could demonstrate      why it is what the

17 detective      saw is consistent      with your opinion    that it

18 was a drug transaction ?

19 A.          If I hand ed you this , it would look like a piece

20 of paper .      As you can see , it conceal s the candy

21 in side .     It 's that simple .

22 Q.          Mr. Hall asked you a number       of question s about

23 Mr. Whiti ng .        Do you recall   those question s?

24 A.          Some of them .

25 Q.          Some of them ?    In response    to his question s, you




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 1 indicated     that there was no series        of call s that

 2 establish ed , in your opinion , that an actual           drug

 3 transaction        took place between     Mr. Whiti ng and Ms.

 4 Martin    during     the wiretap .

 5            Do you recall    that testimony ?

 6 A.         Yes .

 7 Q.         Did you form an opinion        as to why there was no

 8 drug transaction        be tween Mr. Whiti ng and Ms. Martin ?

 9       MR. HALL:        Objection , Your Honor .

10       May we approach ?

11       THE COURT:        Yes , you may .

12                      (At the bar of the Court.)

13            MR. HALL:     I'm object ing because     I don't know

14 where counsel        is going with this .     I don't know     if this

15 is going to lead into a discussion            of my client 's

16 prior s or what .       So , that 's why I objected .

17            MS. JOHNSTON:      I don't think    it 's going to have

18 anything     to do with his prior s, although        those -- that

19 would be a 404(b)        issue the court has to address          at

20 some point .

21            MR. HALL:     Yes , I understand    that .

22            MS. JOHNSTON:      I expect ed him to say that there

23 are any number        of reason s why somebody    is still owe d

24 her money for other transactions            and that they were

25 worried    about deal ing with him and concerned          about what




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 1 he might do and thing s of that sort .

 2           MR. HALL:     It 's the    being leery about dealing

 3 with him that goes right to the issue of               404(b) ,

 4 because    he has a number     of prior con victions       in the

 5 past , and he 's always      flip ped and become       a cooperating

 6 witness , and at this point the 404(b)           has n't been ruled

 7 upon .    I think it 's pre mature     to broach   that with this

 8 witness , and I also think that -- I real ize he's an

 9 ex pert witness , but I think to -- I think , based upon

10 what's    there in the phone call s, it 's extreme ly

11 speculative    on the sergeant 's part to offer an opinion

12 as to why a success ful transaction           didn't    happen .

13           MS. JOHNSTON:      I can re phrase    the question        and

14 ask a general     question    concern ing , based on his

15 train ing and experience       in drug conspiracy        case s are

16 there -- what are the reason s that people              sometimes

17 will not deal with particular          --

18           THE COURT:     That I think you can do .

19           MS. JOHNSTON:      That 's fine .

20           THE COURT:     Re phrase    it that way .

21                        (Back in open court .)

22           BY MS. JOHNSTON:

23 Q.        Detective    Sakala , based upon your train ing and

24 experience , do you have an opinion           as to why in a drug

25 conspiracy    or a drug organization        an individual         might




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1 not sell drug s to another         member   of the conspiracy          at a

2 particular     time ?

3 A.         Yes .   It 's fair ly common .

4 Q.         What are some of the reason s why that person

5 might not sell drug s to a particular              co con spirator ?

6 A.         The most common      reason   where a customer      is cut

7 off , so to speak , is an un paid debt .            That 's not

8 un usual at all .        There certain ly could be any number            of

9 reason s why the person        refuse s to sell to someone .

10 They might think they're         work ing for the government           or

11 any number    of reason s, but the       number    one , most common ,

12 is that the person        owe s money to the source .

13 Q.        Also b ased upon your train ing and experience ,

14 can an individual        in a drug organization       or drug

15 conspiracy    have different      role s other than buy ing and

16 sell ing the drug s?

17 A.        Oh , sure .    Everybody 's got their own job to do .

18 Q.        What are some of those other role s?

19 A.        I think we've talk ed about quite a few of them .

20 Whether   it 's a lookout     on a corner ; someone       who 's

21 laundering    drug proceeds ; somebody        who 's maybe

22 supply ing documentation        to indicate    somebody    else is

23 do ing an illegal       job ; someone   providi ng cover that

24 would indicate      they're   do ing a legal job ; somebody           who

25 suppli es paraphernalia       to the person , whe ther it 's




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 1 scale s, baggi es , cut ting agent s.       There 's a lot of way s

 2 that people      can be involve d in the conspiracy         without

 3 just buy ing drug s.      They could provide      expertise    in an

 4 area which would be use ful .

 5 Q.       Based on your train ing and experience , was Mr.

 6 Whiti ng providi ng any expertise         to Ms. Martin ?

 7          MR. HALL:      Objection , Your Honor .

 8          THE COURT:      Wait a minute .

 9          Re state the question .       I want to make sure I

10 heard it right .

11          BY MS. JOHNSTON:

12 Q.       Based upon your train ing and experience             and your

13 re view of these call s, was Mr. Whiti ng providi ng any

14 assistance     to Ms. Martin ?

15 A.       Yes .

16          MR. HALL:      I still object , although       that 's not

17 exact ly the     same question .

18          THE COURT:      It 's a better    question .

19          Over ruled .

20          THE WITNESS:      Mr. Whiting     had experience      with

21 the legal profession , the law profession , and he was

22 able to provide      information    to Ms. Martin     that would be

23 use ful to her in the way that only someone             familiar

24 with that profession       would be able to .

25          BY MS. JOHNSTON:




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 1 Q.         Can you give us example s of that ?

 2 A.         Sure .    By look ing over the paperwork        for Mr.

 3 Echarte , he certain ly would be able to determine                 in

 4 that paperwork        whether     Mr. Echarte   was cooperating         with

 5 the government .        He would certain ly be able to

 6 determine     the fact s and circumstance s of the arrest                of

 7 Ms. Levi , whether       it was related     to something     to do

 8 with Mr. Echarte        or whether     this was a brand new charge

 9 relating     to something       done with Ms. Martin , which would

10 certain ly cause Ms. Martin           some concern .

11 Q.         There was also a question        about surveillance           of

12 Mr. Whiting        at Hayward .

13            Are there other way s other than having           a

14 surveillance        team out there or using a pole camera               to

15 determine     whether    or not Mr. Whiting       was present ?

16 A.         Yes .    You could hear him on the phone in the

17 background .        She could tell somebody       else that , I just

18 spoke to Reece , or Reece was just here .              In fact ,

19 that' s what she does in this case .             I think she tell s

20 someone    that Reece had just left .

21 Q.         If we look at call B4438 on Page -- if we look

22 at call B4438 on Page 389 , is that an             example   of his

23 verification        of his presence     at the house without

24 having    actual     surveillance ?

25 A.         Yes .    I believe     this was when Mr. Whiti ng was




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 1 comi ng over to speak to her about a new source                of

 2 cocaine .     He tell s -- in a previous         call , he tell s Ms.

 3 Martin    he 's comi ng over to talk about it ; a period              of

 4 time goes by , and then Ms. Martin           tells somebody         else

 5 -- that being John Martin -- that Reece just left .

 6 Q.         You mention ed him comi ng over to talk about a

 7 new source     of sup ply.    Is    that another    way in which

 8 someone     participate s in an organization ?

 9 A.         Sure .    I think we talk ed about Estelle       Brim

10 maki ng introduction s, an d every time she introduce s

11 somebody     for a ticket     she want s to get paid .      That 's a

12 common    way to facilitate        a conspiracy    or a drug

13 enterprise     would be put ting a buyer and seller

14 together .

15 Q.         Now , in term s of surveillance .         Was surveillance

16 significant ly curtail ed at --

17            MR. MONTEMARANO :       Objection .

18            Lead ing .

19            BY MS. JOHNSTON:

20 Q.         Let me re phrase    it .

21            As a result    of Detective    Shrier 's being observe d

22 by Ms. Martin        on April 1st, what happen ed to the

23 surveillance        in term s of Hayward ?

24 A.         We were very , very cautious          and judicious      in our

25 use of surveillance , not only just on Hayward              but




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 1 anywhere .    The last thing we would want to do would be

 2 to alert the target s of the investigation            that they

 3 were under investigation        which could result         -- and in

 4 most instance s result s -- in them what we call

 5 "dum ping " their phone s that we were intercept ing , which

 6 would have been a huge set back for us .            As a result , we

 7 were very cautious      when we sent surveillance           out .

 8 Q.       Okay .   Now , Mr. Bynum 's attorney , Mr. Mitchell ,

 9 asked you about -- brought         out the fact that you hadn't

10 done a trash run at Mr. Bynum 's residence .

11          Could you explain      why you would n't do a trash

12 run at his residence ?

13 A.       I think I said      he lives in    an apartment      complex ,

14 which would pretty      well preclude      that .   Even     if we had

15 the opportunity , I don't know          that that would have been

16 a main focus of the investigation           to do a trash run on

17 one of her customers .       We would probably        -- I think ,

18 as I explained , we would go up the ladder            and we        might

19 have done a trash run at Mr. Mangual 's house , if that

20 was possible .     It was not .     Or Ms. Levi 's house .           I

21 think we 'd probably      try one at Ms. Levi 's house , but it

22 just was not a priority        to do a trash run at Ms.

23 Martin 's customers ' house .

24 Q.       Could you explain      why ?

25 A.       The baki ng soda box that we re covered            from Ms.




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 1 Martin      would not be something      you would see -- expect

 2 to see in Mr. Bynum 's trash if the crack was already

 3 cook ed .     Again , the evidence     we were get ting on Mr.

 4 Bynum was pretty        strong   at that point , and to go and

 5 get a trash run if it was possible , which it was n't , I

 6 just would not have rank ed it as a high priority               in the

 7 investigation .

 8 Q.          Mr. Bynum 's attorney , Mr. Mitchell , as well as

 9 some of the other defendant s, asked about contact

10 between      their respect ive client     and some of the other

11 co conspirator s.

12             Do you recall   those question s?

13 A.          I do .

14 Q.          I'm going to show you what 's been mark ed , which

15 we will introduce        as Government 's Exhibit     CH-1 .    Let me

16 pull this over here .

17             Mr. Ward , I apologize .     I'm going to pull this

18 over .      Perhaps   you could get up for this line of

19 question ing so you could see .

20             If you could , de scribe    for the ladies and

21 gentlemen of the jury       , using that chart , why

22 individuals      such as Mr. Bynum may not know other

23 co conspirator s other than Ms. Martin .

24 A.          Primarily , he was deal ing with Ms. Martin , who

25 he would know .        In the drug trade , general ly people       are




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 1 very secretive , and I think we've seen it in the call s

 2 that one person       does n't want somebody       else know ing

 3 their business .       Certain ly it is no business       of Mr.

 4 Bynum 's that Ms. Martin         share who her source     is .     In

 5 fact , that would be counter product ive to Ms. Martin .

 6 Because    if she introduce s -- if Ms. Martin          introduced

 7 her source    to Mr. Bynum , she might get cut out .             So ,

 8 there 's absolute ly no reason         for Mr. Bynum to know that

 9 her source    would be Mr. Mangual          or Ms. Levi or anything

10 else .    Then , just further      apart , you get two or three

11 step s away from individuals .

12           It would be rare for everybody           to know everybody

13 else in the conspiracy .          I don't know     that I've ever

14 seen that happen .          Each person    has their own job to do ,

15 and it 's not like a corporation            where the employee s are

16 publish ed somewhere .         Everybody    is do ing their own job

17 or their own part in the conspiracy              to make money or to

18 do whatever       they're    do ing , and it 's certain ly not

19 germane    to Mr. Bynum what Mr. Uriarte           is do ing in New

20 York or that he 's even in New York .             It 's just -- you

21 would never see something          like that .

22 Q.        In that regard , we've also heard conversation s

23 and question s about people          who -- some of these people

24 did know each other ; is that fair to say ?

25 A.        Yes .    Some people     do have -- you have to know




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1 some people , yes .      You certain ly don't know everybody .

2 Q.         For example , Ms. Ali knew Ms. Martin         and knew

3 some of the other individuals           that are on that chart ;

4 is that correct ?

5 A.         Yes , I'm sure she did .

6 Q.         Mr. Goodwin   and some of the other folk s; is that

7 correct ?

8 A.         That 's correct .

9 Q.         Now , given the fact that they knew each other ,

10 do you have an opinion        as to whether   or not   they would

11 active ly engage    in drug transactions      in front of people

12 who were friends ?

13 A.        Are you talk ing general ly or --

14 Q.        General ly , first .

15 A.        I would say no .       Again , in the drug trade , just

16 because     I know you , Ms. Johnston , and I'm get ting , say ,

17 drug s from John Doe , and all three of us know each

18 other , that does n't mean I want to do drug deal s in

19 front of you .     It put s a lot of trust in you for me to

20 do that .     It ex pose s me to your possible      cooperation ;

21 it ex pose s me to maybe you know ing I've got a large

22 amount    of drug s or a large amount      of money that you may

23 want to rob me of.       It make s -- in    the drug business ,

24 it make s no sense to ex pose your business          to anybody

25 more than you have to .




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 1           It 's very common , again , but people        who know

 2 each other personally          but may not want to know each

 3 other -- may not want to share the drug business .                 Mr.

 4 Mangual   comi ng over to Ms. Martin .         He may know some of

 5 the people    there , but that does n't mean he want s to do

 6 drug transactions          in front of those people .

 7 Q.        Why is that ?

 8 A.        Again , it ex pose s him to possible        criminal

 9 problem s.    He 's do ing a crime in front of witness es .

10 If you think of       that in the way that drug deal ing is a

11 crime , you would n't want to rob a bank in front of

12 witnes ses if you      didn't    have to , and you don't want to

13 deal drug s in front of witness es if you don't have to .

14 Q.        Even if they're       your friends ?

15 A.        Even if they're       your friends .     Absolute ly .

16 Q.        Now , in term s of Mr. Bynum .         We spent a lot of

17 time with counsel          going over call s, or at least     some of

18 the call s; is that fair to say ?

19 A.        Yeah .    We went over a lot of call s, yes .

20 Q.        And we did -- you did up this chart here that

21 says dollar       figure    ($) and dollar   question   mark ($?).

22 You see that in front of you ?

23 A.        Yes .

24 Q.        I think a couple       of call s that he did not go

25 over with you was of call B34 on Page 34 .




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 1            Do you have this in front of you ?

 2            If you look at that call , and then I'll -- in

 3 call B34 , Page 34 , they do -- do they discus s a

 4 quantity     of drug s in that call ?

 5 A.         I'm sorry .     Your page number    again ?

 6 Q.         I believe     it 's Page 34 , but let me check .

 7            No , that would not be right .

 8            Court 's indulgence      one moment .

 9            Let me instead     try B822 on Page 116 .

10            Do you have that call in front of you ?

11 A.         Yes .

12 Q.         In that call , is there a discussion          of money or

13 drug s?

14 A.         Drug s, yes .

15 Q.         Okay .   What is the reference      to drug s there ?

16 A.         This is , I need the other one too ASAP.            What ?

17 Ms. Martin     says .    Derrick    Bynum says , the other one .

18 The $62 .     He's referring       to the 62 grams of crack

19 cocaine .

20            This is the transaction       for the kilogram      and the

21 62 grams of crack cocaine .

22 Q.         So that reference       was dollar s, not money .

23 A.         That was drug amount s, not money .

24 Q.         So that was a drug code --

25 A.         Correct .




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 1 Q.         -- which we may have       miss ed on our board ,

 2 perhaps .

 3 A.         Perhaps .

 4 Q.         Does he also -- is there at least         one or two

 5 other call s where he reference s 62 as being the drug

 6 quantity     that he want s from Ms. Martin ?

 7 A.         Correct .     Or she said it.    One of the      two of

 8 them says it .

 9 Q.         Was there some discussion       of money between      Ms.

10 Martin   and Mr. Bynum during         some of these call s?

11 A.         Oh , there 's quite a few discussion s about money .

12 Return ing money -- him having          give money back to his

13 customers ; her get ting money to buy the cocaine              from

14 her source .        So , they talk ed about money a lot .

15 Q.         If we could look at B17 09 on Page 210 .

16            Did you form an opinion       as to whether      or not }

17 this call was about money ?

18 A.         Yes , it is .

19 Q.         What's    the amount    of money it 's about ?

20 A.         It 's 14 -something .

21 Q.         If you could write on Mr. Mitchell 's chart here ,

22 Mr. Bynum 's attorney , that call number .

23 A.         Anywhere ?

24 Q.         Anywhere     you would like to put it in there , and

25 the amount     of money that was discuss ed .




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 1 A.        (Witness    indicati ng .)

 2 Q.        Just to be clear .      Was that the amount      of money

 3 that was actual ly paid or was this a joke ?

 4 A.        This is a joke .     It was -- I believe       -- my

 5 opinion   is , he had told her the money was short -- told

 6 her one figure , just mess ing with her .          And then after

 7 she count ed , she found out the money was correct , so

 8 they have a little       joke about it .

 9 Q.        Then if we go to call B2179 , on Page 241 .

10           Do you have an opinion       as to whether     or not that

11 was about money ?

12 A.        Yes .    This is about $13,200 .

13 Q.        What is the discussion       here ?

14 A.        He delivered    money to her , and Ms. Martin          goes ,

15 it 's $13 ,200 in here .     Then they go on to discuss          the

16 $200 being miss ing .

17 Q.        If you -- did Mr . Mitchell       include   that call up

18 on his chart about money ?

19 A.        I do not see it , no .

20 Q.        If you could write that on the chart , as well .

21 A.        (Witness    indicati ng .)

22 Q.        I believe    on cross-examination      you indicated

23 that there was no need for them          to talk about price s on

24 the phone ; is that correct ?

25 A.        Yeah .    There would be no reason      to talk about




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 1 it.

 2 Q.        Why is that ?

 3 A.        They knew exact ly what they were talk ing about .

 4 The price is not going to change .          His normal    62 grams ,

 5 he know s what the price is .         He certain ly does n't need

 6 to reiterate       it on the phone and make the conversation

 7 sound worse than it is -- sound like drug s.             And

 8 certain ly the price of a kilogram         is not going to

 9 change    for him .    So , they know what they're     talk ing

10 about .

11 Q.        Not only with Mr. Bynum , but is so with some

12 other individuals ?

13 A.        Yes .    If you look at all the Mr. Mangual          call s,

14 when he bring s over books , apple sauce , auto -

15 biographi es , Versace     sun glasses , Ferragamo    shoe s.    In

16 none of those conversations          do they ever talk about

17 price .

18 Q.        We did have a few call s where there was some

19 discussion    about money in addition       to the two here with

20 Mr. Bynum ; is that correct ?

21 A.        Yeah .    They talk ed about money a lot .

22 Q.        If we can look at B2412 on Page 257 , which is in

23 Book 3.     Who is the party to this call ?

24 A.        Is this Page 257 ?

25 Q.        Let me check .    Should    be Page 257 , call B2412 .




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 1 A.       This is Paulette      Martin   and George    Harris .

 2 Q.       In that call , is there -- in the other call s

 3 with Mr. Harris , was there ever a discussion             of price ?

 4 A.       No , there was not .      There was discussion s of

 5 quantity .    I believe    this is the only call where they

 6 discuss ed price .

 7 Q.       What's    the issue in    this call in term s of money ?

 8 A.       He didn't    pay her enough , so he -- she call s him

 9 back after he -- after the transaction , she call s him

10 back and tells him that .         Then he apologize s and

11 actual ly come s back to make good on the payment .

12 Q.       Also , if we look at call Page 565 , call B7258 .

13 A.       Page 56 5?

14 Q.       Again , in this call , who are speaking          in this

15 call ?

16 A.       This is Paulette      Martin   and Learley    Goodwin .

17 Q.       Again , is there a discussion        of money in this

18 call ?

19 A.       This is one of the Cuba deal s where he claim s

20 that the money provided        by Mr. Goodwin     for the kilogram

21 was $2,000    short , and they have a discussion          about the

22 miss ing money .

23          There was also previous        call s where she actual ly

24 goes over in great de tail how she bundled            the money up

25 for this deal and how she doubt s there was $2,000




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 1 mis sing .

 2 Q.         Based upon your train ing and experience          and

 3 re view of the       call s, when was it that Ms. Martin

 4 discuss ed money over the phone with any of her

 5 customers      or her partner s?

 6 A.         The only reason     you would need one is when

 7 there 's a problem .       Obvious ly , when something     is short

 8 and someone        does n't get paid enough .

 9 Q.         Again , I believe    there was perhaps     another

10 example      with Mr. Bynum concern ing return ing the drug s,

11 call B 29 58 , which is on -- court 's indulgence          -- on

12 Page 300 .      There 's a series    of call s?

13 A.         Yes .

14 Q.         Okay .    Again , why is there a discussion       about

15 money in those call s?

16 A.         Ms. Martin    is tell ing Mr. Bynum to bring the

17 drug s back and, I'll give you your money back .

18            This is the drug s that she then turn s around            to

19 sell , the two eighth s of a kilo that she turn s around

20 to sell to Mr. Arnold        for $3,300   each .

21 Q.         Counsel    also brought   out Hayward    7, that little

22 notebook      in term s of Mr. Bynum .    Do you recall     that ?

23 A.         Yes .

24 Q.         Can you explain     to us what significance       if any

25 it has to you that Mr. Bynum 's not reference d in that




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 1 notebook ?

 2 A.       I don't put a lot of significance           that he 's not

 3 in there , because      he 's a cash customer .      It 's clear

 4 from the conversation s that he is pay ing for the drug s

 5 as they come , or at least       on a very short period        of

 6 time .   I think the $13,200       was the next day or two day s

 7 after the kilogram       purchase .

 8          I would n't expect     him to be in there unless           for

 9 some reason      she was keep ing track of the amount        of

10 drug s she told .     The book was use d to keep track of the

11 money she was owe d.

12 Q.       Based upon the call s, did you find any call s

13 that indicated      Mr. Bynum ran a debt with her ?

14 A.       No .

15 Q.       Now , call ing your attention       to call B6435 , on

16 Page 503 .

17          Do you have that call in front of you ?

18 A.       Yes , I do .

19 Q.       Who are the parti es to that call ?

20 A.       This is Paulette      Martin   and Lavon "Becky " Dobie .

21 Q.       Counsel    asked you about rock s and stolen

22 jewelry .

23          Do you remember      those question s?

24 A.       Yes .

25 Q.       Did you form an opinion , quite frankly , as to




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 1 whether     or not Ms. Dobie was involve d with stolen

 2 jewelry ?

 3 A.        Yes , she had stolen     jewelry .

 4 Q.        Does that in any way affect          your opinion

 5 concern ing her involve ment in drug s?

 6 A.        No , not at all .

 7 Q.        In deed , does this call reflect         of her

 8 involve ment in drug s or jewelry ?         Call ing your

 9 attention     to Page 503 .

10 A.        Yeah .     I think this is in reference       to Ms. Dobie

11 get ting an additional        source   of supply   for Ms. Martin .

12 And then if they go -- as you go through             the

13 conversation       with Ms . Martin , there 's some confusion

14 whether     Ms. Dobie 's source    has kilogram s or something

15 small er and whether      it 's heroin    or cocaine , and

16 eventually     it become s clear to Ms. Martin        that Ms.

17 Dobie's     source   has ounce s of cocaine     for sale for 950

18 which Ms. Martin       decline s to purchase , because        she

19 does n't want to break them down .

20 Q.        That price line refer s to what quantity            of

21 drug s?

22 A.        An ounce of cocaine .

23 Q.        Now , jumping    back a little    bit to Ms. Hard en .

24           In addition     to ordering    drug s, did Ms. Martin

25 have any discussion s with Ms. Hard en concern ing her




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 1 moving     thing s to the school ?

 2 A.         Yes , she did .    She told them she move d all the

 3 operation     to the school .       Like all her customers , she

 4 inform ed that she had clean ed everything            out .

 5 Q.         Court 's indulgence      one moment .

 6            If I could call your attention           to Page 54 0 and

 7 541 .

 8            Do you have that call in front of you ?

 9 A.         I do .

10 Q.         Is that the call where Ms. Martin           explain s to

11 Mr. - --

12            MR. SUSSMAN :     Objection .

13            Your Honor , these are call s that weren't

14 reference d in the cross-examination            .

15            THE COURT:      Approach   the bench .

16                     (At the bar of the Court.)

17            MS. JOHNSTON:      Your Honor , I can re phrase       the

18 question .

19            THE COURT:      Okay .   Re phrase   the question .

20            MS. JOHNSTON:      Let me do that , so it will save

21 us some time .

22            MS. JOHNSTON:      Does this call in any way

23 corroborate     or --

24            MR. SUSSMAN :     It 's the same objection , Your

25 Honor .




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 1            THE COURT:      I'll sustain    that .

 2            Re phrase    the question .

 3            BY MS. JOHNSTON:

 4 Q.         Okay .    In reference     to this call .   Does this

 5 call have any effect         on your opinion      concern ing the

 6 March 29 incident , the surveillance             with the detective ?

 7 A.         Yes .

 8 Q.         Could you explain        how this call corroborate s

 9 your opinion        going back to March 29 ?

10            MR. SUSSMAN :     I o bject again , Your H onor .       This

11 is just a back door way of get ting it in .

12            THE COURT:      Sustained .

13            I think that the form of the          question   can be

14 fix ed .   Re state the question .

15            BY MS. JOHNSTON:

16 Q.         Okay .    Based upon your train ing and experience ,

17 what is the significance         of call B69 48 as it relate s to

18 your opinion        concern ing drug transactions      occurring

19 between    Ms. Hard en and Ms. Martin ?

20 A.         There is a series        of call s -- this one included

21 -- after she moved everything            to the school , Ms. Martin

22 inform ed her drug customers          and /or associate s of what

23 she had done .         In contrast   to people    she had a non -drug

24 relationship        where she never mention ed the incident ,

25 this matches the         same pattern    where she is inform ing




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 1 Ms. Hard en that everything           has been move d to the school

 2 and that 's where they're          going to have to do their

 3 business     from that point on .

 4 Q.         During    the course     of their conversation , did Ms.

 5 Hard en question       anything    Ms. Martin   was say ing ?

 6 A.         No , not at all .       She was just said , okay .

 7 Q.         If I could just brief ly go back to Ms. Ali and

 8 Ms. Martin .

 9            Call ing your attention       to the call on Page 38 7

10 that counsel        re view ed with you this morn ing .

11            Do have that call in front of you ?

12 A.         I do .

13 Q.         Counsel    asked you what -- asked you about your

14 conclusion     that Ms. Ali knew Ms. Levi was involve d in

15 drug s.

16            Do you remember        that question ?

17 A.         Yes .

18 Q.         Okay .    What was the basis for your conclusion

19 that Ms. Ali knew Ms. Levi was involve d in drug s?

20 A.         I'm sorry .     Could you re phrase      the question ?    I

21 want to make sure I hear the question               correct ly.

22 Q.         My question     is :    This morn ing , Mr. McKnett    asked

23 you whether        or not you had an opinion        as to whether    Ms.

24 Ali knew Ms. Levi was involve d in drug s.

25            Do you recall     that question ?




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1 A.         Yes , I do .

2 Q.         My question     to you is , what is the basis for

3 your conclusion        or your statement     to Mr. McKnett    that

4 Ms. Ali knew that Ms. Levi was involve d in drug s?

5 A.         Information     I received    from other individuals .

6 Q.         If you could     look at the call on Page 38 7.

7            Do you have that call in front of you ?

8 A.         Yes .

9 Q.         Call ing your attention       to , oh , a third up from

10 the bottom    where after Ms. Ali asked , what happened ?

11 What does -- how does Ms. Martin           answer   that question ?

12 A.        I think she 's involve d with that Julio thing .

13 Q.        Did Ms. Ali ask her what Julio thing ?

14 A.        No , she did not .

15 Q.        Do you know what the Julio thing refer s to ?

16 A.        Yes .

17 Q.        What does that refer to ?

18 A.        That 's Mr. Echarte 's arrest      in Florida   in a PCP

19 case that involve d Ms. Levi .

20 Q.        And then Ms. Martin        goes on to explain   what

21 about Mr. Julio in the next portion ?

22 A.        Ms. Martin     is going on to say that she believe s

23 Mr. Echarte       is the informant     or had inform ed upon Ms.

24 Levi say ing , I think Julio's         told on her .   I really   do ,

25 because   every time I talk to Julio 's sister , who 's




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 1 Merta , she would ask me about the lady .

 2           That 's what she 's talk ing about .       And "the lady "

 3 being Gwen Levi .       So , Ms. Martin    is tell ing Ms. Ali

 4 that Julio 's sister      is try ing to get information         about

 5 where Gwen Levi is from Ms. Martin .

 6 Q.        What does Ms. Ali asked Ms. Martin          that she did

 7 with that information ?

 8 A.        She asked whether      she re lay ed that -- Ms. Ali

 9 asked Ms. Martin       whether   she re lay ed that information

10 to Gwen .

11 Q.        Then if we go to Page 38 8, and Ms. Martin

12 explain s she was n't involve d in that and how does --

13 what does Ms. Martin         say in term s of Ms. Levi 's

14 involve ment with Mr. Echarte ?

15 A.        Ms. Martin    says she was n't involve d in that

16 meet ing .     She was n't directly   involve d and was n't

17 direct ly involve d in the PCP arrest         down in Florida .

18           Ms. Martin    goes on to say     she just introduced

19 him to the people       -- mean ing Mr. Echarte      to the people

20 -- that want ed the recipe        to the sweet potato        pie .     And

21 what she's say ing is that she 's tell ing Ms. Ali that

22 Mr. Echarte      was the person    who -- Gwen introduced            Mr.

23 Echarte      to the people    in Florida   to manufacture      the

24 PCP:    In other words , the sweet potato         pie .

25 Q.        Does a transcript      accurate ly record       Ms. Ali 's




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 1 response ?

 2 A.         Yes .

 3 Q.         Ms. Ali asked Ms. Martin , what's          wrong with you ?

 4 Somebody     a recipe    for sweet potato     pie ?

 5 A.         No , she does not .    She make s no reference      to --

 6 obvious ly , it 's not illegal      to get a recipe       for sweet

 7 potato   pie which would indicate          she know s it 's not

 8 about sweet potato        pie .

 9            MS. JOHNSTON:      I have no further       question s.

10            THE COURT:      All right .

11            Re cross .

12                          RECROSS EXAMINATION

13            BY MR. MONTEMARANO:

14 Q.         Good afternoon , Sergeant       Sakala .    How are you ?

15 A.         Fine .    How are you , sir ?

16 Q.         Just fine .     Just a few question s to proceed         from

17 those Ms. Johns ton asked you .

18            You state d early on in your re direct         testimony ,

19 in response        to one of Ms. Johnston 's question s, that in

20 your view , PTK Enterprise s -- that was a business               of

21 Ms. Martin 's ; correct ?

22 A.         I think it 's PTK Associate s.

23 Q.         PTK Associate s.

24            You said in your view it was not a -- just a

25 moment , please -- not a function ing , legitimate




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1 business ; correct ?

2 A.        Correct .

3 Q.        And that 's based upon ?

4 A.        A number     of thing s, certain ly not the least of

5 which were    the intercept s.

6 Q.        Okay .    You're   certain ly aware that people          are

7 allow ed to do business        under Maryland      law in almost         any

8 form , aren't      they ?

9 A.        In any form of business ?

10 Q.       Well , you can do business          as an individual ;

11 correct ?

12 A.       Correct .

13 Q.       You can do business         as a partnership ; correct ?

14 A.       Correct .

15 Q.       You can do business         as a corporate    entity ;

16 correct ?

17 A.       Yes .

18 Q.       There are     multiple     kinds of corporate    entiti es ;

19 correct ?

20 A.       I suppose     so , yes .

21 Q.       Public ly trade d, private ly own ed and so forth;

22 correct ?

23 A.       Yes .

24 Q.       Depend ing on the sort of business           entity   you

25 choose   depends    on whether      or not   you file paper s with




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 1 the state ; correct ?

 2 A.         I guess.       You know , whatever    business   you

 3 choose .     That 's a business 's decision .

 4 Q.         You can use another         name for a business    other

 5 than your own name ?

 6 A.         Certain ly .     Yes .

 7 Q.         You can file that without         filing   separate    tax es

 8 fo r that business .         You can file it under one of the

 9 Schedule s append ed to your form 1040 with the IRS;

10 correct ?

11 A.         You can file as a sole proprietorship , yes .

12 Q.         That 's exact ly what I was going to suggest , a

13 sole proprietorship .

14            So it's not the lack of paperwork           that suggest s

15 that PTK is not a business ; right ?

16 A.         In fact , it is the seizure        of some of the

17 paperwork     that clear ly show s it is not a legitimate

18 business .

19 Q.         Ms. Martin      does make phone call s repeat edly over

20 the wiretap     with suppliers        of clothi ng , does she not ?

21 A.         She talk s to two individuals :         Kevin Scott , and

22 another     individual , Marsha W est .       Those are the only

23 two that I'm aware of she got clothe s from .

24 Q.         You don't recall         call s with clothi ng suppliers

25 in other state s?




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 1 A.       No , I do not .

 2 Q.       Certain ly , if there are clothe s being ordered ,

 3 and discussion s, you don't recall          -- strike    that .

 4          You don't recall      phone call s discuss ing size s

 5 with person s other than Kevin Scott or Marsha Jean

 6 West.

 7   A.     No.     Those are the only two people         I'm aware she

 8 got clothe s from .

 9 Q.       You don't recall      phone call s discus sing the

10 size s, color s, style s?

11 A.       Yes , with Marsha W est and Kevin Scott .

12 Q.       Oh .    Other than those    other people .

13 A.       As far as    supplies and     clothe s?     No , I do not .

14 Q.       During    the time of the wiretap         from the 8th of

15 March on , you tapped      Ms. Martin 's home phone ; correct ?

16 A.       Correct .

17 Q.       And that would be the B line ?

18 A.       Yes .

19 Q.       An d her cell , the A line ; correct ?

20 A.       That 's correct .

21 Q.       Those are not the only phone s she has access to;

22 is that a fair statement ?

23 A.       That is a fair statement .

24 Q.       In fact , just on one of the call s Ms. Johnston

25 just reference d you to , A18 49 -- do you still have




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 1 that transcript         in front of you ?

 2 A.         Is that one of the new ones ?

 3 Q.         I was going to put the trans cript up so you and

 4 I can read it together .

 5            Do you see the outgoing      to ?

 6 A.         Yes .

 7 Q.         Do you see that number ?

 8 A.         Yes .

 9 Q.         That would be --

10 A.         I think that 's Jackie     Terrell 's telephone .

11 Q.         So that would be the phone at 810 Hayward ;

12 correct ?

13 A.         Yes .

14 Q.         But upstairs ?

15 A.         I don't know     where in the residence     it 's

16 locate d.     I would assume     it 's upstairs .    That 's where

17 she live d.

18 Q.         You didn't     tap that phone .

19 A.         No , we did not .

20 Q.         At some point , it 's your testimony       that the drug

21 business     was moved to the school        on South Dakota

22 Avenue;     correct ?

23 A.         Yes .

24 Q.         There 's a phone on South Dakota ?

25            If you know .




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 1 A.        I know we had a pin register        on it for a length

 2 of time .     We dis continued    the pin register     at some

 3 point in time for inactivity.           So , I don't know    whether

 4 there was an active         phone at the time of the -- she

 5 move d the clothe s there .       So the answer    would be that

 6 there could have been , but I don't know .

 7 Q.        And it would be fair to say that since you're

 8 not sure of or not         there was an active    phone there you

 9 certain ly didn't      under take to tap it ; right ?

10 A.        We did not intercept       call s on that line , no .

11 Q.        That would have been just been -- I mean , with a

12 wiretap     on going , add ing phone line s is something       you

13 could do ; correct ?

14 A.        If there 's evidence     to -- for your affidavit ,

15 yes .

16 Q.        Absolute ly .     In fact , that 's what you did .       You

17 add ed Mr. Mangual 's two line s; correct ?          You added Ms.

18 Levi 's line s?

19 A.        Ms. Levi 's line -- one line ?

20 A.        Yes .

21 Q.        Excuse    me .   Court 's indulgence , please .

22           And with regard      to the suppliers     of clothe s.

23 You weren't       part of the search    paper ; is that correct ?

24 A.        Correct .

25 Q.        Did you ever , ever go and view the physical




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 1 evidence    taken from Hayward ?

 2 A.         I'm sure I have .

 3 Q.         Was among that physical       evidence    -- Mr. Sussman ,

 4 in his question s to you , show ed you some photograph s

 5 from this search        of Hayward ?

 6 A.         Somebody    did .   I guess it 's Mr. Suss man .

 7 Q.         There were a series       of single   shoe s on the floor

 8 not match ed pair s, it appear ed .

 9 A.         That 's correct .

10 Q.         And there were rack s of clothi ng ?

11 A.         I think there was one rack .

12 Q.         There was one rack in the photo .          The fact is ,

13 there were many other rack s in there .             Several   of them .

14 A.         I was not there .      I have no idea .

15 Q.         You have no idea .       Since you have no idea about

16 any other rack s, let 's talk about the rack we see in

17 the photograph .        Did you ever inspect     those clothe s?

18            MS. JOHNSTON:       Objection .

19            Beyond    the scope of re direct .

20            MR. MONTEMARANO :      This goes to --

21            THE COURT:     Somehow    this is within    the scope ?

22            MR. MONTEMARANO :      This goes with regard       to the

23 "non existent       business " of Ms. Martin .

24            THE COURT:     Over ruled .

25            BY MR. MONTEMARANO :




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 1 Q.         Did you ever go to those rack s with -- the

 2 content s of 810 Hayward , the base ment where Ms. Martin

 3 lived , were in the government 's possession               after the

 4 search .      Fair statement ?

 5 A.         No , that 's not a fair statement .

 6 Q.         Well , you all went through          the door ; correct ?

 7 A.         Correct .

 8 Q.         Gun s and badge s and all that kind of stuff .

 9            MS. JOHNSTON:         Objection .

10            THE COURT:         Sustained .

11            Re phrase   it .

12            BY MR. MONTEMARANO :

13 Q.         A search    of 810 Hayward        is under taken on the 1st

14 of June , 2004 ; correct ?

15 A.         Yes .

16 Q.         At which point the government             law enforcement

17 agent s who under took the search            -- and there are

18 probably      eight or ten of them , I would imagine .

19            MS. JOHNSTON:         Objection .

20            He was n't there .

21            MR. MONTEMARANO :         If he know s.

22            MS. JOHNSTON:         Again , beyond   the scope of

23 re direct .

24            THE COURT:         Over ruled .

25            Make sure you ask him if he know s.




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 1          BY MR. MONTEMARANO :

 2 Q.       Do you know ?

 3 A.       No , I do not .

 4 Q.       Based upon your train ing and experience , and in

 5 your 18 year s of narcotic s enforcement , it would be

 6 fair to assume     there would be about eight to ten agent s

 7 for the search     of a primary     residence    in a case such as

 8 this .

 9          MS. JOHNSTON:       Objection .

10          THE COURT:      Sustained .

11          What 's the    basis for that ?

12          Sustained .

13          BY MR. MONTEMARANO :

14 Q.       Okay .   Some police officers       went to Hayward        on

15 the 1st of June ; is that a air statement ?

16 A.       That 's correct .

17 Q.       And those police officers , however          many there

18 were , had access      to everything    in Hayward ; correct ?

19 A.       Yes .

20 Q.       And with the authority        grant ed by the warrant

21 for the search     of Hayward , they were able to seize and

22 take away everything       they thought     to be of importance ;

23 correct ?

24 A.       They could seize everything         that 's listed    in

25 what we call Schedule       A of the warrant .




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 1 Q.         Those would be thing s that you believe d were

 2 relevant     to Ms. - -- the prosecution          of Ms. Martin ; fair

 3 statement ?

 4 A.         No .    They were very specific        item s that you can

 5 search     and seize , and it 's not what we say is relevant .

 6 There 's a very de fine d list of what can and cannot                 be

 7 seize d.

 8 Q.         That 's absolute ly correct .      That 's a bad

 9 question .        Let me re phrase    the question .

10            When you provide     to a judicial       officer    a search

11 warrant     affidavit , a proposed       search    warrant    Schedule     A

12 would be attach ed to it ; correct ?

13 A.         That is correct .

14 Q.         And when you compile        Schedule    A, you or

15 which ever agent happen s to compile          it , you would put on

16 Schedule     A everything     that you believe       will be on the

17 premises     to be search ed that is relevant          to your

18 prosecution        of the person     who is the target       of the

19 search .

20 A.         Yes .

21 Q.         Thing s relating    to a drug prosecution ; correct ?

22 A.         That is correct .

23 Q.         And while you 're there you are certain ly able to

24 look at and view other thing s which are there which may

25 or may not be relevant         to the prosecution       of the




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 1 person .

 2 A.         That is correct .

 3 Q.         And the clothe s might well not be listed              on

 4 Schedule     A; correct ?

 5 A.         I do not believe      they were , no .

 6 Q.         But they were certain ly there ; correct ?

 7 A.         According     to that picture , yes .

 8 Q.         Certain ly , someone      could have look ed at them ;

 9 correct ?

10 A.         I'm sure somebody        did look at them .

11 Q.         And look at the label s in side ; correct ?

12 A.         I don't know     if they look ed at the label s, but

13 I'm sure the clothe s were search ed for drug s.

14 Q.         And they certain ly could have look ed at the

15 label s, could n't they ?

16 A.         They certain ly could have look ed at them, yes .

17 Q.         Among the thing s seize d from Hayward             would be

18 this list about half way through            Hayward   7.

19 A.         I'm sorry .     You're    say ing --

20 Q.         This is Hayward 7.         You 've seen this before ?

21 A.         Yes .

22 Q.         It's a    listing   of clothi ng ; is that correct ?

23 A.         This is a list of clothe s.         That's      what it

24 appear s to be .

25 Q.         What is    the number     there , 800 54 36330 ?




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 1 A.       I do not know .

 2 Q.       Court 's indulgence , please .

 3          Among the other thing s in Hayward               7 was Mr.

 4 Williams ' name ; correct ?

 5 A.       Yes .    That would be Gilbert           Williams       of Guilty

 6 Productions.      Th at 's Gilbert      Williams .       I'm assuming

 7 that 's Guilty Productions,           yes .

 8 Q.       Did you check that number ?

 9 A.       I did not , no .

10 Q.       832 area code .       Does that mean anything              to you ?

11 A.       No , it does not .

12 Q.       If I suggest       to you that a 704 area code is

13 North Carolina , you probably           would n't have any reason

14 to argue with that , would you ?

15 A.       No .    I don't know .

16 Q.       And you said you believe              that Mr. Williams       is a

17 person   who Ms. Martin      wire d you said $100,000 ?

18 A.       I think it 's $100,000         we have the records           but I

19 think it 's $100,000 .

20 Q.       You do have the records              in fact   the government

21 sought   the return    of that money didn't             they ?

22 A.       We sought    --

23          MS. JOHNSTON:        Objection .

24          THE COURT:        Approach    the bench .

25          MS. JOHNSTON:        I'll withdraw        my objection , Your




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 1 Honor .

 2           THE COURT:      All right .        You may answer .

 3           THE WITNESS:      We attempt ed to seize the money ,

 4 but Mr. Williams       had wire d it to another        account .

 5           BY MR. MONTEMARANO:

 6 Q.        He told you he had spent it , didn't            he ?   He

 7 spent it on the Gerald        LeVert        Father and Son Tour ;

 8 correct ?

 9 A.        No , he did not .        I have    not spoke with him , so I

10 don't know    what he said he did with the money .               I know

11 it was wire d out of the account              just a few day s before

12 we were going     to seize it .

13 Q.        Did you ever see a letter            from Mr. Williams      to

14 Ms. Johnston     relating    exact ly to that topic ?

15 A.        No , I have not .

16           MR. MONTEMARANO :         Your Honor , if we could .        You

17 said you want ed to quit .

18           THE COURT:      Yeah .     You're    not finish ed ?

19           MR. MONTEMARANO:          I'm not finish ed , but I can

20 stop here .

21           THE COURT:      Let 's stop here at this point .

22           Ladies and gentlemen        , as I mention ed to you , I

23 have another     matter   at 9:00 tomorrow         so we will    start

24 at 10:00.     Please    continue     to follow     my strong

25 recommendation     that you take the escalator s so that we




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 1 do not have miss ing jurors        tomorrow .

 2                        (Jury excused at 4:48 p.m.)

 3                        (Off the record      at 4:48 p.m.)

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 July 5, 2006.

11

12       I further certify that the foregoing            177 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 24th day of April 2008.

19

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21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CRR
                                OFFICIAL COURT REPORTER

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